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                                   #:642


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      Attorneys for Plaintiff
 9
10                      UNITED STATES DISTRICT COURT
11
           CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
12
13    KEVIN MICHAEL BROPHY, JR., an            Case No. 8:17-cv-01885-CJC(JPRx)
14    individual,
                                               Hon. Cormac J. Carney,
15    Plaintiffs,                              U.S. District Judge
16
      v.                                       SUPPLEMENTAL
17                                             DECLARATION OF LAWRENCE
18    BELCALIS ALMANZAR aka CARDI B,           J. CONLAN IN SUPPORT OF
      an individual; KSR GROUP, LLC, a New     PLAINTIFF’S OPPOSITION TO
19    York limited liability company;          DEFENDANTS’ MOTION TO
20    WASHPOPPIN, INC., a New York             DISMISS [F.R.C.P. RULE 12(B)]
      corporation; and DOES 1-20, inclusive,
21                                             Hearing Date: August 26, 2019
22    Defendants.                              Time:         1:30 pm
                                               Location:     7C
23
24                                             Complaint filed: 10/26/17
                                               Pre-Trial Conf.: Not Yet Set
25                                             Trial Date: Not yet Set
26
27
28
                                                            SUPPLEMENTAL DECLARATION OF
                                                                     LAWRENCE J. CONLAN
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 1               SUPPLEMENTAL DECLARATION OF LAWRENCE J. CONLAN
 2    I, Lawrence J. Conlan, declare as follows:
 3          I am a partner in the law firm of Cappello & Noël LLP, and I am counsel of
 4    record for Plaintiff in this matter. I make this Declaration of my own personal
 5    knowledge, and if called to do so, I could testify competently to the matters stated
 6    herein.
 7                                     Deposition Transcripts
 8          1.     Attached hereto as Exhibit A is a true and correct copy of excerpts of
 9    the transcript of the January 8, 2019 deposition of Klenord Raphael, aka “Shaft”,
10    the designated Person Most Knowledgeable for Defendant KSR Group, LLC.
11          2.     Attached hereto as Exhibit B is [REDACTED – FILED UNDER
12    SEAL]
13                    Documents Produced During Jurisdictional Discovery
14          3.     Attached hereto as Exhibit C is [REDACTED – FILED UNDER
15    SEAL]
16          4.     Attached hereto as Exhibit D is [REDACTED – FILED UNDER
17    SEAL]
18          5.     Attached hereto as Exhibit E is [REDACTED – FILED UNDER
19    SEAL]
20          6.     Attached hereto as Exhibit F is [REDACTED – FILED UNDER
21    SEAL]
22          7.     Attached hereto as Exhibit G is a true and correct copy of an Excel
23    spreadsheet, produced in native format by Defendants during jurisdictional
24    discovery titled “Copy of Cardi B 2016-2017 performances.xlsx”.
25          8.     Attached hereto as Exhibit H is a true and correct copy of a set of
26    images produced by Defendants during jurisdictional discovery and bates-stamped
27    KSR00001-00006. [PARTIALLY REDACTED – UNREDACTED VERSION
28    FILED UNDER SEAL]

                                                2             DECLARATION OF LAWRENCE J. CONLAN
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 1          9.     Attached hereto as Exhibit I is [REDACTED – FILED UNDER
 2    SEAL]
 3          10.    Attached hereto as Exhibit J is a true and correct copy of a recording
 4    contract dated October 17, 2016, between Defendant KSR Group LLC and
 5    Defendant Belcalis Almanzar, noticed as Deposition Exhibit 13 at the January 8,
 6    2019 deposition of Raphael Klenord, the designated Person Most Knowledgeable
 7    for Defendant KSR Group, LLC.
 8          11.    Attached hereto as Exhibit K is a true and correct copy of a series of
 9    social media posts, noticed as Deposition Exhibits 14, 15, 16, 17, 18, 20, 21, 22 and
10    23 at the January 8, 2019 deposition of Raphael Klenord, the designated Person
11    Most Knowledgeable for Defendant KSR Group, LLC.
12          12.    Attached hereto as Exhibit L is a true and correct copy of a series of
13    social media posts, noticed as Deposition Exhibits 24, 25, 26, 27, 32 and 33 at the
14    January 8, 2019 deposition of Raphael Klenord, the designated Person Most
15    Knowledgeable for Defendant KSR Group, LLC.
16          13.    Attached hereto as Exhibit M is a true and correct copy of a series of
17    social media posts, noticed as Deposition Exhibits 28, 29, 30, 31, 34, 35 at the
18    January 8, 2019 deposition of Raphael Klenord, the designated Person Most
19    Knowledgeable for Defendant KSR Group, LLC and Deposition Exhibits 44 and 49
20    at the April 19, 2019 deposition of Belcalis Almanzar.
21          14.    Attached hereto as Exhibit N is a true and correct copy of a series of
22    social media posts, noticed as Deposition Exhibits 37 and 38.
23          15.    Attached hereto as Exhibit O is a true and correct copy of a social
24    media post, noticed as Deposition Exhibits 47 and 51 at the April 19, 2019
25    deposition of Belcalis Almanzar.
26          16.    Attached hereto as Exhibit P is a true and correct copy of a social
27    media post, noticed as Deposition Exhibit 50 at the April 19, 2019 deposition of
28    Belcalis Almanzar.

                                             3                 DECLARATION OF LAWRENCE J. CONLAN
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 1
 2                             Discovery Responses and Correspondence
 3          17.    Attached hereto as Exhibit Q are true and correct copies of
 4    Defendants’ responses to Plaintiff’s special interrogatories propounded in response
 5    to the Court’s order granting leave to conduct jurisdictional discovery.
 6          18.    Attached hereto as Exhibit R is a true and correct copy of a May 8
 7    email exchange between Plaintiff and Defendants’ counsel.
 8          19.    Attached hereto as Exhibit S is a true and correct copy of a February
 9    14, 2019 email sent to Defendants’ counsel regarding Defendant Cardi B’s removal
10    of her Instagram page.
11
12    I declare under penalty of perjury that the foregoing is true and correct.
13          Executed the 5th day of August, 2019, at Santa Barbara, California.
14
15                                         /s/Lawrence J. Conlan
                                           Lawrence J. Conlan
16
17
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                                              4                DECLARATION OF LAWRENCE J. CONLAN
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             EXHIBIT A
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                                   #:647

1                UNITED STATES DISTRICT COURT
2     CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
3
4     KEVIN MICHAEL BROPHY, JR.,    )
      AN INDIVIDUAL,                )
5                                   )
                      PLAINTIFF,    )
6                                   )
      vs.                           )CASE NO. 8:17-CV-
7                                   ) 01885-CJC(JPRx)
      BELCALIS ALMANZAR AKA CARDI B,)
8     AN INDIVIDUAL; KSR GROUP, LLC,)
      A NEW YORK LIMITED LIABILITY )
9     COMPANY; WASHPOPPIN, INC.,    )
      A NEW YORK CORPORATION; AND   )
10    DOES 1-20, INCLUSIVE,         )
                                    )
11                                  )
                      DEFENDANTS.   )
12    ______________________________)
13
14       DEPOSITION OF PERSON MOST KNOWLEDGEABLE OF KSR
15              GROUP, LLC, KLENORD SHAFT RAPHAEL
16                   TUESDAY, JANUARY 8, 2019
17
18
19
20
21
22
23
24    JOB NO: 3188607
25    REPORTER: JESSICA N. NAVARRO, C.S.R. NO. 13512

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 1    DEPOSITION OF KLENORD SHAFT RAPHAEL, PMK, TAKEN ON
 2    BEHALF OF PLAINTIFF AT 11:04 A.M., ON TUESDAY, JANUARY
 3    8, 2019, AT 1755 WEST HIGHLAND AVENUE, 19TH FLOOR,
 4    HOLLYWOOD, CALIFORNIA, BEFORE JESSICA N. NAVARRO, C.S.R.
 5    NO. 13512, PURSUANT TO NOTICE.
 6
 7    APPEARANCES OF COUNSEL
 8
 9    FOR PLAINTIFF:
10                CAPELLO & NOEL, LLP
                  BY:    LAWRENCE J. CONLAN, ATTORNEY AT LAW
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                  SANTA BARBARA, CALIFORNIA 93101
12                805.564.2444
                  LCONLAN@CAPPELLONOEL.COM
13
14    FOR DEFENDANTS:
15                ALAN G. DOWLING, APC
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18
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1                          HOLLYWOOD, CALIFORNIA
2                 TUESDAY, JANUARY 8, 2019, 11:04 A.M.
3                                        -0-
4
5                          (Prior to the deposition commencing,
6                          all counsel stipulated to waive the
7                          reporter read on and read off
8                          pursuant to Federal Rule 30.)
9
10                         KLENORD SHAFT RAPHAEL,
11        having been duly administered an oath by the
12       reporter, was examined and testified as follows:
13
14                                 EXAMINATION
15    BY MR. CONLAN:
16           Q     So, I'm Larry Conlan.                I represent
17    plaintiff in this case.              We met briefly off the
18    record.     You understand you're having your
19    deposition taken today?
20           A     Yes.
21           Q     Have you had your deposition taken before?
22           A     For this case?
23           Q     In any other case.
24           A     I have.
25           Q     Okay.      How many times?

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1            A     Once.
2            Q     Okay.      How long ago was it?
3            A     Two months ago.
4            Q     Okay.      Was that in the case between you
5     and Cardi B?
6            A     No.
7            Q     Okay.      Was that it in a case in which you
8     were a litigant?
9            A     No.
10           Q     You were just a fact witness --
11           A     Yes.
12           Q     -- in the case?
13                 Okay.      Well, the basic process today is
14    that I'm going to be asking you questions.                      The
15    court reporter is going to be transcribing your
16    answers.     Give me a moment to make sure my question
17    is finished before you answer so we have a clean
18    record.     Do you understand that?
19           A     Yes.
20           Q     Seems like you're a pretty busy man.                     So,
21    if you need to take a break at some point, let me
22    know we can take a break.               I just ask that you don't
23    take any breaks while a question is pending.                      Do you
24    understand that?
25           A     Gotcha.

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 1           Q      You understand you're under oath today?
 2           A      Yes.
 3           Q      When the deposition is over you're going
 4     to have a chance to review the transcript that the
 5     court reporter prepares and you will have an
 6     opportunity to make some corrections of the
 7     transcript if necessary.             Do you understand that?
 8           A      Yes.
 9           Q      And do you understand that if you make
10     corrections or changes that are material, I will
11     have an opportunity to comment on that in front of a
12     judge or a jury.         Do you understand that?
13           A      Yes.
14           Q      And if I do that, it may affect your
15     credibility as a witness.              Do you understand that?
16           A      Yes, I do.
17           Q      Okay.     Do I have your full attention to
18     testify --
19           A      Yes, you do.
20           Q      -- at the moment?
21           A      Yes.
22           Q      Okay.     And as I ask you questions today,
23     may I address you as Shaft or do you want me to
24     address you --
25           A      Mr. Raphael is fine.

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 1           Q      Okay.     And when -- your recollection is
 2     that Cardi B was only out here for two events?
 3           A      She was out here at that time for two
 4     events.
 5           Q      When you say "that time," what time period
 6     are you referring to?
 7           A      I don't exactly remember the exact time
 8     period that was required.              But whatever was required
 9     is when.     She wasn't out here too much.
10           Q      When did you start representing Cardi B?
11           A      I managed Cardi maybe 2013.
12           Q      When you began managing her was that
13     through KSR?
14           A      No.
15           Q      Was that through World Star?
16           A      Yeah.
17           Q      And at what point did you enter into an
18     agreement between KSR and Cardi B?
19           A      That was late.          That was probably at least
20     2015 or '16.
21           Q      Okay.     So from 2013 when you began -- when
22     World Star began managing Cardi B until the time
23     that World Star/KSR and Cardi B no longer had a
24     contractible relationship, how many times did you
25     arrange for Cardi B to visit California?

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 1           A      That would be twice.
 2           Q      And when you did that, did you arrange her
 3     flights?
 4           A      Yes.
 5           Q      Did you arrange her travel within
 6     California?
 7           A      Yes.
 8           Q      Did you arrange --
 9           A      I didn't.
10           Q      Someone on your behalf?
11           A      The travel agency did.
12           Q      Okay.     And you or someone on your behalf
13     asked the travel agent to do that?
14           A      Yes.
15           Q      Okay.     And that was on behalf of World
16     Star or KSR or both?
17           A      No.     It was on behalf of really just --
18     just me as World Star.
19           Q      Okay.     And why don't you describe for the
20     record the relationship between KSR and Cardi B?
21           A      The relationship between KSR and Cardi B?
22           Q      Yeah.
23                  MR. DOWLING:         You can talk about the
24     nature of the business relationship.
25

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 1     BY MR. CONLAN:
 2           Q      Correct.
 3           A      KSR is a record label.
 4           Q      Okay.     And what does a record label do for
 5     its clients like Cardi B?
 6           A      Market records.
 7           Q      Okay.
 8           A      That's it.
 9           Q      And does KSR have the right to records?
10     Does it own rights to records that it markets?
11           A      Does it own the rights to the records that
12     it markets?      Part of -- that's a good question.                  I'm
13     not sure because I got -- technically, I don't know
14     if Atlantic owns it.           I'm not sure.
15           Q      Before Atlantic Recording came into the
16     picture, did KSR own any rights to Cardi B's music?
17           A      Before, yes.
18           Q      Okay.     And what rights did it own?
19           A      I'm not exactly sure of the question
20     because -- but because she signed a label, I own
21     rights to the music.
22           Q      Okay.     I'm going to ask you a couple
23     questions.      I'm just going to go back to documents.
24           A      That's fine.
25           Q      Did you or anyone on behalf of KSR make

                                                                      Page 16

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 1     when you asked him to do the artwork for the mix
 2     tape?
 3             A    To put together -- I gave him the -- put
 4     together the cover of the mix tape and forwarded him
 5     pictures.
 6             Q    Did you give him guidance on what you
 7     wanted it to look like?
 8             A    No.     Just gave him pictures.                   Yeah, he got
 9     pictures really.
10             Q    All right.
11             A    So there's really no guidance.
12             Q    Were you the one who set up the photo
13     shoot that was used in part for the cover of the mix
14     tape?
15             A    Yeah.
16             Q    Okay.     And that's the photo of Cardi B
17     sitting in the back of the limo?
18             A    Yeah, with the model.
19             Q    With the Corona with the model?
20             A    Uh-huh.
21             Q    And where did that photo shoot take place?
22             A    Canada.
23             Q    Where in Canada?
24             A    Toronto.
25             Q    And when you sent the photo to Timothy

                                                                         Page 21

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 1     Gooden, there was a -- the model had a tattoo of
 2     Calvin and Hobbs on his back; is that right?
 3           A      He had tattoos on his back.
 4           Q      Yeah.     Okay.      Did you tell Timothy Gooden
 5     you wanted some other kind of tattoos on the model's
 6     back instead?
 7           A      No.     Timothy added tattoos on his back.
 8           Q      And did you talk to him about where he got
 9     the images of the tattoos that he added --
10           A      No.
11           Q      -- on his back?
12           A      Huh-uh.
13           Q      Remember to wait until I'm finished asking
14     the question --
15           A      Sorry.
16           Q      -- before you answer.
17                  Okay.     We'll come back to that.                Were you
18     responsible for marketing Gangsta Bitch Volume 1?
19     You -- and when I say "you," I'm talking about KSR.
20           A      No.
21           Q      Who is involved with or employed by or a
22     member of KSR?
23           A      At that time all the marketing was done on
24     Cardi's social.
25           Q      What does that mean?

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 1           A      That means all the marketing was done via
 2     Instagram.
 3           Q      Okay.     And the marketing that was done via
 4     Instagram was that done at your direction?
 5           A      Partly, yeah.
 6           Q      Does KSR have any employees?
 7           A      No.
 8           Q      How many members does it have?
 9           A      One, just me.
10           Q      Just you; right?
11           A      Uh-huh.
12           Q      Okay.     So if anything is done by KSR, it's
13     done at your direction; correct?
14           A      It's partly me and the artist.
15           Q      Okay.
16           A      It's not just me by myself.
17           Q      Right.      But if it's something that's a
18     direction that's coming from KSR, it's a direction
19     that comes from perhaps with consultation with
20     whatever artist --
21           A      And artist, correct.
22           Q      -- you're working with?
23                  And how many artists do you work with?
24           A      Three.
25           Q      How many artists did KSR work with between

                                                                      Page 23

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 1           A      Currently three.
 2           Q      Who are they?
 3           A      The ones I mentioned.
 4           Q      Okay.     But you don't -- now, World Star
 5     nor KSR represents Cardi B; right?
 6           A      Actually, I take that back.                  Only two.
 7           Q      Okay.     HoodCelebrityy and Josh X?
 8           A      Right.      Just Josh X.
 9           Q      And not HoodCelebrityy?
10           A      I don't manage HoodCelebrityy.
11           Q      So going back to KSR, currently KSR
12     markets for Josh X and HoodCelebrityy?
13           A      As the label.
14           Q      Okay.     Got it.
15           A      That's why.
16           Q      Okay.     And -- and so you said that when
17     you were marketing the Gangsta Bitch Volume 1 Mix
18     Tape for Cardi B in consultation with Cardi B, it
19     was done through social media?
20           A      Yes.
21           Q      Was that the only platform that was used?
22           A      Yes.
23           Q      Did KSR have merchandising rights to
24     Cardi B's merchandise?
25           A      Yes.

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 1           A      Uh-huh.
 2           Q      Okay.     You have worked in the past with a
 3     lawyer named Rick Joseph in L.A?
 4           A      Yes.
 5           Q      For low long?
 6           A      From when I began managing Cardi.
 7           Q      So you didn't work with Mr. Joseph until
 8     2015 or 2013?
 9           A      Whenever I started working with --
10     whenever Cardi went on television is when Joseph
11     started working with Cardi.
12           Q      How did you meet Mr. Joseph?
13           A      Meek Mill introduced me.                Mill's manager
14     introduced me to him.
15           Q      Macmillian?
16           A      Meek Mill's manager.
17           Q      Meek Mill's?
18           A      Yes.
19           Q      And who is Meek Mill's manager?
20           A      I forget his name.             It's been a long time?
21           Q      When you've done work for other artists,
22     other than Cardi B, have you also worked through
23     Mr. Joseph in preparing contracts and negotiating
24     contracts on their behalf?
25           A      With Joseph did -- yes.

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 1             Q    Do you still work with Mr. Joseph?
 2             A    Here and there, not as much.
 3             Q    How many times have you come to California
 4     to meet with Mr. Joseph?
 5             A    We spoke on the phone.
 6             Q    How many times?
 7             A    How many times we spoke on the phone?
 8             Q    Yeah.
 9             A    Often.
10             Q    Often?
11             A    I mean, when he's negotiating the deal for
12     Love and Hip Hop actually we spoke on the phone for
13     like a while.
14             Q    So starting around 2013?
15             A    When -- starting around when Cardi was on
16     TV, yes.
17             Q    Do you recall that being around 2013?
18             A    Whenever that was.             I -- '13 or '15,
19     whenever it was.
20             Q    Approximately, 2013/2014; is that fair?
21             A    Yeah.     Whenever she was on TV.
22             Q    When you began working with Mr. Joseph and
23     talking to him on the phone frequently, would you
24     say you spoke with him on the phone a couple times a
25     week?

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 1             A    No, not that often.
 2             Q    Couple times a month on average?
 3             A    Probably twice a month.
 4             Q    Okay.     From that period of time until
 5     when?
 6             A    Until --
 7             Q    Currently?
 8             A    Not currently.          Until maybe 2016.
 9             Q    So from 2013 or '14 until around 2016 you
10     spoke with Mr. Joseph on the phone a couple times a
11     month on average?
12             A    Yeah.
13             Q    Okay.     And Mr. Joseph is located in
14     Beverly Hills; correct?
15             A    Yeah.
16             Q    Okay.     And do you have a client retainer
17     agreement with Mr. Joseph?
18             A    Yes.
19             Q    On behalf of KSR?
20             A    Yes.
21             Q    Yes?
22                  MR. DOWLING:         You're extremely patient
23     about all this.        As you know the court ordered this
24     discovery be conducted with respect to three
25     specific issues identified in the Court's order.

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 1             Q    This is an image that Tim Gooden prepared?
 2             A    No. 4?
 3             Q    Yeah.
 4             A    Okay.
 5             Q    Is that right?
 6             A    Yes.
 7             Q    And the original photo that you sent to
 8     him, is that on page six?
 9                  MR. DOWLING:         What do you mean that he
10     sent to him?        There's no testimony to that effect.
11                  MR. CONLAN:         All right.         Let me ask him.
12     BY MR. CONLAN:
13             Q    Do you see the image on page six?
14             A    Yes.
15             Q    Is that an image that was created during
16     the photo shoot that you coordinated for Cardi B in
17     Toronto?
18             A    Yes.
19             Q    Did you take that image and send it to
20     Nojo?
21             A    Yes.
22             Q    Okay.     And what did you tell him?
23             A    Clean it up.
24             Q    Okay.     And so he cleaned it up by
25     basically finding a different tattoo and photo

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 1     shopping onto the model?
 2            A     Yeah.
 3            Q     Is that your understanding?
 4            A     That's what he did, yeah.
 5            Q     Do you know where he got the image --
 6            A     No idea.
 7            Q     -- for the photo shop?               Did you ever ask
 8     him?
 9            A     No.
10            Q     During the course of this litigation have
11     you ever contacted Nojo and asked him where he got
12     the image?
13            A     Yes.
14            Q     And what did he say?
15            A     On the internet.
16            Q     Did he say where?
17            A     No.
18            Q     Did you ask him where?
19            A     He said on the internet.                I did.    He said
20     on the internet.         He Googled it.
21            Q     How did he Google it?
22            A     I have no idea.
23            Q     Did you tell him that a lawsuit had been
24     filed by the person whose tattoo it was that appears
25     on the model now?

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 1             A    Definitely.
 2             Q    Yeah.     What did he say?
 3             A    He said, wow.
 4             Q    Yeah.     Did you ask him if he made any
 5     efforts to contact the person who has the tattoo on
 6     his back?
 7             A    No.
 8             Q    You didn't ask him?
 9             A    No.
10             Q    How much did you pay Nojo to do this work?
11             A    He might have charged me $200.
12             Q    Does Nojo do all of your graphic design
13     work?
14             A    Not all, no.
15             Q    This will be Exhibit 3.
16                     (Whereupon, Plaintiff's Exhibit 3 was
17                        marked for identification by the court
18                        reporter and attached hereto.)
19     BY MR. CONLAN:
20             Q    Do you recognize this document?                   For the
21     record this is Bates-stamped KSR 7 through -- it's
22     two-sided, KSR7 through 13.
23             A    Yeah.
24             Q    What is it?
25             A    It's a recording agreement.

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 1            Q     Yes.
 2            A     Klenord Shaft Raphael.
 3            Q     Okay.      And Kollective Sound Recording
 4     Group is what?
 5            A     I have no idea.
 6            Q     Was that an error, do you know on this
 7     agreement?      Do you see where --
 8            A     Yeah, I see it.            Yeah.
 9            Q     You don't know where that came from?
10            A     No, I don't know where that came from.
11            Q     That's not an entity that you --
12            A     Uh-huh.
13            Q     -- control?
14            A     No.
15            Q     That's not an entity you ever formed?
16            A     No.
17            Q     But this was an agreement that was being
18     negotiated between KSR Group and Atlantic
19     Corporation?
20            A     Yes.
21            Q     On your behalf of KSR?
22            A     Yes.
23            Q     And for what artists or what artist was
24     this intended to include?
25            A     Cardi B.

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 1           Q      Just Cardi B?
 2           A      Uh-huh.
 3           Q      And did Mr. Joseph negotiate other similar
 4     agreements on behalf of KSR for other artists that
 5     KSR represents?
 6           A      Yes.
 7           Q      For whom?
 8           A      HoodCelebrityy.
 9           Q      Okay.     Set that aside.            So when I finish
10     with these, you can just kind of turn them over and
11     keep them in the same order so the court reporter
12     can take them at the end of the day.
13           A      Cool.
14           Q      This is going to be Exhibit 4.
15                     (Whereupon, Plaintiff's Exhibit 4 was
16                      marked for identification by the court
17                      reporter and attached hereto.)
18     BY MR. CONLAN:
19           Q      Exhibit 4 is a document entitled Empire
20     Distribution -- Digital Distribution Agreement and
21     it's stamped KSR14 through 20 -- 24 and it's also
22     two sided.      Do you recognize this document?
23           A      Yeah.
24           Q      What is it?
25           A      Distribution agreement.

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 1            Q     Is this the final agreement?
 2            A     Yes.
 3            Q     Okay.     And this is a distribution
 4     agreement between KSR Group and Empire?
 5            A     Yeah.
 6            Q     And Empire is located in San Francisco?
 7            A     I'm not sure.
 8            Q     Do you see where it says licensee and it's
 9     got Empire's name?
10            A     Yep.
11            Q     Maiden Lane in San Francisco, California.
12            A     Yes.
13            Q     Who negotiated this agreement on behalf of
14     KSR?
15            A     I think I might have.
16            Q     Did Rick Joseph have any role in
17     negotiating this agreement?
18            A     I don't remember.            I don't think so.
19            Q     There are some initials on the bottom
20     right corner of each page, KR, are those your
21     initials?
22            A     My initials.
23            Q     And then if you turn to the last page
24     where it says or -- I'm sorry, 22 where it says
25     licensor.     It says signature and that's your

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 1     signature there?
 2           A      Yes.
 3           Q      Leonard Raphael?
 4           A      What page?
 5           Q      22.
 6           A      22, yeah, that's my signature.
 7           Q      And on 24 there's another signature there?
 8           A      Yeah.
 9           Q      And that's the direct deposit form?
10           A      Yeah.
11           Q      Okay.     And Ghazi Shami, am I pronouncing
12     that right?
13           A      It's the owner?
14           Q      Yeah.
15           A      Yeah.
16           Q      Is he the guy who you negotiated this
17     contract with?
18           A      No.     We negotiated with somebody else.
19           Q      Do you have a copy of this signed by
20     Mr. Shami?
21           A      I don't -- I'm not sure.
22           Q      Do you understand this to be the final
23     agreement between KSR and Empire?
24           A      No.     They -- he would have to sign it and
25     send it to me, so this may not be the final.

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 1             Q    Okay.     Did you search for any copies that
 2     he had signed and sent to you?
 3             A    I'm not sure.          I don't remember.
 4             Q    Okay.     What is the purpose of this
 5     agreement?
 6             A    It's a distribution agreement.
 7             Q    For what?
 8             A    Basically distribute music on all
 9     platforms.
10             Q    Okay.     For what artist?
11             A    Cardi, it's for Cardi.
12             Q    Just for Cardi?
13             A    At this time just for Cardi, yeah.
14             Q    And this time is?
15             A    2015.
16             Q    December 2015?
17             A    Yeah.
18             Q    And so it says there in No. 2 Content.                      It
19     says "Licensor owns and/or controls 100 percent of
20     the sound recordings delivered to licensee."                     See
21     that?
22             A    Uh-huh.
23             Q    Okay.     And licensor is KSR Group; correct?
24             A    Uh-huh.
25             Q    So any sound recordings of Cardi B you

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 1     were representing that or KSR was representing here
 2     that it owned and controlled them at this time?
 3           A      At this time, yeah.
 4           Q      And if you can turn to page seven of the
 5     contract, it's the Bates-stamp 20.                   There's a
 6     paragraph No. 12.
 7           A      Uh-huh.
 8           Q      See that?
 9           A      Yeah.
10           Q      Okay.     And it's a mediation arbitration
11     provision?
12           A      Yes, uh-huh.
13           Q      It says that "The controversy or claim
14     shall be settled by three arbitrators and all
15     hearings shall be held in San Francisco,
16     California."        Do you see that?
17           A      Uh-huh.
18           Q      And further down it says "In rendering the
19     award, the arbitrator shall interpret this agreement
20     it accordance with the substantive laws of
21     California."        Do you see that?
22           A      Uh-huh.
23           Q      And that's what you agreed to when you
24     signed this contract?
25           A      Yep.

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 1           Q      Have there been any disputes with Empire?
 2           A      No.
 3           Q      So how much has Empire paid you or paid
 4     KSR pursuant to this agreement?
 5           A      I have no clue.           No clue whatsoever.
 6           Q      Did you, and for the purposes of this
 7     case, collect information demonstrating how much KSR
 8     received from Empire?
 9           A      Yeah, my assistant gave it to Alan.
10           Q      You think so?
11           A      I think she did.
12                  MR. DOWLING:         And we gave it to you.
13     BY MR. CONLAN:
14           Q      I'm going to hand you No. 5.
15           A      Okay.
16                     (Whereupon, Plaintiff's Exhibit 5 was
17                        marked for identification by the court
18                        reporter and attached hereto.)
19     BY MR. CONLAN:
20           Q      No. 5 for the record is a -- looks like a
21     letter agreement between WB Music Corp., and I don't
22     know if it's KSR or you individually.                     But it's
23     Bates-stamped KSR 26 through 44 and it's two sided.
24     Do you recognize this document?
25           A      Yes.

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 1           Q      Okay.     Why don't you tell me for the
 2     record what it is?
 3           A      This is a publishing agreement.
 4           Q      Between -- and who are the parties to it?
 5           A      Warner/Chappell and myself.
 6           Q      You individually, not KSR?
 7           A      Me individually, nothing to do with KSR.
 8           Q      And what artist is it intended to cover?
 9           A      All my -- any artist.               It's not artist
10     specific.
11           Q      So was this intended to cover -- or did
12     this, when it was signed, include Cardi B?
13           A      Yeah, any artists that I have worked with.
14           Q      Okay.     September of 2017 you were working
15     with Cardi B?
16           A      Yeah, I was working with Cardi B,
17     HoodCelebrityy.        Any artist, not just Cardi.
18           Q      And this was negotiated on your behalf by
19     Rick Joseph in Beverly Hills?
20           A      Uh-huh.
21           Q      And this is called an exclusive
22     administration agreement, you called it a publishing
23     agreement.      Do you --
24           A      It's the same thing.
25           Q      Okay.     If you turn to the page stamped 35.

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 1           A      Uh-huh.
 2           Q      There's a paragraph 8.1.4.                  And this has
 3     to do with claims made against Warner/Chappell
 4     Music; right?
 5           A      Uh-huh.
 6           Q      That paragraph?
 7           A      Okay.
 8           Q      And is that correct?
 9           A      Yes.
10           Q      And it's talking about if claims are made
11     then Warner/Chappell will withhold a certain amount
12     of money; is that correct?
13           A      Yep.
14           Q      Okay.     Now, Warner/Chappell is located in
15     san -- Los Angeles, California; correct?                       You can go
16     ahead and turn to the first page again.
17           A      Yep.
18           Q      You understood at the time that this
19     contract was being negotiated at the time by your
20     attorney located in Beverly Hills with WB Music
21     corp. care of Warner/Chappell music also located in
22     Los Angeles, California; correct?
23           A      I didn't know where they were located to
24     tell you the truth.
25           Q      You understand now that this is where

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 1     they're located, at least as of this time?
 2           A      I see it now on the document.
 3           Q      Okay.     So going back to the 8.1.4 it's
 4     referring to the amount on legal hold.                         It's talking
 5     about refunds and it refers to interest on the
 6     amount released at the regular savings and loan pass
 7     book interest rate prevailing in Los Angeles from
 8     time to time.        Do you see that?
 9           A      Yep.
10           Q      Okay.     And if you turn to page 13 of the
11     agreement, Bates-stamp 38.
12           A      Yes.
13           Q      That's your signature there, agreed and
14     accepted?
15           A      Yes, it is.
16           Q      If you look to the top of that page 11.1
17     it says "This agreement has been entered into and to
18     be interpreted in accordance with the laws of the
19     State of California."            Do you see that?
20           A      Yes, I do.
21           Q      And that's what you agreed to?
22           A      Yep.
23           Q      Okay.     Turn to page 14 of the agreement if
24     you could, Bates-stamp 39.
25           A      Okay.

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 1           Q      There's "Schedule A, Existing
 2     Compositions" and that refers to something else.                         It
 3     says "See Attached."           And question for you is
 4     what -- what was supposed to be attached to that?
 5           A      I don't know what was attached to it.
 6           Q      Well, existing Compositions, what is your
 7     understanding of what that means?
 8           A      I'm not sure if it's a composition of all
 9     the artists or for just Cardi.                 So I'm not sure.
10     It's probably previous music, but I'm not sure if
11     it's all --
12           Q      Okay.
13           A      -- or some.         I'm not sure.
14           Q      So at a minimum it included Cardi; right?
15           A      Yes.
16           Q      Does that mean it included Gangsta Bitch
17     and songs appearing on Gangsta Bitch?
18           A      Is this included?            I'm not sure.        I'd
19     assume so.
20           Q      Okay.
21           A      I'd assume so.          This deal -- this deal
22     wasn't really centered around Gangsta Bitch music.
23           Q      Excuse me?
24           A      This deal wasn't really centered around
25     Gangsta Bitch Music.

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 1           A      And the VMAs, yes.             But the others, ESPN,
 2     Star, Queen Sugar, Dance Battle, no idea.
 3           Q      Could they be for other artists that you
 4     represent?
 5           A      I'm not -- none of my artist appeared on
 6     those shows.
 7           Q      Okay.
 8           A      None of my other artists.
 9           Q      All right.        I'm going to hand you Exhibit
10     6.
11                     (Whereupon, Plaintiff's Exhibit 6 was
12                      marked for identification by the court
13                      reporter and attached hereto.)
14     BY MR. CONLAN:
15           Q      Exhibit 6 for the record is stamped KSR60
16     through 62.      And this is an email from a woman named
17     Heather Lowery at Live Nation to a gentleman by the
18     name of Mark Cheatham --
19           A      Uh-huh.
20           Q      -- at CAA, what is that?
21           A      Live Nation.
22           Q      What is CAA?         Creative Artists?
23           A      Creative Artists.            Yeah, it's a talent
24     agency.
25           Q      Right.      And what is your connection or

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 1     KSR's connection to Live Nation or Creative Artists?
 2           A      They just book talent.
 3           Q      Okay.     And what is -- so do you have --
 4     does KSR have a contract with Live Nation?
 5           A      No.
 6           Q      What -- does Live Nation make money
 7     working with KSR?
 8           A      They make money off whatever they book.
 9           Q      Okay.     And is that through an agreement
10     with KSR?
11           A      No agreement, no.            They just -- they
12     just -- if they have a situation, then they bring it
13     to us.
14           Q      So when you say "no agreement," you mean
15     no written agreement?
16           A      Yeah, there's no agreement.
17           Q      How do you determine how much money Live
18     Nation makes if they book for KSR?
19           A      They ask for 10 percent.
20           Q      They ask for 10 percent?
21           A      Yeah.
22           Q      Does KSR pay 10 percent?
23           A      If we agree to what they say, yeah.
24           Q      Has KSR paid Live Nation 10 percent for
25     any artist at any time?

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 1           A      Yeah, all -- any artists.                 All the
 2     artists.
 3           Q      Okay.     Heather Lowery from KSR is located
 4     in Beverly Hills?
 5           A      She's not from KSR.
 6           Q      I mean, Live Nation.
 7           A      I guess, I take it, yes.
 8           Q      And where is Mark Cheatham located?
 9           A      Mark I -- Mark?           From -- I guess he's from
10     L.A. as well.
11           Q      Okay.     So this is an email from Heather
12     Lowery to Mark Cheatham and she's describing two
13     scenarios for Cardi B appearances; correct?
14           A      Yeah, we never did this.
15           Q      Okay.
16           A      We never did this.
17                  MR. DOWLING:         Counsel, I have a question
18     about this exhibit when you're done.
19                  MR. CONLAN:         Yeah.
20     BY MR. CONLAN:
21           Q      Okay.     So there's two attachments to this.
22                  MR. DOWLING:         No, there are not.
23                  MR. CONLAN:         Okay.
24                  MR. DOWLING:         Those are the two pages that
25     came from Empire --

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 1     two Live Nation situations that Cardi might have
 2     been.
 3     BY MR. CONLAN:
 4             Q    Where?
 5             A    I don't remember the state.                  Could have
 6     been Ohio.
 7             Q    All right.
 8             A    It was Spotify event, so I'm not sure.
 9             Q    Wherever it was, did KSR pay Live Nation a
10     fee for it's work on that event?
11             A    No.     We didn't pay, Live Nation paid us.
12     We don't pay Live Nation a fee.
13             Q    So Live Nation collected the proceeds and
14     then KSR got a cut, is that how it works?
15             A    Yeah.     Live Nation would have promoted us,
16     correct.
17             Q    Okay.     So then KSR gets a cut of
18     whatever --
19             A    No, not a cut.          Live Nation goes to you
20     25 -- whatever -- they pay the artist to perform for
21     the show.
22             Q    Okay.
23             A    That's it.
24             Q    And what does KSR get out of it?
25             A    What does KSR get?

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 1           Q      Yeah.
 2           A      KSR --
 3           Q      Does it get a piece?
 4           A      KSR at the time 20 percent.
 5           Q      Of what the artist --
 6           A      Of what the artist makes.
 7           Q      -- gets?       All right.         Let's set that one
 8     aside.
 9                  Now, let's look at Exhibit 7 which are the
10     two sales graphs that were produced on behalf of KSR
11     Group.
12           A      Okay.
13                     (Whereupon, Plaintiff's Exhibit 7 was
14                      marked for identification by the court
15                      reporter and attached hereto.)
16     BY MR. CONLAN:
17           Q      What do these two pages show?                     Well, first
18     of all, what are they?
19           A      They're records sales.
20           Q      Of what?
21           A      Of whatever -- whatever song Cardi had on
22     Empire.
23                  MR. DOWLING:         Why don't we establish first
24     whether he had any part in preparing these
25     documents?

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 1     BY MR. CONLAN:
 2           Q      Mr. Raphael, did you have any part in
 3     preparing these documents?
 4           A      No.
 5           Q      Did you -- where did you get them?
 6           A      When did I get what?
 7           Q      When did you get these documents?
 8           A      I don't know if I got these documents.
 9           Q      Have you seen them before?
10           A      Not this specific document, but I've seen
11     the charts.        I seen the -- I seen these on the
12     computer.
13           Q      Okay.     So you've seen --
14           A      But not this specific.               But I've seen
15     charts like this on the computer.
16           Q      Okay.     Have you seen this --
17           A      Specific?
18           Q      -- specific chart --
19           A      No.
20           Q      -- either digitally or electronically or
21     in paper form?
22           A      No.
23           Q      So you didn't look at this before it was
24     produced in this case?
25           A      No, my assistant put it together.

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 1             Q    She put it together?
 2             A    Yeah.     She's the one -- yeah.
 3             Q    And you're talking about Denise Dixon?
 4             A    Uh-huh.
 5             Q    Did she prepare it or did she get it from
 6     Empire?
 7             A    She got it from Empire.
 8             Q    Okay.     And do you know what it shows?
 9             A    It shows record sales.
10             Q    Of what?
11             A    I'm not exactly sure.
12             Q    How would you find out?
13             A    I'm looking at the time frame of 2016.                      It
14     shows record sales probably of Cardi of the mix
15     tape.
16             Q    Okay.     So your understanding is that these
17     are the 2016 and '17 sales of Gangsta Bitch?
18             A    Uh-huh.
19             Q    At least according to Empire's records?
20             A    Yes.
21             Q    Okay.     And was there any 2015 sales?
22             A    I don't think so.            It says right here zero
23     in January, so I'd assume no.
24             Q    Okay.     And these charts were generated by
25     Empire which is the company located in San

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 1     Francisco?
 2           A      These charts were produced on the computer
 3     by Denise.
 4           Q      Well, Denise didn't prepare these charts;
 5     right?
 6           A      She had to -- she queried them.                   They
 7     don't come like this.            She had to query the data.
 8           Q      Okay.     So why don't you walk me through
 9     your understanding of the process of Denise
10     preparing these charts?
11           A      She had to log on and she'd have to put
12     the time that she was looking for and then it gets
13     produced online.
14           Q      So she inputs a filter which is KSR Group
15     there?
16           A      Uh-huh.
17           Q      And then the time period?
18           A      Time period.
19           Q      Right.
20           A      And then it creates a chart.
21           Q      And this is a portal that she accesses
22     that's operated by Empire Distribution; right?
23           A      That's their portal.
24           Q      And Empire Distribution is located in
25     San Francisco, California?

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 1           A      Yes.
 2           Q      And she -- the reason she is able to
 3     access this portal is pursuant the distribution
 4     agreement that KSR has with Empire Distribution;
 5     correct?
 6           A      Correct, yes.
 7           Q      And so how can you tell by looking at that
 8     these are the sales for Gangsta Bitch?
 9           A      Says KSR group.
10           Q      Well, 2016 and 2017, didn't Cardi B have
11     other albums out?
12           A      Yeah, but not on with Atlantic.
13           Q      Well, this is from Empire; right?
14           A      Not on Empire, yeah.
15           Q      Okay.     Did KSR have other artist that were
16     part of the -- or that fell under the agreement
17     between KSR and Empire at this time?
18           A      Yes.
19           Q      Okay.     So how do you know that this is for
20     Gangsta Bitch and not some other artist or album?
21           A      Because it says KSR Group.
22           Q      But KSR represented other artists at the
23     time; right?
24           A      Yeah, uh-huh.
25           Q      So do you know or do you not know if this

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 1     is for Gangsta Bitch?
 2           A      Yeah, for Gangsta Bitch.
 3                  MR. DOWLING:         Is the question whether it's
 4     only for Gangsta Bitch?
 5                  THE WITNESS:         Yeah.
 6     BY MR. CONLAN:
 7           Q      No.    The question is how do you know it's
 8     for Gangsta Bitch and not some other artist or
 9     album?
10           A      Because --
11                  MR. DOWLING:         That's where I'm confused.
12                  THE WITNESS:         But it says KSR.
13     BY MR. CONLAN:
14           Q      Right.      And KSR represents other artists;
15     right?
16           A      Right.      But it would have said something
17     else for another artist.
18           Q      What would it have said?
19           A      HoodCelebrityy.
20           Q      Why didn't it say Cardi B?
21           A      That's how they set it up.
22           Q      How do you know that?
23           A      Say that again.
24           Q      How do you know that?
25           A      How do I know what?

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 1           Q      That that's how they set it up.
 2           A      Because I know if I go I'll see a filter
 3     for HoodCelebrityy.
 4           Q      Who set it up that way, Empire?
 5           A      Uh-huh.
 6           Q      And that's the company that's based in San
 7     Francisco?
 8           A      That's correct.
 9           Q      Mr. Raphael, did you produce any other
10     documents in the course of this litigation that
11     related to sells of Gangsta Bitch Music, Volume 1,
12     other than these two pages?
13           A      That's it.
14           Q      Did you produce any other documents
15     related to any other sales of Cardi B music?
16           A      That's the only way she gets sales.
17           Q      Did you look for any other documents?
18           A      There's no others that I know.
19           Q      Does KSR have financial statements?
20           A      I don't know of anything else.
21           Q      KSR doesn't prepare financial statements?
22           A      This is -- this is -- everything that's
23     for Gangsta Bitch Music would be right here?
24           Q      Does KSR prepare financial statements?
25           A      Yearly.

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 1           Q      Okay.     And did you make any effort to look
 2     at those financial statements as part of this
 3     litigation?
 4           A      No, because anything that Cardi has would
 5     be here as far as record sales.
 6           Q      Did you make my effort to search for
 7     records related to merchandising revenues related to
 8     Gangsta Bitch?
 9           A      No.
10           Q      Did you make any effort to search for
11     records related to appearance revenues generated by
12     appearances that Cardi B made?
13           A      No.
14                  MR. DOWLING:         I'm interpreting "you" as
15     being him individually.
16                  MR. CONLAN:         I'm meaning KSR.
17     BY MR. CONLAN:
18           Q      Did you or anyone on behalf of KSR make
19     any effort to search for and produce records related
20     to revenues generated by merchandising appearances
21     or any other possible revenue source?
22           A      No, she had.
23           Q      From Cardi B?
24           A      No, she had no merchandise for this.                   No
25     merchandising for Gangsta Bitch.

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 1            Q     Did you or anyone on behalf of KSR do
 2     anything in this case to search for and produce
 3     documents showing revenues generated by Cardi B's
 4     appearances anywhere?
 5            A     No, I don't think so.               Cardi she always
 6     hosted before the music, so it wasn't attributable.
 7            Q     Exhibit 8 is an email from Matt Martinez
 8     at Atlantic Bates-stamped KSR63.                  It's actually a
 9     chain between looks like you and Matt Martinez and
10     some other people.
11            A     Uh-huh.
12                     (Whereupon, Plaintiff's Exhibit 8 was
13                      marked for identification by the court
14                      reporter and attached hereto.)
15     BY MR. CONLAN:
16            Q     Who is Matt Martinez?
17            A     I don't know.
18            Q     Okay.     The subject to the email chain is
19     Cardi B L.A. session?
20            A     Uh-huh.
21            Q     Do you recall this exchange of emails?
22            A     I don't recall it, but I'm looking at it
23     now.
24            Q     You don't have any reason to believe that
25     these weren't emails that you sent or received in

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 1     November of 2017?
 2           A      What's the question?
 3           Q      You see the first email at the bottom is
 4     from you; right?
 5           A      Uh-huh.
 6           Q      And you're asking him to book a flight and
 7     a room for someone in L.A. that day?
 8           A      Uh-huh.
 9           Q      And the subject is Cardi B L.A. session?
10           A      Okay.
11           Q      What was that, the Cardi B L.A. session?
12           A      That must have been a time when she
13     recorded in L.A.
14           Q      Okay.     So she's making an appearance or
15     recording in L.A?
16           A      No, not appearance, just recording.
17           Q      Where was she recording in L.A.?
18           A      It says --
19           Q      At SLS?
20           A      No.     SLS is a hotel.
21           Q      And that's where she stayed?
22           A      That's where probably the engineer stayed.
23           Q      Who is the engineer, somebody from
24     New York?
25           A      Uh-huh.

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 1             A    Yep, this is Jay White, Dallas, Texas.
 2     Yep, yep.     Okay.
 3             Q    When you finish, I'm going to ask you some
 4     specific questions about each of them.
 5             A    Okay.     Cool.
 6             Q    Finished?
 7             A    Yeah.
 8             Q    All right.        So if you look at the first
 9     page this is an itinerary for you dated November 8,
10     2017; right?
11             A    Okay.
12             Q    Is that right?
13             A    That's for me, yes.
14             Q    Okay.     And this is for a flight from LAX
15     to JFK; correct?
16             A    Yep.
17             Q    Okay.     So you had already been in L.A. at
18     this point in time when you took this flight
19     obviously?
20             A    Correct.
21             Q    For how long?
22             A    I have no clue.
23             Q    Where did you stay?
24             A    I have no clue.           I don't remember this
25     time.

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 1           Q      Where do you normally stay when you come
 2     to L.A.?
 3           A      I stay different places.                Different -- I
 4     stay anywhere.        I stay at SLS.           I stay at Loews.          I
 5     stay at different places.
 6           Q      How many times a year do you come to
 7     California for any reason?
 8                  MR. DOWLING:         You might want to break down
 9     time periods.
10                  THE WITNESS:         When?
11     BY MR. CONLAN:
12           Q      2017, how many times did you come to
13     California?
14           A      She had award shows.              I might have came
15     maybe five times for the year.                 I'm not sure.
16           Q      Okay.     How many times in 2018 did you come
17     to California?
18           A      I don't know.          I'm not sure.
19           Q      And when you come to California are you
20     coming as a -- as a -- as the member of KSR in part
21     at least?
22           A      No.     I have girlfriends out here, so, no.
23           Q      When you come to California do you do
24     business in California?
25           A      Not -- no.        When I do -- I have business

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 1     in California?          No.   All my business is mostly done
 2     in New York.
 3             Q      Okay.     This trip in November 2017, was
 4     this for the Cardi B L.A. session that we saw in the
 5     previous exhibit?
 6             A      It might have -- it might not have been
 7     for the session.          It might have been for something
 8     else.       It might have been maybe for an award show.
 9             Q      Okay.
10             A      Yeah, because -- no -- what's the date?
11             Q      November 2017.
12             A      November 2017.         November 2017.
13     November 9th, what page is this on?
14             Q      We were looking at the first page of the
15     exhibit.       And if you look to these dates there's
16     different dates on here.
17             A      Right.
18             Q      But if you go about three pages in on the
19     one stamped 70, you see there's an itinerary for
20     Cardi passenger Belcalis Almanzar, see that?
21             A      Right.
22             Q      That's for the same date looks like;
23     right?
24             A      November 9th, okay.
25             Q      Two different flights though; right?

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 1           A      Yeah, two different flights.
 2           Q      So she was leaving Los Angeles to go back
 3     to JFK on a different flight than you on that date?
 4           A      Seems so.
 5           Q      Okay.     And your office -- who directed
 6     TZell Travel to book these flights?
 7           A      J Class, Julian.
 8           Q      Who is that?
 9           A      Somebody who assisted me?
10           Q      Okay.     On behalf of KSR?
11           A      Uh-huh.
12           Q      Okay.     When you say "uh-huh" you mean
13     "yes"?
14           A      Yes.
15           Q      Okay.
16           A      Yeah, I never book flights.
17           Q      I wasn't suggesting that you do, but you
18     tell people to book flights for you; right?
19           A      Yeah.
20           Q      And so as you see Cardi B's flight
21     itinerary here, does it refresh your recollection on
22     what she and you were here for at that period of
23     time --
24           A      No --
25           Q      -- on November 2017?

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 1             A      -- it doesn't, it could've been anything.
 2             Q      Did you make any effort to search for
 3     records showing where you or Cardi stayed while you
 4     were here in Los Angeles?
 5             A      I didn't even know about this.
 6             Q      Did you eat at restaurants while you were
 7     here?
 8             A      I'm sure we did.
 9             Q      Okay.     Do you remember where?
10             A      No.     No idea.
11             Q      Do you remember what else you did while
12     you were here?
13             A      I don't remember back that far.
14             Q      Okay.
15             A      I wish I did.
16             Q      Do you remember being here with her in
17     November 2017?
18             A      I'm not sure if I was with her.                  Because
19     even though she's here, I don't be with her all the
20     time.       I don't even -- if it's an award show, I
21     might have went to the show and showed up to the
22     show and left.
23             Q      In any event, you were responsible for
24     booking her flight from L.A. back to --
25             A      Not me.

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 1           Q      Yeah.
 2           A      Only for you.
 3           Q      Just for me?
 4           A      Yes.
 5           Q      That's pretty kind of you.
 6           A      Yes.
 7           Q      How long are you here for?
 8           A      Tomorrow I'm gone.             When I'm done, I'm
 9     gone out of here.
10           Q      All right.        This is Exhibit 10.             Why don't
11     you take a moment to look it.                It's bates-stamped
12     KSR 79 through 95.
13           A      Yes.
14                     (Whereupon, Plaintiff's Exhibit 10 was
15                      marked for identification by the court
16                      reporter and attached hereto.)
17     BY MR. CONLAN:
18           Q      What is this?
19           A      Seems like Cardi's deal with Atlantic.
20           Q      Is this something you negotiated for
21     Cardi?
22           A      She had her own attorney, but...
23           Q      Were you involved in this negotiation of
24     this contract?
25           A      I was involved for sure.

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 1            Q     Okay.      And this was negotiated on behalf
 2     of -- I guess that's Cardi's company, Washpoppin;
 3     correct?
 4            A     Correct.
 5            Q     And it was negotiated on behalf of
 6     Washpoppin by Rick Joseph in Beverly Hills?
 7            A     Yes.
 8            Q     Did you talk with Rick Joseph about this
 9     agreement and what is being negotiated?
10            A     Yes.
11            Q     Did you talk to Cardi B about this
12     agreement and what is being negotiated?
13            A     Yes.
14            Q     And that was pursuant to your business
15     relationship, KSR and Cardi B; correct?
16            A     Yes.
17            Q     Okay.      What is Washpoppin?
18            A     That's Cardi's company.
19            Q     What does it do?
20            A     That's her company.               That's her company.
21            Q     Does it own rights to her music in any
22     way?
23            A     No, I don't think so.
24            Q     Why would Washpoppin be entering into an
25     agreement with Atlantic Recording Corporation?

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 1           A      I guess, it does -- the name never comes
 2     up, so...
 3                  MR. DOWLING:         You're talking about rights
 4     of the music?
 5     BY MR. CONLAN:
 6           Q      Any kind of rights that you're aware of.
 7                  MR. DOWLING:         That's self-evident from the
 8     document.     It has the right to enter into contracts
 9     for the recording services.
10                  MR. CONLAN:         Yeah, I see that.
11                  THE WITNESS:         I guess --
12                  MR. CONLAN:         I'm trying to get his
13     understanding of it.
14                  MR. DOWLING:         Okay.
15                  THE WITNESS:         I guess Washpoppin entered
16     on behalf of Cardi with Atlantic.
17     BY MR. CONLAN:
18           Q      Does KSR have any agreements with
19     Washpoppin?
20           A      No.
21           Q      Okay.     This agreement was negotiated
22     around September 2016?
23           A      Uh-huh.
24           Q      You see that?          Did you make any trips to
25     California to negotiate it?

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 1     How would I pay Rick?            I'm not sure.           Was it Paypal?
 2     I'm not --
 3           Q      You don't know as you sit here?
 4           A      Possibly I just sent him a check.
 5           Q      You sent a check to his office in Beverly
 6     Hills?
 7           A      I sent him a check or would have been a
 8     wire transfer.
 9           Q      Okay.
10           A      I'm not sure.
11           Q      When you were doing work with Rick Joseph,
12     did you communicate with him by email?
13           A      Yeah.
14           Q      Okay.     Communicate with him by phone?
15           A      Yes.
16           Q      And did you understand that he was
17     generally working out of his office in Beverly
18     Hills?
19           A      I don't know where he was working out of.
20           Q      You understand his office is located in
21     Beverly Hills?
22           A      Yes.
23                  MR. DOWLING:         The record should reflect
24     that Mr. Joseph is submitted to practice in New York
25     as well.

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 1     BY MR. CONLAN:
 2           Q      I'll set these aside for now.                     Well,
 3     actually before I do that.               Mr. Raphael, if you
 4     could take a look at page 17 of Exhibit 10.
 5           A      Uh-huh.
 6           Q      Is that Cardi B's signature there?
 7           A      Yes, it is.
 8           Q      And that's her signature there
 9     individually above and to the right?
10           A      Uh-huh.
11           Q      And then if you look at Exhibit 11, page
12     15, that's her signature there accepted and agreed
13     for Washpoppin?
14           A      Page -- what page?
15           Q      Page 15 of Exhibit 11.
16           A      Yeah, she signed it.
17           Q      Okay.     Did you handle paying Rick Joseph
18     on behalf of Cardi B and Washpoppin for negotiating
19     these agreements?
20           A      Not all, no.
21           Q      Did you make any payments to Rick Joseph
22     for the negotiations of those agreements that he did
23     on behalf of Cardi B and Washpoppin?
24           A      No.     The label paid Rick Joseph, I didn't
25     pay him.

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 1           Q      And it also does marketing?
 2           A      Yes.
 3           Q      And it owns rights to music created by the
 4     artist that sign with it; correct?
 5           A      Correct.
 6           Q      This is Exhibit 13.
 7                     (Whereupon, Plaintiff's Exhibit 13 was
 8                      marked for identification by the court
 9                      reporter and attached hereto.)
10     BY MR. CONLAN:
11           Q      Take a look through it and tell me what it
12     is.
13           A      It's a recording agreement.
14           Q      Between whom?
15           A      Me and Cardi.
16           Q      When you say "me," you mean KSR; right?
17           A      KSR, yep.
18           Q      Okay.     Did Rick Joseph negotiate this
19     agreement?
20           A      On my behalf.
21           Q      On your behalf?
22           A      Uh-huh.
23           Q      He did?
24           A      Uh-huh.
25           Q      Your counsel made a comment a couple

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 1     minutes ago about Rick Joseph being admitted in New
 2     York.       Do you have any knowledge of that?
 3             A      I don't know where he's at.
 4             Q      Okay.    Do you know what being admitted in
 5     New York means?
 6             A      No.
 7             Q      Do you know if he's a licensed New York
 8     attorney?
 9             A      I don't know.
10             Q      Have you ever known Rick Joseph to have
11     any offices in New York?
12             A      I don't know, we spoke over the phone.
13             Q      As far as you know, the only office that
14     you're aware of that Rick Joseph has is in Beverly
15     Hills?
16             A      Only office I've been to is once was in
17     Beverly Hills.
18             Q      When did you go to Rick Joseph's office in
19     Beverly Hills?
20             A      I just happen to be in the area.
21             Q      You stopped by and visited with him?
22             A      Just stopped by and say hi, yep.
23             Q      Okay.
24             A      But it wasn't for the business, though.
25             Q      Okay.    This is a recording agreement

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 1     between KSR and Cardi B negotiated on KSR's behalf
 2     by Rick?
 3           A      On KSR's behalf.
 4           Q      Right.      Take a look at page six of the
 5     agreement --
 6           A      Uh-huh.
 7           Q      -- paragraph 14.
 8           A      Yep.
 9           Q      Miscellaneous.          Do you see that?
10           A      Yep.
11           Q      Do you see it says "This agreement shall
12     be governed by the laws of the State of California"?
13           A      Uh-huh.
14           Q      "And only the courts located in Los
15     Angeles County will have jurisdiction of any
16     controversies regarding or arising under this
17     agreement"?
18           A      Yeah.
19           Q      And that's a provision you agreed to and
20     Rick Joseph negotiated on your behalf; correct?
21           A      I'm not sure.
22           Q      Well, turn to the next page.
23           A      Uh-huh.
24           Q      That's your signature; right?
25           A      That's my signature.

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 1           Q      Under KSR?
 2           A      Correct.
 3           Q      So you agreed to that paragraph?
 4           A      Yeah.
 5           Q      And Cardi B also agreed to it under her
 6     given name Balcalis Almanzar?
 7           A      Yep.
 8           Q      That's her signature there above yours?
 9           A      That's correct.
10           Q      Why didn't you produce this document in
11     your document production in this case?
12           A      Say it again.
13           Q      Why didn't you produce this agreement,
14     this recording agreement between KSR and Cardi B, as
15     part of your document production in this case?
16           A      I have no clue.
17           Q      Set that aside for a moment.
18                  On behalf of KSR have you ever been
19     involved in producing any YouTube content for
20     Cardi B?
21           A      Maybe early, early stage.
22           Q      Okay.     Let me ask you a question about
23     that then.      This is Exhibit 14.
24                     (Whereupon, Plaintiff's Exhibit 14 was
25                      marked for identification by the court

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 1     this video that was posted on YouTube, Cardi B's
 2     travels to California?
 3           A      I don't remember.            That's just a regular
 4     silly video.
 5           Q      Do you remember why she was here traveling
 6     to California in April of 2015?
 7           A      2015?     Well, at that point she wasn't --
 8     it wasn't because of music.               So, definitely wasn't
 9     for music.      Not yet, she wasn't popular yet.
10           Q      But it was during the time that KSR and
11     Cardi B were in a business relationship?
12           A      I might have managed at the time.
13           Q      How long was she here on her travels to
14     California?
15           A      I have no idea.
16           Q      I'll give you 15.
17           A      Uh-huh.
18                     (Whereupon, Plaintiff's Exhibit 15 was
19                      marked for identification by the court
20                      reporter and attached hereto.)
21     BY MR. CONLAN:
22           Q      What is Exhibit 15?
23           A      It's her hosting at a strip club.
24           Q      Sam's Hofbrau?
25           A      Yes, it's a strip club.

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 1           Q      Also known as a gentleman's club?
 2           A      Gentleman's club.
 3           Q      Sometimes.        And so Cardi B was in a Sam's
 4     Hofbrau, a gentleman's club, located in Los Angeles?
 5           A      Yeah, she was dancing.
 6           Q      You've been there?
 7           A      Yeah, I've been there.
 8           Q      Were you there for this event?
 9           A      Possibly.
10           Q      Okay.     Anyway, she was there dancing on
11     February 17, 2016; right?
12           A      Yes.
13           Q      Okay.     She was hosting?
14           A      Yeah.
15           Q      An event there?
16           A      Dancing.
17           Q      Okay.     It says hosted by Cardi B that's
18     why I asked.
19           A      Same thing, yeah.
20           Q      Okay.     So, at the top of that post it says
21     KSR Group, see that?
22           A      That's my Instagram that posted that.
23           Q      Okay.     This is KSR's Instagram; right?
24           A      Yeah.
25           Q      This is KSR doing marketing for Cardi B

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 1     for an event in California; correct?
 2           A      No, it's not marketing.                KSR don't have
 3     that many followers, so no, not marketing.
 4           Q      Why was KSR putting it on Instagram then?
 5           A      Probably because as Cardi is getting
 6     booked that's the only reason.
 7           Q      You were -- you and KSR were trying to
 8     generate some interest in Cardi B; correct?
 9           A      No.     Well, anything she booked I think KSR
10     posted.
11           Q      Why?
12           A      Because she was sign -- that was -- that
13     was -- that was the artist, the company's artist.
14           Q      Right.      And then the more recognition she
15     got and the more people knew about her, then there's
16     more potential upside for KSR as well; correct?
17           A      I don't think there was any potential by
18     posting her.        I disagree, no.          I don't post.           I
19     never posted.        So, that's -- we just -- they just
20     posted -- at this time I had somebody -- somebody
21     else was working my gram and she just posted all the
22     events that she booked.             That wasn't me.
23           Q      Well, you say it wasn't you.                      You mean it
24     wasn't you Shaft; right?
25           A      Right.      The person that booked this was

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 1     the person that was booking her -- that was booking
 2     her gigs.
 3           Q      Okay.     And does that person have the
 4     rights to access KSR's --
 5           A      Yes.
 6           Q      -- instagram account?
 7           A      Yes.     Yeah, yeah, definitely.
 8           Q      Who was it?
 9           A      I believe at that time -- what's the date?
10           Q      February 2016.
11           A      It might have been Ann Legal.
12           Q      Who?
13           A      Ann Legal.
14           Q      A-N-N?
15           A      Ann, A-N-N, Legal, L-E-G-A-L.                     She doesn't
16     work for me.
17           Q      She used to?
18           A      She used to.
19           Q      And she used to work for KSR?
20           A      Yeah.
21           Q      As an assistant?
22           A      Yeah, as an assistant, yeah.
23           Q      Where was she located?
24           A      Queens.
25           Q      Are you from Queens?

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 1            A      Yeah.
 2            Q      Okay.      So, in any event she, Ann Legal,
 3     you think posted this to KSR's Instagram feed?
 4            A      Ann would post something like that.
 5            Q      To promote this appearance --
 6            A      I mean, she posted because Cardi --
 7     anything that Cardi did I think she put it up.
 8            Q      And was that at your instruction?
 9            A      No, definitely not.               I don't post to
10     Instagram that much?
11            Q      But you didn't object --
12            A      No, I didn't object to it, no.
13            Q      -- to her posting?
14            A      Not much.
15            Q      Okay.      But you do sometimes?
16            A      Yeah.
17            Q      You understand how it works?
18            A      Of course.
19            Q      So take a look to the right.                     That's
20     Cardi B in the picture; right?
21            A      That is Cardi B.
22            Q      She's wearing a pink wig?
23            A      Yes.
24            Q      And taking a selfie?
25            A      Yep.

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 1           Q      And to the right of that image you see
 2     that's her hashtag, iamcardib?
 3           A      Yes.
 4           Q      #Los Angeles.
 5           A      Yes.
 6           Q      #California?
 7           A      Yes.
 8           Q      #Sam's Hofbrau?
 9           A      Yep.
10           Q      #KSR group?
11           A      Yep.
12           Q      What do those hashtags mean?
13           A      Hashtag is just ways of people following,
14     that's it.
15           Q      Right.      So if Ann Legal on behalf of KSR
16     posted this and included #Los Angeles and
17     #California, what is the             purpose of that?
18           A      I have no clue.           I don't know.
19           Q      Okay.
20           A      I mean, probably because the event was in
21     California so she hash tagged California to know
22     where the place -- where the event is at.                      That's
23     it.
24           Q      Okay.     And so, if this is being posted on
25     KSR's Instagram feed, is part of the reason to

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 1     generate some attention for Cardi B's appearance in
 2     California?
 3           A      No.
 4           Q      Not at all?
 5           A      KSR has no followers.
 6           Q      How many followers does it have?
 7           A      At that time it didn't have a lot.
 8           Q      Okay.     Well, you got 24 likes there.                 Do
 9     you see that?
10           A      That's -- that's nothing.                 24 likes is
11     nothing.     That's people who probably like me.
12     That's not a lot.
13           Q      I didn't say it was.              The reason is to get
14     the word out by Cardi B?
15           A      No, not to get the word out, not on that
16     that, no.
17           Q      What's the reason for it.
18           A      When Cardi -- if Cardi posted it, that
19     would be the reason, you know, to let people know
20     she's coming out.         So her fans support and come and
21     show love.
22           Q      Okay.
23           A      But not off KSR.            KSR is -- not at that
24     time, there's nobody following.
25           Q      Then what would be the reason to post it

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 1     for KSR?
 2           A      Once again, that's what Ann did.                   I don't
 3     know, you have to ask Ann.
 4           Q      Did you ever ask Ann why she was posting
 5     it to KSR Instagram's feed?
 6           A      Yeah, I assume because Cardi is my artist.
 7           Q      And the reason she would post it on behalf
 8     of Cardi B as KSR's artist is to get the word out
 9     for Cardi B; correct?
10                  MR. DOWLING:         Calls for speculation.
11                  THE WITNESS:         Say that one more time.
12     BY MR. CONLAN:
13           Q      The reason Ann as an employee of KSR would
14     post something about Cardi B on KSR's Instagram feed
15     is at least in part to get -- help get the word out
16     about Cardi B; right?
17                  MR. DOWLING:         Again, calls for
18     speculation.
19                  THE WITNESS:         Whatever Cardi did when Ann
20     was there she posted.            Cardi was on TV, she posted
21     it.   Cardi was anywhere, she posted it.
22     BY MR. CONLAN:
23           Q      You knew she was doing it; right?
24           A      I knew she had control of the account.
25     But why what she did, I have no control of.

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 1           Q      Did you monitor the KSR Instagram account?
 2           A      No, I don't monitor.
 3           Q      Even know you don't?
 4           A      Actually, no.          If you look on it there's
 5     probably no post on it ever because I never posted.
 6           Q      Well, somebody posted on behalf of KSR;
 7     right?
 8           A      Yeah.
 9           Q      Okay.     All right.         Did -- when Cardi B was
10     dancing at Sam's Hofbrau, did you have someone
11     arrange her travel out to Sam's out to L.A.?
12           A      If somebody did it probably would have
13     been Ann.
14           Q      Okay.     And did Ann also arrange for a
15     hotel in Los Angeles where Cardi stayed?
16           A      Ann would probably do that as well?
17           Q      Do you remember where Cardi stayed?
18           A      No, I don't remember that.
19           Q      Did you come out here for that
20     performance?
21           A      I believe I did.
22           Q      Do you remember where you stayed?
23           A      No, I don't remember where I stayed.
24           Q      Okay.     This is 16.
25           A      Yep.

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 1                     (Whereupon, Plaintiff's Exhibit 16 was
 2                      marked for identification by the court
 3                      reporter and attached hereto.)
 4     BY MR. CONLAN:
 5             Q    All right.        So, this is -- might be handy
 6     to have these.        We just looked at an Instagram from
 7     KSR for an appearance on February 17th, 2016.
 8             A    Uh-huh.
 9             Q    And then Exhibit 16 is -- looks like
10     another appearance on February 18th.                     Do you see
11     that?
12             A    Yep.
13             Q    And that's in Oakland?
14             A    Yeah.
15             Q    Okay.     And this is something called the
16     Little Red Dress Affair?
17             A    Okay, yep.
18             Q    "Yes"?
19             A    Yes.
20             Q    Is that -- and that is a picture of
21     Cardi B there?
22             A    Yes.
23             Q    And this is something that was posted to
24     KSR Group's Instagram feed; right?
25             A    Yep.

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 1                  MR. DOWLING:         Do we know what year this
 2     is?
 3                  THE WITNESS:         It says 2016, I think.
 4                  MR. CONLAN:         Yeah.      If you look down
 5     there's -- it's faded but it says February 2016.
 6                  MR. DOWLING:         Uh-huh.
 7     BY MR. CONLAN:
 8           Q      Whether -- so do you recall that Cardi
 9     traveled from Los Angeles up to Oakland for this
10     appearance?
11           A      I don't recall this because that event is
12     for Cardi's best friend.             I don't know if Cardi got
13     paid for it.
14           Q      Was it something that KSR helped
15     coordinate for travels?
16           A      Ann might have helped with travels getting
17     Cardi to Oakland.
18           Q      Okay.
19           A      But as far as the event that was for her
20     best friend.
21           Q      Okay.     Who is this woman named Ashanti?
22           A      Uh-huh.
23           Q      Okay.     And then did Ann on behalf of KSR
24     book Cardi a hotel in Oakland?
25           A      No.     Probably -- I'm not sure.

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 1     BY MR. CONLAN:
 2           Q      Did Cardi appear at this event in Oakland
 3     do you recall that for her friend Ashanti?
 4           A      Yeah, I didn't go because it was just --
 5     it was personal, so I didn't go.
 6           Q      But --
 7           A      I know she went.
 8           Q      Okay.
 9           A      But I wasn't there, so I don't know.
10           Q      Got it.      If you look at the text on this
11     thing over to the right you'll see there's early
12     bird tickets $20 link in my bio.                  Hit me for
13     bottles.     It says #iamcardib, #KSRgroup?
14           A      She probably reposted it.
15           Q      #Oakland, #California.               See that?
16           A      Like once again perfect example this is
17     not our event.        So why would Ann post it?                I have no
18     clue, but that has nothing to do with me.
19           Q      But she did post it?
20           A      Obviously she posted it.
21           Q      And she tagged KSR group on it?
22           A      Yeah, because Cardi was on it, that's why.
23           Q      Okay.     And maybe this is a little bit out
24     of order, but this is Exhibit 17.
25                     (Whereupon, Plaintiff's Exhibit 17 was

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 1                      marked for identification by the court
 2                      reporter and attached hereto.)
 3     BY MR. CONLAN:
 4           Q      And this is another instagram post from
 5     the KSR Group Instagram page.                And this says KSR
 6     Group La La Land.         Do you see that to the right?
 7           A      Uh-huh.
 8           Q      What does that mean?
 9           A      I have no idea.
10           Q      Okay.     Is this something that Ann Legal
11     posted for KSR?
12           A      Definitely.
13           Q      Okay.     And then looks like she's
14     promote -- at least Cardi B or Washpoppin is
15     promoting some model call for Washpoppin eyeshadow.
16     See that?
17           A      I see that.
18           Q      Los Angeles area only?
19           A      Right, I see that.
20           Q      And this is an event that took place at
21     Blue Dots Studios?
22           A      Yeah, I have -- I have.
23           Q      At Olympic and Olive?
24           A      Okay, yeah.
25           Q      Okay.     Is that something that KSR was

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 1     associated with, this event?
 2             A    No, I don't know what the -- I don't know
 3     what this is really about.
 4             Q    Okay.
 5             A    It has to do with makeup.
 6             Q    Did KSR have rights to any of the
 7     Washpoppin makeup collection at any time?
 8             A    No, we just made percentage of what she
 9     sold.
10             Q    Through Washpoppin.
11             A    Yeah, through Washpoppin.
12             Q    Okay.     So, were you involved in this
13     event, this model call at all?
14             A    I don't -- I don't -- I don't recall.                    I
15     don't recall this.
16             Q    You don't remember going to a model call
17     in February 2016?
18             A    I don't remember.
19             Q    This looks like it was maybe the day
20     between the Sam's Hofbrau performance?
21             A    Why she was down here.
22             Q    So it was part of that trip?
23             A    Yeah.
24             Q    Okay.
25             A    This is a whole different -- that's a

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 1     whole different world.            That has nothing to do with
 2     music.
 3           Q      Right.      This is also something that was
 4     posted by Ann Legal?
 5           A      Once again Ann posted everything.
 6           Q      Okay.     All right.         I'll give you 18.
 7                     (Whereupon, Plaintiff's Exhibit 18 was
 8                      marked for identification by the court
 9                      reporter and attached hereto.)
10     BY MR. CONLAN:
11           Q      All right.        18 is another KSR Group's
12     Instagram post.        It says "KSR Group Hollywood,"
13     three explanation points. What is this for?
14           A      No idea.
15           Q      Got 77 views.          Says light camera action,
16     #KSRgroup, #iamcardib, #watchwework, #Hollywood,
17     #California.
18           A      I have no idea.
19           Q      Looks like it's a still from a video and
20     it says Stage 30.         You don't know what this is for?
21           A      No, I don't know what this is for.
22           Q      This is also a February 2016 event or
23     whatever it was.         Do you see the date on there?
24           A      Uh-huh.
25           Q      This also would have been posted by Ann

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 1     Legal?
 2             A    If it's on that page, absolutely.
 3             Q    Okay.     All right.         So maybe I don't know
 4     if this next exhibit helps refresh your recollection
 5     or not.
 6                  This would be Exhibit 19.
 7                     (Whereupon, Plaintiff's Exhibit 19 was
 8                      marked for identification by the court
 9                      reporter and attached hereto.)
10     BY MR. CONLAN:
11             Q    This is another February 2016 post.                       This
12     one got 153 views from KSR Group's Instagram feed.
13             A    Uh-huh.
14             Q    "Another KSR group La La Land.                    Thank
15     you."
16             A    Same trip.
17             Q    Same trip?
18             A    Uh-huh.
19             Q    Some video that was created while she was
20     out here?
21             A    No, she's at Sam Hofbrau.                 I don't know
22     what this is.        I don't know what video this is.
23             Q    But this also something that Ann Legal
24     posted for KSR to the instagram feed?
25             A    Ann would have posted this, yeah.                    What

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 1     for, I have no idea.
 2           Q      This will be Exhibit 20.
 3                     (Whereupon, Plaintiff's Exhibit 20 was
 4                      marked for identification by the court
 5                      reporter and attached hereto.)
 6     BY MR. CONLAN:
 7           Q      Exhibit 20 is another KSR Group's
 8     Instagram post I assume by Ann legal?
 9           A      Definitely.
10           Q      Okay.     And this is --
11           A      It's a repost actually.
12           Q      Okay.     It's a repost, but this looks like
13     for an event on February 23rd, see that?
14           A      Yeah.     I also worked with DJ Self.                I
15     managed Self at that time as well.
16           Q      Okay.     And he's a DJ at New York?
17           A      Yes.
18           Q      He was out here in California doing an
19     appearance with Cardi B?
20           A      I guess he had an appearance with Cardi.
21           Q      And this is at the OHM in Los Angeles?
22           A      Yeah.
23           Q      Okay.     Were you here at this event?
24           A      I don't remember if I was here.                   It says
25     she was in the City.

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 1           Q      Yeah.     It says L.A. turn up, I'll be in
 2     your city.      See that?
 3           A      That's a repost, that's from Self.
 4           Q      So Cardi B posted it and then KSR reposted
 5     it?
 6           A      No, that's Self that posted.
 7           Q      Oh, DJ Self posted it?
 8           A      Yeah, DJ Self posted it.
 9           Q      Okay.     And then KSR reposted?
10           A      Ann reposted it.
11           Q      For KSR; right?
12           A      I mean, she did it for herself.
13           Q      She wasn't posting it to Ann Legal's
14     instagram page; correct?
15           A      Correct.       I mean, she just posted it.
16           Q      And one of these -- there's a couple
17     hashtags there.        One says KSR Group, another says
18     KSR group promo.         What does that mean hashtag KSR
19     Group promo?
20           A      I don't know why she put that.
21           Q      Did --
22           A      I didn't instruct her to, so I don't know.
23           Q      Did Cardi B get paid for this appearance?
24           A      If she's there, she has to get paid.
25           Q      Did DJ Self get paid for this appearance?

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 1             A    They were coming to get paid, yes.
 2             Q    And if they got paid, KSR got paid?
 3             A    If Cardi got paid, then I would have got
 4     paid.
 5             Q    So this is Cardi's trip to California,
 6     February 2016.        When did Gangsta Bitch drop, do you
 7     remember?
 8             A    I don't know.          Probably in March sometime.
 9             Q    Okay.
10             A    What year I'm not sure.
11             Q    And before it dropped was KSR trying to
12     get the word out about it?
13             A    About what?
14             Q    Gangsta Bitch.
15             A    Before it dropped?
16             Q    Yeah.
17             A    No.
18             Q    So take a look at Exhibit 21, which is
19     another post from the KSR Group Instagram feed.
20     This is another KSR Group La La Land.
21             A    Same club.
22                     (Whereupon, Plaintiff's Exhibit 21 was
23                        marked for identification by the court
24                        reporter and attached hereto.)
25

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 1     BY MR. CONLAN:
 2           Q      This is OHM nightclub L.A.; right?
 3           A      Uh-huh.
 4           Q      You see there #iamcardib, #djself,
 5     #iamshaft.      That's you; right?
 6           A      Uh-huh.
 7           Q      #ohmnightclub, #gbmv1.
 8           A      Uh-huh.
 9           Q      That's Gangsta Bitch Music volume 1;
10     correct?
11           A      That's what that would have meant, yes.
12           Q      Okay.     And #Los Angeles, #California.
13           A      Okay.
14           Q      And then further down
15     #gangstabitchmusicvolone spelled out.
16           A      Spell wrong, but yeah.
17           Q      Is this something that Ann Legal posted to
18     the KSR Group's Instagram feed --
19           A      This is something that Ann posted.
20           Q      Okay.     And this is and the reason she
21     included a hashtags for GBMV1 and hashtag gangsta
22     bitch music volume one was part of a promotion of
23     Cardi B?
24           A      I'm not sure.
25                  MR. DOWLING:         Calls for speculation.

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 1                  THE WITNESS:         Yeah, I don't know.
 2     BY MR. CONLAN:
 3           Q      As you sit here and look at it do you
 4     understand that that's -- that would be at least one
 5     of the reasons for this?
 6           A      I don't know.          No idea.
 7           Q      No idea why she would tag GBMV1?
 8           A      No idea why at that time she would tag it,
 9     no.
10           Q      Sitting here now looking at it and having
11     your understanding of Instagram, do you understand
12     it to be an attempt or an effort to promote Gangsta
13     Bitch Music Volume 1 Mix Tape?
14           A      No.
15                  MR. DOWLING:         Objection; calls for
16     speculation.
17     BY MR. CONLAN:
18           Q      You can go ahead and answer.
19           A      No.    She would have said -- if she
20     promoted Gangsta Bitch it wouldn't have been this.
21     It would have been Cardi in the club.                     She still --
22     she's here for TV Love & Hip Hop and she didn't post
23     Love & Hip Hop, so that's not the case.
24                  This party here was for Love & Hip Hop.
25           Q      What does the hashtag GBMV1 mean?                   What

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 1     does it refer to?
 2             A    Gangsta Bitch Music Volume 1 hashtag
 3     probably means Gangsta Bitch Music Volume 1.
 4             Q    Okay.
 5             A    But Cardi ain't dropped no music yet so it
 6     doesn't make no sense.
 7             Q    Take a look at Exhibit 22.
 8                     (Whereupon, Plaintiff's Exhibit 22 was
 9                      marked for identification by the court
10                      reporter and attached hereto.)
11     BY MR. CONLAN:
12             Q    This is KSR Group post March 6, 2000 --
13             A    Yeah.
14             Q    '16?
15             A    Uh-huh.
16             Q    Got a little more than 1600 views.                   See
17     that?
18             A    Uh-huh.
19             Q    This is the cover art or maybe a still of
20     some kind of video posted in Instagram; right?
21             A    Right.
22             Q    From the KSR Instagram feed?
23             A    Right.
24             Q    At that time was that still Ann Legal
25     posting this on behalf of KSR?

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 1           A      Definitely.
 2           Q      And that's the cover art for Gangsta
 3     Bitch --
 4           A      Maybe not, maybe not.               She might have been
 5     fired by then.        I'm not sure who posted that.
 6           Q      Who followed her as your assistant at KSR?
 7           A      I'm not sure.          There's a time when it was
 8     two or three different people.
 9           Q      Okay.     And so how did they know what to do
10     in terms of posting to KSR's Instagram feed?                      Were
11     they given instructions by you?
12           A      I'm not sure.          This right here is
13     definitely saying the mix tape is coming out.
14           Q      Okay.     This is --
15           A      Yeah, it's a free link.
16           Q      Right.      And this particular post is
17     promoting Gangsta Bitch Music Volume 1; correct?
18           A      Yeah, to get it for free.
19           Q      Okay.
20           A      The whole mix tape was made to go free.
21           Q      Do you know who QueenPee is?
22           A      QueenPee?
23           Q      Where is that at?
24           A      Jewelry designer.            Where are you looking
25     at?

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 1             A    I have no idea.
 2             Q    Okay.
 3             A    So she got gifted.
 4             Q    It also says makeup@makeupofaz and hair by
 5     @hairby_beau, see that?
 6             A    Yeah.
 7             Q    Are they out here?
 8             A    I have no clue.
 9             Q    Okay.     And in any event it also says
10     #iamcardib, #KSRgroup, #Los Angeles, #California?
11             A    Same time she was in California.
12             Q    And was she -- this was part of a trip
13     that KSR had helped to coordinate; right, these
14     appearances in California?
15                  MR. DOWLING:         Misstates the witness'
16     testimony.      You can go ahead and respond.
17     BY MR. CONLAN:
18             Q    February 2016 this trip when she was out
19     here working in California?
20             A    It was a booking she had in California.
21             Q    Well, she made a number of appearances out
22     here.
23             A    With DJ Self.
24             Q    DJ Self, Sams Hofbrau, the place up in
25     Oakland, all part of the same trip or did she go

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 1     back and forth?
 2           A      No, she didn't -- didn't -- I'm not sure
 3     if it was OHM and Self on the same weekend.
 4           Q      It looks like it all was around that.                    It
 5     was all at least in February 2016, you don't
 6     remember?
 7           A      It was probably all the same weekend.
 8           Q      Okay.     This will be Exhibit 24.
 9                     (Whereupon, Plaintiff's Exhibit 24 was
10                      marked for identification by the court
11                      reporter and attached hereto.)
12     BY MR. CONLAN:
13           Q      So this is March of 2016?
14           A      Uh-huh.
15           Q      And this is another post from KSR Group
16     Instagram feed; correct?
17           A      Yep.
18           Q      You're not sure who was doing this post
19     for KSR at the time?
20           A      No, I'm not.         I wasn't -- I'm not sure.                I
21     mean, around March I think Ann stopped working, so
22     I'm not sure who is doing this.
23           Q      Okay.     And this is advertising an
24     appearance by Cardi B at Spearmint Rhino in
25     Torrance?

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 1             A    It's just -- at that time it's just
 2     reposting her gig.
 3             Q    This gig when she traveled out back to
 4     California, March 2016, is this something that was
 5     planned by KSR on her behalf?
 6             A    No, this is -- this is a -- Spearmint
 7     Rhino probably requested her to come out.
 8             Q    So when Spearmint Rhino -- at this point
 9     in time KSR was representing Cardi B; right?
10             A    Uh-huh.
11             Q    So if Spearmint Rhino wanted her to come
12     out --
13             A    We had multiple artists that we sent out
14     actually.
15             Q    Okay.     KSR did?
16             A    Uh-huh.
17             Q    Okay.     And so, did Spearmint Rhino reach
18     out to KSR and say, hey, I want you to send out some
19     of these artists out for this appearance?
20             A    I'm not sure how Ann would have been
21     responsible for that.            I'm not sure.           I can't say
22     that.
23             Q    This is March of 2016 I thought you said
24     Ann had been fired at this point in time.
25             A    No, I said around that time she might have

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 1           A      Ann did all that.            But once again it could
 2     have been another artist that she sent out.                        I'm
 3     pretty sure there's other artists that she sent out
 4     to different venues.
 5           Q      In California?
 6           A      Not in California.             Anywhere.          Not in
 7     California.      There's other venues outside of
 8     California that Cardi also did.                  Not just that.
 9           Q      Not just California, but she did make
10     appearances in California?
11           A      Uh-huh.
12           Q      And KSR helped plan the trips?
13           A      Yeah.
14           Q      Okay.     So this is -- this is another post
15     from KSR Group Instagram page.
16                     (Whereupon, Plaintiff's Exhibit 25 was
17                      marked for identification by the court
18                      reporter and attached hereto.)
19     BY MR. CONLAN:
20           Q      This is an appearance on Sunday, March 13,
21     2016 at Hush Gentleman's Nightclub and that's in
22     Corona; right?
23           A      Yeah.
24           Q      Do you see that?
25           A      Uh-huh.

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 1             Q    Were you here for that?
 2             A    I don't think so.
 3             Q    Says KSR Group Sunday night, March 13th,
 4     Cardi B.     This is something that KSR Group is
 5     advertising through its Instagram feed for this
 6     appearance by Cardi B?
 7             A    She reposted, that's not advertising.
 8             Q    Why would it say KSR Group and then the
 9     date?
10             A    Because Cardi is probably on it, that's
11     the only reason.
12             Q    And if there's a benefit to Cardi B,
13     there's a benefit to KSR Group; right?
14                  MR. DOWLING:         I'm not sure what benefit
15     means, it's vague and ambiguous.
16     BY MR. CONLAN:
17             Q    Monetary benefit.
18             A    Not when she did stuff for free, no.
19             Q    Did she do this for free?
20             A    I'm not sure of this contract.                    I'm pretty
21     sure not this one.          But when she did stuff for free,
22     we post that too, like her friends.                    It's not always
23     beneficial.
24             Q    Okay.     Well, it's not always -- there's
25     not always an immediate monetary benefit is what

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 1     you're saying; right?
 2            A       It's not always a benefit.                 Period.    If
 3     she does something for a friend, there's no benefit
 4     to nobody.
 5                    MR. DOWLING:        Except the friend.
 6     BY MR. CONLAN:
 7            Q       This event when she danced at Hush in
 8     Corona, if she got paid -- if Cardi B got paid, KSR
 9     got paid; right?
10            A       If she got paid, yes.
11            Q       And at this point in time March 2016 she
12     would have gotten paid for this appearance; correct?
13            A       Not sure.      If there's a contract for it,
14     yes.       If there's not...
15            Q       Okay.
16            A       I don't remember this.
17            Q       How would you know if there was a contract
18     for this appearance?
19            A       Probably have to ask Ann and put all this
20     together.
21            Q       Well, wouldn't Ann keep a record of any
22     contract in KSR's files, electronic or paper?
23            A       Maybe by email.          But she did all the
24     contracts at that time when she was working.
25            Q       What would the contract be?                 Just an

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 1           A      Probably because Ann no longer works for
 2     us anymore.
 3           Q      Do you believe those email communications
 4     would exist for related to the appearances that
 5     Cardi made if they were doing it through KSR?
 6                  MR. DOWLING:         Assuming they exist in the
 7     first place.
 8                  THE WITNESS:         If there is, I'm not sure.
 9     That was probably two years, three years ago, two
10     years ago.
11     BY MR. CONLAN:
12           Q      Do you -- but you don't know what Denise
13     searched for; right?
14           A      Whatever Alan asked her for, that's what
15     she did.
16           Q      Okay.     But you didn't talk to Denise about
17     what she searched for?
18           A      No, she spoke directly to Alan.
19           Q      And you never had any conversations with
20     her separately about what she was looking for and
21     what she found?
22           A      No.
23                  MR. DOWLING:         And whatever I got from her
24     was produced to you.
25

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 1                  MR. CONLAN:         26.     Okay.      This is another
 2     event on March 13th.           She is pretty busy.
 3                  MR. DOWLING:         A couple of days at a time.
 4                  THE WITNESS:         Same days.
 5                     (Whereupon, Plaintiff's Exhibit 26 was
 6                      marked for identification by the court
 7                      reporter and attached hereto.)
 8     BY MR. CONLAN:
 9           Q      Same day; right?
10           A      Right.
11           Q      This is from KSR Group Instagram page?
12           A      Uh-huh.
13           Q      KSR day party alert; right?
14           A      Uh-huh.
15           Q      Los Angeles, California; correct?
16           A      Okay.
17           Q      Meet me at House Macau hosted by
18     @iamcardib and @missnikkibaby for my initial Mixtape
19     release party Gangsta Bitch Music, Volume 1.
20           A      Right.      That's the promoter called that,
21     that's now our -- that would be a promoter event.
22           Q      Okay.
23           A      So just because it says official mixtape
24     release party doesn't mean that it was.                        It's just
25     an event for people to go to.                The promoter called

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 1           A      I have no idea.
 2           Q      This is at House of Macau?
 3           A      It's a repost.
 4           Q      Okay.
 5           A      I have no idea.
 6           Q      If Cardi got paid this time in March 2016,
 7     then KSR got paid; right?
 8           A      If she got paid, yes.
 9           Q      Were you at the event at the House of
10     Macau at Los Angeles?
11           A      No, I don't remember.
12           Q      Okay.     So we've seen -- we've already seen
13     KSR Group Instagram post for multiple appearances in
14     February of 2016 and March of 2016.                    Now, I'm going
15     to hand you another Exhibit which is 27.                       And this
16     is another post from the KSR group Instagram feed.
17     And this is -- it -- and this says that #KSRgroup
18     wave don't miss it, #LosAngeles, #GBMV1.
19           A      Yeah.
20                     (Whereupon, Plaintiff's Exhibit 27 was
21                      marked for identification by the court
22                      reporter and attached hereto.)
23     BY MR. CONLAN:
24           Q      Okay.     And this is -- this is another trip
25     by Cardi out to Los Angeles in April of 2016; is

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 1             A    In the past, that passed.
 2             Q    And KSR was helping get the Cardi B brand
 3     out there through its instagram post; right?                      Trying
 4     to -- I'm not saying KSR is promoting an event, but
 5     KSR is promoting the Cardi B brand at the time;
 6     right?
 7             A    At that time, no.            KSR is promoting KSR
 8     wave, not Cardi.
 9             Q    Well, it's also promoting Gangsta Bitch
10     Music Volume 1; right?
11             A    At this point it's promoting ourselves.                       A
12     hashtag is not promotions.
13             Q    What is it?
14             A    A hashtag?
15             Q    Yeah.
16             A    It's just people -- for example, if
17     somebody wants -- somebody hashtags shade room, it's
18     because shade room has -- is -- if I hashtag shade
19     room, it doesn't mean I'm promoting shade room.                       It
20     just means that you're trying to get people to view
21     your posts.
22             Q    So if you hashtag GBMV1, you're marketing
23     GMV1?
24             A    Not totally marketing.               It's -- once again
25     this is Ann posting, so I shouldn't be talking on

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 1     her behalf.      So I don't know.
 2             Q    But Ann was working for KSR Group at the
 3     time?
 4             A    At the time she was a consultant.
 5                  MR. DOWLING:         This is April of '16?
 6                  THE WITNESS:         Huh?
 7                  MR. DOWLING:         April of '16?
 8                  THE WITNESS:         Yeah.
 9     BY MR. CONLAN:
10             Q    Okay.     Take a look at the content on the
11     right side of that picture.               It says this is from
12     somebody named karmakarezza "Hello KSR Group LLC.                            I
13     have been reaching out to you all for the past three
14     months in regards to my advertisement.                         I met Cardi
15     at the Bronner Bros Hair Show in February."
16             A    Okay.
17             Q    Do you remember where that was?
18             A    That was probably in Atlanta.                      Bronner
19     Bros is in Atlanta.
20             Q    "And she agreed to advertise my product on
21     her social media."
22             A    I don't know.
23             Q    Do you know if that was done?
24             A    I have no clue.
25             Q    Bronner Bros is in Atlanta?

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 1           A      Yeah, Bronner Bros show is in Atlanta.
 2           Q      This will be 28.
 3                     (Whereupon, Plaintiff's Exhibit 28 was
 4                        marked for identification by the court
 5                        reporter and attached hereto.)
 6     BY MR. CONLAN:
 7           Q      28 is from the iamcardib instagram page.
 8     Have you seen this before?
 9           A      No.
10           Q      Okay.     Was KSR involved in an appearance
11     that Cardi B made in Fresno in May of 2016?
12           A      What's the date?
13           Q      May of 2016.
14           A      I assume so.
15           Q      Okay.     And it's Cardi B Invasion of
16     Privacy?
17           A      Uh-huh.
18           Q      Is that an album or mix tape?
19           A      That's an album.
20           Q      And KSR owned the rights --
21           A      Hold on a second.            Cardi B Invasion of
22     Privacy out now.         That's a album, yeah.
23           Q      And KSR owned the rights to that album at
24     the time, May of 2016?
25           A      Atlantic, Inc.

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 1           Q      Did KSR own any rights related to Invasion
 2     of Privacy?
 3           A      Some rights, yes.
 4           Q      Okay.     And so this is Cardi B appearing in
 5     Fresno to promote the Invasion of Privacy album?
 6           A      I have no idea why she is going to Fresno.
 7           Q      Well, you can see in the background of the
 8     post it's something related to Invasion of privacy;
 9     right?
10           A      I have no idea.
11                  MR. DOWLING:         Do you know when Invasion of
12     Privacy was released?
13                  THE WITNESS:         It was released -- Invasion
14     of Privacy was released probably in maybe -- maybe
15     March -- maybe.        No, no, no.          I'm not sure.        I don't
16     remember.
17     BY MR. CONLAN:
18           Q      Okay.     So if Cardi B was making an
19     appearance in Fresno in May of 2016, she says
20     "Fresno Washpoppin.          I'll be in your city tomorrow."
21     So looks like that would be May 5th, 2016.                      That's a
22     trip that KSR would have planned for her; correct?
23                  MR. DOWLING:         Excuse me, this is -- this
24     doesn't make sense.          I don't mean to interrupt.
25                  THE WITNESS:         Yeah.

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 1           Q      May of 2016.
 2           A      Yeah.
 3           Q      Which means flight reservations and hotel
 4     reservations in California would have been made by
 5     somebody at the direction of KSR?
 6           A      No, not necessarily.              No.     The promoter
 7     might have did it.
 8           Q      Okay.
 9           A      The promoters book the flights and hotels.
10           Q      Okay.     And if there was a promoter
11     involved, that means Cardi B was getting paid;
12     right?
13           A      Correct.
14           Q      And if Cardi B got paid, then KSR got
15     paid; right?
16           A      Sometimes, yes.
17           Q      If Cardi B got paid for an appearance in
18     Fresno in May of 2016, then KSR got some piece of
19     that fee?
20           A      If she got paid, yes.
21           Q      Okay.     Just, I guess for reference this is
22     29.
23                     (Whereupon, Plaintiff's Exhibit 29 was
24                      marked for identification by the court
25                      reporter and attached hereto.)

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  1    BY MR. CONLAN:
  2           Q      Looks like it's the same thing?
  3           A      Same thing.
  4           Q      It back ups to Invasion of Privacy.                   I
  5    don't know why, but this is all related to this
  6    appearance in Fresno.             She says I'm out here in
  7    Fresno and the date is --
  8           A      Same thing.
  9           Q      -- May 5th, 2016.
10            A      Same thing.
11            Q      She's out there.            What was she doing in
12     Fresno?
13            A      Probably hosting.
14            Q      Hosting what?
15            A      I mean, at that time she was famous on the
16     TV, she was probably hosting a party or something.
17            Q      And if she was hosting a party May of
18     2016, she would be getting paid?
19            A      I'd assume so.
20            Q      Okay.     And then KSR would be getting paid
21     for that appearance in California as well; right?
22                   MR. DOWLING:         Calls for speculation unless
23     you recall specifically.
24                   THE WITNESS:         So...
25

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  1    BY MR. CONLAN:
  2           Q      If cardi B appeared in Fresno at an event,
  3    whether she was hosting or appearing, dancing,
  4    whatever it was and she got paid --
  5           A      If she got paid.
  6           Q      -- May of 2016, KSR got paid?
  7           A      If she got paid, KSR would get a
  8    percentage.
  9           Q      Okay.     And did you -- when you were
10     looking for documents and records to produce in this
11     case, was anything done by you or Denise or anyone
12     else on behalf of KSR to find out how much money KSR
13     made or Cardi B made for these appearances in
14     California?
15            A      No idea.
16            Q      You don't know what was done, if anything?
17            A      No, you'd -- no, you'd have to look at the
18     contract if anything.
19            Q      Did you look for any contracts for
20     appearances in Fresno?
21            A      I don't think Denise was asked for that.
22     That's --
23            Q      If Cardi B appeared at an event in Fresno,
24     would she have done so without some kind of contract
25     whether --

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  1    writing?
  2                  MR. CONLAN:         No, I said in writing or
  3    verbally.
  4                  MR. DOWLING:         Compound, but you can
  5    answer.     Can you make any sense of this?
  6                  THE WITNESS:         I'm a little lost.
  7    BY MR. CONLAN:
  8            Q     He knows what I'm talking about.
  9            A     But I could say we are in different
10     cities, depending on who the person is, we go out
11     and she goes -- does for free.                  Sometimes she does
12     it, sometimes it's contracted.                  It's both.
13     Depending on who the person is.
14             Q     Depending on who what person is?
15             A     The promoter.
16             Q     So this is May 2016 still, this relates
17     to --
18                   MR. DOWLING:         This is No. 30?
19                   MR. CONLAN:         Yeah.      This is 30.
20                     (Whereupon, Plaintiff's Exhibit 30 was
21                       marked for identification by the court
22                       reporter and attached hereto.)
23     BY MR. CONLAN:
24             Q     This is another post from KSR Group's
25     Instagram page.         KSR Group, #Fresno, #California,

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  1    #Cardi B, #KSR Group, #GBMV1, refers to Gangsta
  2    Bitch Music Volume 1; right?
  3           A      Yeah.
  4           Q      May of 2016 who was posting on behalf of
  5    KSR and KSR Instagram page?
  6           A      I'm not sure.
  7           Q      Somebody was, though; right?
  8           A      Somebody was.
  9           Q      Somebody that you hired?
10            A      Not necessarily.             Might be somebody I
11     hired, maybe a cousin or something.
12            Q      What cousins of yours have been in the
13     past posting on KSR Group's Instagram?
14            A      There's people who -- there's people who
15     just post like if I didn't have nobody, they would
16     post for me on my behalf.
17            Q      But you would have to give them
18     credentials --
19            A      Absolutely.
20            Q      -- for your KSR Group Instagram page?
21            A      Absolutely.
22            Q      Which means you're allowing them to post
23     on behalf of KSR; right?
24            A      Yeah.
25            Q      And this is KSR Group posting about an

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  1    event that Cardi B was attending in Fresno and at
  2    least there was a tag for the Gangsta Bitch Music
  3    Volume 1 mix tape; right?
  4           A      Yeah.
  5           Q      What was underestimated?
  6           A      Underestimated?
  7           Q      Yeah.
  8           A      That's a tour.
  9           Q      To promote what?
10            A      It's just a tour.
11            Q      What mix tapes or albums did she have
12     out -- did Cardi B have out that -- prior to the
13     underestimated tour?
14            A      She probably had songs out, two or three
15     songs out.
16            Q      So she had the Gangsta Bitch Mix tape
17     which was out at that time in May of 2016; right?
18            A      Yeah.
19            Q      And then maybe some -- a few more songs?
20            A      That was for the whole label, though.
21            Q      What was?        The underestimated tour?
22            A      Uh-huh.
23            Q      Who else was on the tour?
24            A      HoodCelebrityy, Josh X.
25            Q      Okay.

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  1           A      That wasn't --
  2           Q      So this is 31.
  3                    (Whereupon, Plaintiff's Exhibit 31 was
  4                      marked for identification by the court
  5                      reporter and attached hereto.)
  6    BY MR. CONLAN:
  7           Q      It looks like it's a similar screenshot
  8    from the Fresno event.
  9           A      Uh-huh.
10            Q      But this is actually -- this is your
11     instagram feed; right?             I am Shaft?
12            A      That's me.
13            Q      Okay.     It says I am Shaft, #Fresno,
14     #California, #KSR Group.              Did you post this?
15            A      Yes.    If it's on mine, I posted it.
16            Q      #GBMV1 --
17            A      Okay.
18            Q      -- gangsta bitch; right?
19            A      Yes.
20            Q      #foreva?
21            A      Foreva is just a name of a record.
22            Q      Whose record?
23            A      Cardi's.
24            Q      Okay.     And then #underestimatedtour --
25            A      Uh-huh.

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  1            Q      -- coming soon.          That was a tour that KSR
  2    Group was planning?
  3            A      Yep.     Well -- yeah.
  4            Q      Okay.     And part of the tour was Cardi B,
  5    HoodCelebrityy and Josh X?
  6            A      Uh-huh.
  7            Q      And as part of -- did they make
  8    appearances in California for the underestimated
  9    tour?
10             A      Yes, there was one stop.
11             Q      Where?
12             A      The one stop in Oakland.
13             Q      Okay.     Just the one, that was the only
14     tour spot in California?
15             A      Uh-huh.
16             Q      When was that?
17             A      I don't -- I -- probably like in June,
18     July.       I don't know.
19             Q      Who was responsible for posting to Twitter
20     for KSR Group?
21             A      I'm not even sure.            Twitter, nobody uses
22     Twitter.
23             Q      Nobody in the world or --
24             A      Nobody, I don't know.
25             Q      Nobody at KSR?

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  1            Q     Somebody for KSR; right?
  2            A     Somebody that had access to KSR's handle.
  3            Q     Okay.     You wouldn't just give anybody
  4    access to your KSR social media; right?
  5            A     No, I don't give to strangers, no.
  6            Q     I mean, somebody either you or employee or
  7    somebody that you trusted to post on your behalf?
  8            A     Somebody -- yeah, somebody that wanted to
  9    help.
10             Q     Okay.     This will be Exhibit 33.
11                     (Whereupon, Plaintiff's Exhibit 33 was
12                       marked for identification by the court
13                       reporter and attached hereto.)
14     BY MR. CONLAN:
15             Q     This is an Instagram post from KSR Group
16     and looks like there's an opportunity to download or
17     listen to Gangsta Bitch Music Volume 1; is that
18     correct?
19             A     Yeah.
20             Q     And this -- I can't tell.                 This looks like
21     maybe it's got March 2016 date?
22             A     May 29.
23             Q     May 20 --
24             A     May 29th .
25             Q     Okay.     May 29th, 2016.

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  1            A     Uh-huh.
  2            Q     Tell me how this worked, did you post
  3    this?
  4            A     I didn't post this.
  5            Q     Who posted it?
  6            A     I don't -- whoever was working for me at
  7    the time.
  8            Q     Okay.
  9            A     But this -- what this is, is -- this is
10     free downloads of Cardi B's music mix tape.
11             Q     Okay.
12             A     It's all free.
13             Q     So it says over 100,000 downloads?
14             A     Yeah.
15             Q     Who wrote that?
16             A     It's facts -- well, I don't know who wrote
17     it.     But it's factual because you can see it's
18     downloaded 100,000 times for free from datpiff.com.
19             Q     Is it datpiff or Spinrilla?
20             A     This one is datpiff.              Spinrilla is another
21     free website.
22             Q     Okay.     And were --
23             A     So basically this says 100,564 downloads
24     and 617,290 people listened to it on the website, on
25     the free website.

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  1            Q     And so your understanding is that the
  2    downloads and listens were nobody paid for any of
  3    them?
  4            A     It's all free, completely free.
  5            Q     How do you know that?
  6            A     That's what datpiff do.                It's free mix
  7    tapes.
  8            Q     Does datpiff pay KSR something?
  9            A     No, it's free.          No money exchange at all.
10             Q     How would you find out the total sales
11     over time from Gangsta Bitch Music Volume 1 on any
12     platform?
13             A     Just Empire that's it.
14             Q     So anything that was sold through iTunes
15     or Spotify or anything where purchase was made, all
16     that would flow through Empire?
17             A     That's correct.           Everything else and then
18     there's a whole lot of free websites, Spinrilla,
19     datpiff, that's not only that that gave it for free
20     as well.
21             Q     Okay.     And then apart from Gangsta Bitch
22     Music Volume 1 to find out the sales of all
23     Cardi B's music during the time that she was
24     associated with KSR Group, would that all come from
25     Empire as well?

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  1            A      No, you'd have to go to Atlantic.
  2            Q      Okay.    So up until the time that she
  3    signed with Atlantic, everything -- all records of
  4    sales would come through Empire?
  5            A      Yes.
  6            Q      And after that the records of the sales
  7    would come from Atlantic Recording Corporation?
  8            A      You got it.
  9            Q      Okay.    So we talked about the
10     underestimated tour and you mentioned an appearance
11     in Oakland.       This is Exhibit 34.
12             A      Yes.
13                      (Whereupon, Plaintiff's Exhibit 34 was
14                       marked for identification by the court
15                       reporter and attached hereto.)
16     BY MR. CONLAN:
17             Q      This is a post from KSR Group's Instagram
18     page.       This is promoting the Oakland stop at the
19     Underestimated Tour?
20             A      It's not promoting.            Once again it's just
21     letting people know where we at.                   Promoters pay for
22     those events and promoters promote those events.
23             Q      This is advertising the event?
24             A      Not advertising.           It's just letting
25     everybody know where -- where we going to be.

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  1           Q      Well, what do you call that?                      I mean, you
  2    don't call that advertising?
  3           A      Well, it's promoting the company.
  4           Q      Okay.
  5           A      Yes.
  6           Q      Right.      So it's promoting KSR Group?
  7           A      Yes.
  8           Q      It's promoting the underestimated music
  9    tour; correct?
10            A      It's -- well, promoting the company.
11            Q      KSR Group is the company that put on the
12     underestimated tour; right?
13            A      Yeah.     We put the tour together, but
14     promoters are the ones that promote the event.
15            Q      I got it.
16            A      I didn't promote that event.
17            Q      Okay.
18            A      Okay.
19            Q      But in this post you were advertising the
20     event; correct?
21            A      As I show everything else I do.                      If that's
22     called advertising.
23            Q      What do you call it marketing?
24            A      Marking.       I'd rather marketing.
25            Q      Okay.

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  1           A       Advertising -- I assume advertising, I
  2    equate it to dollars.             So I'd rather -- marketing,
  3    yes.       I prefer that.
  4           Q       You equate advertising to dollars because
  5    you got paid for it, is that what you mean?
  6           A       No.     Advertising, like when you advertise
  7    something is because you want to make money.
  8           Q       Okay.
  9           A       There's -- I'm not -- there's no -- by her
10     posting there, there's no money exchange that is
11     going to be made for my company.
12            Q       Well, you're getting the word out; right,
13     about the event?
14            A       I mean -- once again, I mean, if I was --
15     KSR Group not getting the word out.                     I think it's
16     promoting, marketing the company, that's what it's
17     doing.
18            Q       Did Cardi B perform songs from Gangsta
19     Bitch on the underestimated tour?
20            A       Yes, she did.
21            Q       How much money did KSR make from the
22     underestimated tour?
23            A       I'm not sure.         Promoters paid for her to
24     come and perform, so I'm not exactly sure what the
25     total is.

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  1           Q      KSR Group put the tour together; right?
  2           A      Yeah, we put together all the artists, all
  3    our artists; correct?
  4           Q      Right.      So what was KSR's -- what revenues
  5    were generated for KSR from the underestimated tour?
  6           A      I'm not sure.          I don't remember exactly
  7    how much promoters paid for that.                    But all the
  8    artists were included on the tour.
  9           Q      How many stops were there on the tour?
10            A      Maybe 12.
11            Q      And Cardi B was the headliner?
12            A      Cardi B is the headliner.                 She one of --
13                   MR. DOWLING:         All the stops in California?
14                   THE WITNESS:         No.
15     BY MR. CONLAN:
16            Q      Well, only Oakland --
17            A      Only Oakland.
18            Q      -- is the only stop in California?
19            A      Only Oakland, yeah.
20            Q      Did the tour -- did the artist on the
21     tour, on the underestimated tour, travel anywhere
22     else in California before or after the appearance in
23     Oakland?
24            A      No.
25            Q      Did the group of artists travel together?

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  1    around the time of that underestimated tour stop in
  2    Oakland?
  3            A     Okay.
  4            Q     And this -- this is from something called
  5    club life media and it seems to show her making an
  6    appearance at some event in secret Sundays in
  7    Hollywood.      Do you see that?
  8            A     Uh-huh.
  9            Q     So if -- if she was down there in
10     Hollywood after the show in Oakland, does that mean
11     the rest of the underestimated tour was also in
12     L.A.?
13             A     Most likely.         I mean, the whole group was
14     together during the tour, so...
15             Q     Where was Oakland in the lineup of the
16     different tour stops?
17             A     That was the first.
18             Q     Oakland was the first one?
19             A     Uh-huh, I believe.
20             Q     So, looks like the Oakland stop was
21     July 2nd, 2016 and this Exhibit 35 looks like it
22     says July 6th, 2016.            Do you see that?
23             A     July 6?
24             Q     It's hard to see.
25             A     July 6.

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  1           A      Yes.
  2           Q      Where did you stay?
  3           A      I don't remember.
  4           Q      June 2017?
  5           A      Yeah, I don't remember where I stayed at.
  6    Probably SLS.
  7           Q      Okay.     37.
  8                    (Whereupon, Plaintiff's Exhibit 37 was
  9                      marked for identification by the court
10                       reporter and attached hereto.)
11     BY MR. CONLAN:
12            Q      Was KSR managing Cardi B when she appeared
13     at the VMAs?
14            A      Yes.
15            Q      And this was at the forum in the
16     Inglewood?
17            A      Uh-huh.
18            Q      "Yes"?
19            A      Yes.
20            Q      Did you travel out here for the VMAs?
21            A      Yes, we traveled.
22            Q      Did you travel with Cardi?
23            A      I'm pretty sure I did.
24            Q      Okay.     Where did you stay?
25            A      I don't remember.

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  1           Q      Did KSR earn a fee for Cardi's appearance
  2    at the VMA preshow?
  3           A      Probably not.          I'm not sure.
  4           Q      How long -- how long were you here in
  5    August of 2017 --
  6           A      I'm not --
  7           Q      -- here in Los Angeles?
  8           A      I'm not sure because I don't travel with
  9    the group all the time, so I don't know.                        I don't
10     remember.
11            Q      Okay.     But you were definitely here in
12     August of 2017 in Los Angeles?
13            A      For the VMAs, I was definitely.
14            Q      And Cardi was definitely here for the VMAs
15     August of 2017?
16            A      Definitely.
17            Q      Any other KSR artists here for that trip
18     to California in August of 2017?
19            A      No.
20            Q      Did Cardi come back out to California in
21     September of 2017 for a show in Oakland?
22            A      I'm not sure.          Can I see?
23            Q      Let me show you.
24                     (Whereupon, Plaintiff's Exhibit 38 was
25                         marked for identification by the court

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  1    STATE OF CALIFORNIA           )

  2    COUNTY OF LOS ANGELES         )   ss.

  3

  4                I, JESSICA N. NAVARRO, C.S.R. NO. 13512, in

  5    and for the State of California, do hereby certify:

  6                That prior to being examined, the witness

  7    named in the foregoing deposition was by me duly sworn

  8    to testify to the truth, the whole truth, and nothing

  9    but the truth;

10                 That said deposition was taken down by me in

11     the shorthand at the time and place therein named and

12     thereafter reduced to typewriting under my direction,

13     and the same is a true, correct, and complete transcript

14     of said proceedings;

15                 That if the foregoing pertains to the original

16     transcript of a deposition in a Federal Case, before

17     completion of the proceedings, review of the transcript

18     [ ] was [ ] was not required.

19                 I further certify I am not interested in the

20     event of the action.

21                 Witness my hand this 27th day of January,

22     2019.

23                     <%18541,Signature%>

24                     CERTIFIED SHORTHAND REPORTER

25                     FOR THE STATE OF CALIFORNIA

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             EXHIBIT B
             Pursuant to L.R. 79-5.2.2(a)(iv)



            REDACTED - FILED UNDER
                    SEAL
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             EXHIBIT C
             Pursuant to L.R. 79-5.2.2(a)(iv)



            REDACTED - FILED UNDER
                    SEAL
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            EXHIBIT D
             Pursuant to L.R. 79-5.2.2(a)(iv)



            REDACTED - FILED UNDER
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             EXHIBIT E
             Pursuant to L.R. 79-5.2.2(a)(iv)



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             EXHIBIT F
             Pursuant to L.R. 79-5.2.2(a)(iv)



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              EXHIBIT G
                           Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 124 of 285 Page ID
                                                               #:765

Date           Event Name
Feb 18/2016    The Little Red Dress Affair Hosted By LHHNY "Cardi B"
July /3/2016   Cardi B 4th of July Weekend Live
June/21/2017   "Cardi Party" at Liaison Hollywood Featuring Cardi B Live
June/24/2017   2017 BET Experience (Radio Broadcast Center, 2017 BET Experience / Performance)
June/25/2017   2017 BET Awards (Pre‐Show ‐ Live! Red! Ready!, Red Carpet, Awards, & Post Show)
Aug/27/2017    CARDI B AT PROJECT NIGHTCLUB
Aug/27/2017    2017 MTV Video Music Awards
Aug/28/2017    Performance at Ace of Diamonds in Los Angeles
Aug/29/2017    Performance and Vive Tequila Lounge & Nightclub in Pomona
Sept/21/2017   Last Day of Summer w/ Migos, Cardi B at Oracle Arena in Oakland

Nov/18/2017    Real 92.3 Presents The Real Show
               Lineup: J. Cole, French Montana, Yo Gotti, Cardi B, Jessie Reyez, Zoey Dollaz, Cozz and Young California
Nov/19/2017    Performance at Fluxx in San Diego
Dec/16/2017    Cardi B, Migos + Special Surprise Guest Performance at Project LA in Los Angeles
                           Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 125 of 285 Page ID
                                                               #:766

Location
New Parish 579 18th Street, Oakland, CA 94612
Project LA in Los Angeles, California
LiaisonLA 1638 N. Las Palmas Ave, Los Angeles, CA 90028
Los Angeles Convention Center
Microsoft Square
Project LA in Los Angeles, California
The Forum in Inglewood, California
ACE OF DIAMONDS LOS ANGELES 652 N La Peer Dr, West Hollywood, CA
VIVE TEQUILA LOUNGE & NIGHTCLUB 184 W 3rd St, Pomona, CA 91766
Oracle Arena 7000 Coliseum Way, Oakland, CA 94621‐1945


The Forum in Inglewood, California
Fluxx 500 Fourth Ave, San Diego, CA 92101
Project LA in Los Angeles, California
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Link to event
https://www.bandsintown.com/en/e/14045762‐cardi‐b‐at‐new‐parish?came_from=251&utm_medium=web&utm_source=artist
https://www.seetickets.us/event/Cardi‐B‐4th‐of‐July‐Weekend‐Live/329975
https://www.facebook.com/events/239514849877129/




https://www.bandsintown.com/en/e/19575099‐cardi‐b‐at‐ace‐of‐diamonds‐los‐angeles?came_from=251&utm_medium=web&u
https://www.bandsintown.com/en/e/19593749‐cardi‐b‐at‐vive‐tequila‐lounge‐and‐nightclub?came_from=251&utm_medium=w
https://www.bandsintown.com/en/e/19656049‐cardi‐b‐at‐oracle‐arena?came_from=251&utm_medium=web&utm_source=artis




https://www.bandsintown.com/en/e/20505699‐cardi‐b‐at‐fluxx?came_from=251&utm_medium=web&utm_source=artist_page&
https://www.bandsintown.com/en/e/20854029‐cardi‐b‐at‐project‐club‐la?came_from=250&utm_medium=web&utm_source=ar
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Video/Photos
https://www.youtube.com/watch?v=lcQK93xwY_g
https://www.instagram.com/p/BHi644Vj0z0/

http://www.zimbio.com/photos/Cardi+B/2017+BET+Experience+Main+Stage+Performanc https://www.youtube.com/watch?v=GHaWeZByrxU
https://www.youtube.com/watch?v=04Uk2gV4WmM                                            http://www.zimbio.com/photos/Cardi+B/2017+BET+Awards+Show/m
https://www.instagram.com/p/BYWSo1hHrLo/                                               https://www.universe.com/events/cardi‐b‐live‐secretsundayz‐mtv‐vm
https://www.billboard.com/articles/events/vma/7942200/cardi‐b‐colin‐kaepernick‐vmas‐ Red Carpet ‐ https://www.youtube.com/watch?v=eXdBucRf4iw
https://pagesix.com/2017/08/29/cardi‐b‐returns‐to‐the‐stripping‐stage‐and‐more‐star‐snaps/slide‐1/
https://www.youtube.com/watch?v=j3EV1__pl9s
st_page&utm_campaign=event

                                                                                          https://real923la.iheart.com/featured/real‐show/content/2017‐11‐20
 https://real923la.iheart.com/featured/real‐show/content/2017‐11‐17‐cardi‐b‐g‐eazy‐and‐
&utm_campaign=event
rtist_page&utm_campaign=event
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 http://www.zimbio.com/photos/Cardi+B/2017+BET+Awards+Radio+Broadcast+Center+Day/p94XmTEQLbs
 http://www.zimbio.com/photos/Cardi+B/2017+BET+Awardhttps://www.gettyimages.com/detail/news‐photo/cardi‐b http://www.zimbio.com/photos/Cardi+B/
 https://www.instagram.com/p/BYZoyX8n02u/
 Performance ‐ https://www.youtube.com/watch?v=qDlzjz6UsWM




0‐watch‐j‐cole‐drop‐some‐gems‐to‐cardi‐b/
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https://www.alamy.com/stock‐photo‐cardi‐b‐at‐arrivals‐for‐2017‐bet‐awards‐part‐2‐mi
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            EXHIBIT H

              PARTIALLY REDACTED -
              UNREDACTED VERSION
                FILED UNDER SEAL
Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 131 of 285 Page ID
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  Brophy v. Almanzar, et al.							KSR0001
  USDC, CD CA, 8:17-cv-01885-CJC-JPR						CONFIDENTIAL
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  Brophy v. Almanzar, et al.							KSR0002
  USDC, CD CA, 8:17-cv-01885-CJC-JPR						CONFIDENTIAL
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  Brophy v. Almanzar, et al.							KSR0003
  USDC, CD CA, 8:17-cv-01885-CJC-JPR						CONFIDENTIAL
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  Brophy v. Almanzar, et al.							KSR0004
  USDC, CD CA, 8:17-cv-01885-CJC-JPR						CONFIDENTIAL
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  Brophy v. Almanzar, et al.							KSR0005
  USDC, CD CA, 8:17-cv-01885-CJC-JPR						CONFIDENTIAL
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REDACTED



  Brophy v. Almanzar, et al.							KSR0006
  USDC, CD CA, 8:17-cv-01885-CJC-JPR						CONFIDENTIAL
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              EXHIBIT I
             Pursuant to L.R. 79-5.2.2(a)(iv)



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                    SEAL
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              EXHIBIT J
Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 139 of 285 Page ID
                                          #:780
           Case 1:18 -cv- 03710 -VEC Document 30 -2 Filed 07/05/18 Page 1 of 11




                          EXHIBIT 2
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Dec 23 17,05:57a                             #:781                                 p.1
              Case 1:18 -cv- 03710 -VEC Document 30 -2 Filed 07/05/18 Page 2 of 11




                                                    RECORDING AGREEMENT

                   This is an Agreement ( "Agreement ") dated as of October 17, 2016, between KSR Group, LLC
           ( "we" "us "), whose address is 244 fifth Avenue, Suite íC261, New York, NY 10001, and Belcalis Almanzar
           p /k/a Cardi B ("you", "your "), whose address is: 1222 Nelson Ave, 2 Floor, Bronx, NY 10452 whereby
           you agree to render your services exclusively to us as a recording artist for the Term hereof throughout
           the universe (the 'Territory"). Until such time as a more formal agreement is entered into between the
           parties the terms and conditions of this Agreement shall govern and be a binding and enforceable
           contract between you and us. More particularly:

                    1.       Distribution Agreement. We shall have the exclusive right during the Term to solicit a
            recording agreement with third party record label (the "Distributor ") pursuant to which we shall have
           the right to (i) deliver recordings to the Distributor for distribution through all channels of trade
           throughout any and all territories throughout the world; and /or (ii) furnish your exclusive services as a
            recording artist in the music industry to the Distributor, and otherwise assign all of our rights under this
           Agreement to Distributor (the agreement with the Distributor and us is referred to herein as the
            "Distribution Agreement "). Upon our entering into a Distribution Agreement, then notwithstanding
           anything to the contrary contained in this Agreement it is of the essence that you agree to the
           following:

                   (i)     the Term hereof shall be deemed extended to be co- extensive with the term of the
           Distribution Agreement, plus an additional one hundred and twenty (120) days;

                   (ii)    you shall comply with all of the terms and conditions of this Agreement and the
           Distribution Agreement to enable us to fulfill all of our obligations under the Distribution Agreement.
           We shall provide you with a copy of the Distribution Agreement promptly following its execution and
           shall meaningfully consult with your attorney during the negotiation of the Distribution Agreement
           regarding the terms that pertain to you.

                  (iii)   you hereby agree to duly execute any letters of inducement and any other documents
           necessary or desirable to effectuate the terms of this Agreement or of the Distribution Agreement that
           may be required by the Distributor or us.

                    (iv)    in the event of any inconsistency between the definitions in this Agreement and the
           definitions contained in the Distribution Agreement (if applicable), then the definitions of the
           Distribution Agreement shall control.

                     2.        Term /Recording/Delivery Commitment The Initial Term of this Agreement shall
           commence on the date hereof and continue for a period of twelve (12) months from date you deliver to us
           a minimum of two (2) recordings that are commercially and technically acceptable. You grant us six
            irrevocable and consecutive options to extend the Term hereof and you will deliver one additional Album
           to us during each option period. The first Option Period shall be deemed to commence upon expiration of,
           the Initial Term. Each option period thereafter will be deemed to have been automatically exercised by
           us on the date (the "Option Date ") occurring one year after our release in the United States of the
            immediately preceding Album in accordance with all of the terms and conditions hereof. Each such
            option shall be deemed automatically exercised by us as of the Option Date unless we notify you in
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         writing (the "Non -Exercise Notice ") that we do not wish to exercise the option concerned. In addition,
         we may notify you in writing (the "Termination Notice ") that we wish to terminate the term of this
         agreement. Also, if you do not deliver an Album to us in accordance with all of the terms and conditions
         hereof in any two -year period, we will have the right to terminate the term of this agreement by written
         notice to you. If we send you a Non -Exercise Notice or Termination Notice or we terminate the term
         pursuant to the preceding sentence or as otherwise provided herein, the term will end on the earlier of
         the next Option Date or the date set forth in the notice concerned, and we will have no liability to you
         for any undelivered Albums. if we do not send you a Non -Exercise Notice, Termination Notice or Non -
         Delivery Notice, the term will end nine months after we release the last option Album hereunder (i.e.,
         the fifth Album under this agreement). To be clear, if we exercise all of our options you will record and
         deliver a minimum total of seven (7) Albums, or six (6) Albums and one ER; provided, that we may elect to
         reduce your minimum recording commitment to Delivery of an EP rather than an Album in any Option
         Period, in which event the applicable Option Period will continue until one (1) year after the commercial
         release of the EP in the United States. You shall Deliver to us one Album not later than four (4) months
         from the commencement of each Option Period. We shall have the right to suspend any term of this
         Agreement if you fail or refuse to comply with any material term contained herein. We shall have the right
         to extend the Initial Term for a period of up to 120 days if we have commenced good faith negotiations
         with a Distributor for the purpose of entering into a Distribution Agreement. We shall be deemed to have
         commenced good faith negotiations if we have received a written offer from a Distributor to enter into a
         Distribution Agreement during the initial Term.

                   3.      Sharing of Royalties /Advances from Distributor /Advances: If we enter into a
         Distribution Agreement we shall instruct the Distributor to account to you directly for fifty (50%) percent
         of all net advances and royalties otherwise payable to us pursuant to the Distribution Agreement. You shall
         be subject to all of the same provisions affecting us in connection with royalties accounted to us by
         Distributor

                  4.      Royalties from Our Exploitation of 'Revenue Pool Products": Provided you are not in
         breach of this Agreement, and solely with respect to Initial Recordings and Videos ( "Revenue Pool
         Products") we exploit (as opposed to the exploitation recordings by a Distributor pursuant to a
         Distribution Agreement), we shall account and pay to you the royalties as described and defined in the
         attached Exhibit "1 °, incorporated herein by this reference.

                  5.      Revenue Share: You shall account and pay to us 25% (our "Revenue Share") of all
         compensation earned byyou in Entertainment Industry resulting from any agreements substantially
         negotiated during the Term of this Agreement or within 6 months following the end of the Term, including rive
         concert performances, merchandising, endorsements, songwriting, music publishing (but music publishing
         and songwriting is excluded in the event we acquire music publishing rights from you), record producing,
         scripted and non -scripted television performances, dramatic acting, any exploitation of Artist's name or
         likeness in any capacity or for any reason ( "Gross Compensation "). In calculating our share of Gross
         Compensation, the following will be excluded: a total of up to 25% of Gross Compensation in the aggregate
         for personal management, business management, talent agent, broker, commissions or fees; and except with
         respect only to Gross Compensation from live touring revenues, a total of up to 35% of Gross Compensation in
         the aggregate for all such commissions or fees; provided, however, that our share of your Gross Compensation
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        from touring and all five music performances will be subject to a floor of not less than 10% of Gross
        Compensation from such activities. The Revenue Share is inclusive of any sums payable to the Distributor in
        connection with your activities in the Entertainment Industry.

                         (a) You shall account the Revenue Share to us as and when you are paid, or credited
        with, Gross Compensation during and after the Tenn hereof pursuant to (i) any and all contracts,
        engagements and commitments entered into or negotiated during the Term hereof (other than this
        agreement); including, any and all extensions, additions, substitutions, renewals, replacements,
        modifications and amendments of all such contracts, engagements and commitments; and, (ii) any and
        all judgments awards, settlements, payments, damages and proceeds relating to any suits, claims,
        actions, proceedings or arbitration proceedings arising out of alleged breach, non -performance or
        infringement by others of any of the contracts, engagements, commitments, other agreements or rights
        referred to in subparagraph (I), above.

                        (b) Promptly upon our entering into a Distribution Agreement, you shall appoint a
        business manager that is experienced in the entertainment industry who will be authorized and
        directed to pay the Revenue Share to us per the terms hereof as and when you receive, or are
        credited with, Gross Compensation. The Revenue Share shall be accounted and paid to us
        promptly, but not later than thirty (30) days, after you are paid or credited with Gross
        Compensation. The assignment to us of the Revenue Share is irrevocable and is intended to create
        an agency coupled with an interest. You shall submit Letters of Direction to any third party with
        whom you may expect to receive Gross Compensation in connection with any contracts and
        engagements in the Entertainment industry instructing such party to pay the Revenue Share to us
        directly on your behalf. Should you, or anyone with whom you enter into an agreement and
        engagement in the Entertainment industry fail to account and pay us the Revenue Share in
        connection with Gross Compensation, we shall, in addition to any other remedies, all of which are
        reserved, have the right to deduct the unpaid Revenue Share from any monies due to you under
        this, and any other agreement between you and us.

                         (c) The term "Entertainment Industry" shall include any and all branches of such fields
         now existing or hereafter developed, conceived, or used, including, but without limiting the generality
         of the foregoing, the following; motion pictures, free and pay television, home video, theatrical
         engagements, legitimate stage, personal appearances, concerts, public appearances in places of
         amusement and entertainment, video games and devices, record production, music and literary
         publishing and songwriting, radio, and the use and licensing of your name(s), likeness and /or talent for
         purposes of merchandising, commercial exploitation, advertising and /or trade.

                         (d) Except for money payable to you by us under this and any other agreement
         between us, the term "Gross Compensation" shall include all forms of income derived from your
         professional career in the Entertainment Industry, and paid or credited to you without deductions,
         except as may otherwise be provided herein, including, but without limiting the foregoing, the total
         compensation, salaries, earnings, fees, royalties, advances, residuals, repeats and /or re -run fees,
         bonuses and the total amount paid for any endorsements, or any entertainment package or package
         program, live or recorded, earned and received, directly by you, and your heirs, executors,
         administrators or assigns, or any other person, firm or corporation in your behalf, or in which you
         have an interest of any kind.

                           (e) The terms "engagements ", "contracts ", "agreements ", and "employment" shall
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            include any and all engagements, contracts, agreements or employment of any kind whatsoever
            entered into during the Term hereof, or substantially negotiated during the Term hereof, which relate in
            any way to your activities in the Entertainment Industry.

                              (f) We may conduct audits to verify the accuracy of your books and records in respect of
            Gross Compensation and your accountings to us. Any audit conducted by us will be at your usual place
            of business or wherever your books and records are kept, and during usual business hours. Timely
            payment of the Revenue Share is of the essence of this Agreement and we may, in addition to and not
            in limitation of, among other remedy available to us, suspend the Term of this Agreement in the event
            you fail to remit the Revenue Share to us, until such time as remittance is made.

                              (g) You will use your best efforts to ensure that all agreements in connection with your
            activities in the Entertainment Industry shall otherwise irrevocably instruct and direct all Persons with
            whom you are contracting with to account and pay the Revenue Share directly to us, at the same times
            as you are accounted to with respect to the Entertainment Activity concerned, and subject to the same
            conditions. You shall also use best efforts to cause each such third party agreement to provide that we
            will) have the same right to examine the applicable Person's books and records relating as apply to your
            audit rights. You shall sign any documents as we may reasonably request to effectuate and secure our
            rights under this paragraph.

                     6.      Music Publishing: Provided we secure a Distribution Agreement, you and your music
            publishing entity, any company or person controlled by you, shall assign to our music publishing affiliate
            an undivided fifty percent (50%) interest of your entire interest, and the sole and exclusive right to
            administer our share of your rights granted there under for the length of copyright throughout the
            world, in each and every musical composition ( "Compositions" and each a "Composition") written by
            you during the Term hereof(which shall include the Distribution Term as well), as well as any musical
            composition written by you and embodied on an Existing Master or Video, referenced in paragraph 9,
            below, and otherwise embodied on any recording rele. ;ed by us or Distributor. You and we agree to
            enter into a more formal Co- Publishing agreement incorporating the terms hereof, but until such time, if
            ever, that the parties enter into such more formal agreement, it is agreed that (1) we are the sole and
            exclusive administrator of your and our copyright interest in the Compositions throughout the world for
            the length of copyright; (2) we shall account 75% of all income and revenues from the sales and
            exploitations of the Compositions, except that your publisher share of public performance royalties shall
            be 50% thereof; and (3) we may deduct actual administration fees and other third party charges such as
            subpublisher fees from amounts due to you hereunder.

                    7.      Re- Recording Restrictions: During the Term of this Agreement you will not perform for
            the purpose of making phonograph records for any person, firm or corporation other than us. During a
            period of five years after the expiration or termination of this Agreement you will not perform any
            selection recorded hereunder for any other person, firm or corporation for the purpose of making
            phonograph records, or including such recorded performances in the soundtrack of a audio visual
            production of any kind, including, but not limited to motion pictures, television programs, and music
            videos.

                   8.     Our Rights in Masters/Videos: All of the audio and audiovisual recordings ( "Records"
            and "Recordings ") made by you pursuant to this Agreement, including the Initial Recordings, Existing
            Masters and Audiovisual Recordings referenced in paragraph 9A, (each individually a "Master," and

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         collectively the "Masters ", or "Video" and collectively "Videos" depending on the context) and ail rights
         therein (including, without limitation, all copyrights) shall be owned solely and exclusively by us
         throughout the Territory in perpetuity, as works -made -for -hire within the meaning of the U.S. Copyright
         Act, and we shall have the right to exploit same by any means now known or hereafter devised, and to
         authorize others to do any or all of the foregoing. To the extent the Masters or Videos or any part of
         them are ever deemed not to be "works -made- for -hire" owned solely by us, then you hereby
         irrevocably and exclusively grant to us all rights in the Masters and Videos (including, without limitation,
         all copyrights therein, but excluding the copyrights in the underlying musical compositions unless
         assigned per the provisions of paragraph 6, above) throughout the Universe in perpetuity, and all
         extensions, renewals and reversions thereof. in the event we exploit such Masters and Videos (as
         opposed to exploitation of Records and Masters by Distributor), we shall account and pay you royalties
         set forth in Exhibit "1 ".

                  9.         Existing Master Recordings and Audiovisual Recordings: Set forth on the attached
          Exhibit "2" is a list of Existing Masters and Videos which shall be deemed Masters and Videos hereunder
         pursuant to which we shall have all of the rights we are otherwise entitled to hereunder in connection
          with Masters and Videos, including, but not limited to, copyright ownership thereto as set forth in
          paragraph 8, above; and your warranties and representations shall also extend to the Existing Masters
         and Videos. To the extent the Existing Masters and Videos, or any part of them, are ever deemed not to
          be "works -made - for -hire" owned solely by us per the provisions of paragraph 8 above, then you hereby
         irrevocably and exclusively assign and grant to us all rights under copyright, excluding the underlying
          musical compositions, in the Existing Masters and Videos (including, without limitation, all copyrights)
         throughout the universe in perpetuity, and all extensions, renewals and reversions therein.

                  10.      Your Name and Likeness: We shall have the right in perpetuity throughout the Territory
         to use, and to permit others to use your name (both legal and professional) and approved likeness and
         approved biographical material concerning you for advertising and purposes of trade, and otherwise
         without restriction, in connection with the exploitation of phonograph records. We shall have the
         further right to refer to you by your professional name, as our exclusive recording artist, and you shall,
         in your activities in the entertainment field. During the term of this Agreement you shall not authorize
         your legal or professional name or your likeness to be used in connection with the advertising or sale of
         phonograph records other than those approved by us.

                 11.     We Will Send You Statements: Statements as to royalties payable to you hereunder shall
         be sent by us to you within ninety (90) days following the end of each semi -annual accounting period
         ending December 31st and June 30th during which we receive revenues in connection with the
         exploitation of Records, Videos, Controlled Compositions, and any of our rights hereunder, whether
         from Distributor or otherwise. We will provide you with a true copy of each royalty /sales statement
         which we receive from our Distributor with each royalty statement rendered by you. You shall be
         deemed to have consented to all royalty statements and all other accounts rendered by us to you, and
         said statements and other accounts shall be binding upon you and not subject to any objection by you
         for any reason, unless specific objection in writing, stating the basis thereof, is given by you to us within
         two (2) years from the date such statement was rendered. We shall maintain books of account records
         hereunder. You or a certified public accountant in your behalf may, at your expense, at our offices,
         examine our books pertaining to the records made hereunder during our usual business hours and upon
         reasonable notice. Our books relating to activities during any accounting period may only be examined

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     as aforesaid during the two (2) year period following the date such statement was due hereunder.
     Notwithstanding the foregoing, we shall instruct the Distributor to pay royalties and all other amounts
     due to you hereunder directly to you consistent with the terms and conditions contained herein. We
     may deduct such amount, if any, which we may be required to withhold pursuant to the U.S. Tax
     Regulations or any other applicable statute, regulations, treaty or law. Solely with respect to physical
     product only that embodies Records and Videos, we shall have the right to deduct returns and credits of
     any nature and to withhold reasonable reserves (which shall not exceed 25) from payments otherwise
     due to you. For purposes herein, the "reasonableness" of such reserves shall be determined by
     SoundScan sales figures. Each royalty reserve against anticipated returns and credits will be liquidated
     not later than the end of two years following the accounting period during which it is established. Any
     action, suit or proceeding concerning royalty statements or other accountings rendered to you by us
     shall be limited to a determination of the amount of royalties, if any, payable to you for the accountings
     periods in question, and your sole remedy shall be the recovery of those particular royalties; and, you
     specifically waive the right to seek any equitable remedies in respect of any claims regarding the
     payment or non- payment of royalties. Notwithstanding the foregoing, with respect to recordings
     released by the Distributor, the reserve and liquidation provisions of the Distribution Agreement shall
     apply to recordings released by the Distributor.

              12.    Controlled Compositions /Mechanical Royalties: A "Controlled Composition" is a musical
     composition written in whole or in part by you, owned or controlled in whole or in part by you, or any
     person or entity in which you have a direct interest. Solely with respect to Records (and Videos) we
     exploit (as opposed to Records and Videos that a Distributor may exploit), you agree to grant to us and
     our designees a gratis (meaning free) and irrevocable license, under copyright, to reproduce each
     Controlled Composition on Records and Videos and to distribute them in the United States of America
     and Canada. It is the essence of this Agreement that you acknowledge we are not obligated to account
     and pay so- called music publishing royalties with respect to Records and Videos solely exploited by us
     under this Agreement. At such time as we enter into a Distribution Agreement, you shall be accounted
     to with respect to Controlled Compositions according to the terms and conditions set forth in the
     Distribution Agreement and distributed or exploited by Distributor.

              13.      Warranties /Representations /Indemnities: You warrant and represent that you are
     under no disability, restriction or prohibition, whether contractual or otherwise, with respect to your
     right to execute this Agreement and perform its terms and conditions, and with respect to your right to
     record any and all selections hereunder. You specifically warrant and represent that no selections
     recorded or to be recorded by you hereunder are subject to any re- recording restrictions under any
     previous agreements to which you may be a party. You agree to and do hereby indemnify, save and hold
     us harmless from any and alt toss and damage (including attorneys' fees) arising out of or connected
     with any claim by a third party which is inconsistent with any term of this Agreement, and you agree to
     reimburse us, on demand, for any payment made by us at any time after the date hereof with respect to
     any liability or claim to which the foregoing indemnity applies is reduced to a final judgment or mutually
     approved settlement. Pending the determination of any such claim, we may withhold payment of
     royalties or other monies hereunder.

             14.     Miscellaneous: This Agreement shall be governed by the laws of the state of
     California and only the courts (state and federal) located in Los Angeles County will have jurisdiction of
     any controversies regarding, or arising under, this Agreement. Any action or other proceeding which
     involves such a controversy will be brought only in those courts located in Los Angeles County and not

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           elsewhere, Any action, suit or proceeding concerning statements or other accountings rendered to you
           by us shall be limited to a determination of the amount of royalties payable to you for the accountings
           periods in question, and your sole and exclusive remedy shall be the recovery of those particular
           royalties; and you specifically waive any other legal and equitable remedies. If any part of this
           Agreement, or its application as it applies to a particular party, shall be adjudged by a court of
           competent jurisdiction to be invalid, such judgment shall not affect the remainder of this Agreement,
           which shall continue in full force and effect, or the application of this Agreement to the remaining
           parties. In entering into this Agreement, and in providing services pursuant hereto, you have the status
           of an independent contractor. Nothing herein contained contemplates or constitutes you as our
           employee. This Agreement is not intended to become effective until and unless it is executed by all of
           the proposed parties to it. Notwithstanding anything to the contrary contained herein, the Term of this
           Agreement is not intended to exceed that number of years that a personal services contract maybe
           enforced. If it is determined that the Term of this Agreement does exceed that which is permissible
           under the law for the enforcement of personal services contracts, then the Term of this Agreement shall
            be deemed automatically amended so that it terminates on the next to the last day that a personal
           services agreement is enforceable under the laws of the state or jurisdiction that this Agreement is
           subject to. You expressly acknowledge that your services hereunder are of a special, unique and
           intellectual character which gives them peculiar value, and that in the event of a breach by you of any
           term, condition or covenant hereof we will be caused irreparable injury. You expressly agree that in the
           event you shall breach any provision of this Agreement we shall be entitled to injunctive relief and other
           equitable relief and /or damages, as we may deem appropriate, in addition to any other rights or
           remedies available to us, and we shall have the right to recoup any damages from any sums which may
           thereafter become due and payable to you hereunder, including sums otherwise payable to you after
           the expiration or termination of this Agreement.

                    If the foregoing correctly reflects your understanding and agreement wfth us, please so indicate
            by signing below.

                                                          Accepted and Agreed:

                                                          Belcalis Almanzar




                                                            f)-(7   2-   or,
                                                          SSN:



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                                                                Exhibit "1"
                                                                Royalties

                     1.     With respect to Records, Videos, and the sale and exploitation of any products and
           services hereunder for which we are paid or credited with a payment (the "Revenue Pool Products "), we
           will account to you on the terms and conditions as set forth below.

                     2.        Revenue Pool: The "Revenue Pool" will consist of all gross revenues actually received by
           us, or credited to us against advances previously received by us that are specifically attributable to the
           Revenue Pool Products, and which were not counted as gross revenues hereunder, in the United States
           that are directly attributable to sales and other exploitations of the Revenue Pool Products throughout
           the Territory (e.g. foreign sales, direct licensing, and record clubs), less all actual returns, credits,
           rebates, adjustments, and reasonable reserves against possible returns, which reserves shall take into
           account sales data available from Soundscan.

                   3.      We will account to you for fifty (50 %) percent of our Adjusted Gross Income in
           connection with the sale and exploitation of Revenue Pool Products. "Adjusted Gross Income" shall
           mean the following: the gross amount of the Revenue Pool less our out of pocket costs incurred or paid
           by us in connection with recording Records, marketing, promotion, advertising and sale Oat! applicable
           Revenue Pool Products such as: (1) all Marketing and Promotion Costs; (2) all Artwork Costs; (3)
           Audiovisual Production Costs; (4) all Manufacturing and Distribution costs; (6) Royalties to third parties
           rendering services on Revenue Pool Products; (7) advances and other amounts paid to you and on your
           behalf; (8) Judgments and settlement amounts in respect of third party claires having to do with
           Revenue Pool Products as well as reasonable outside legal fees and costs in defending such claims; and,
           (9) all applicable taxes and union payments actually charged to us in connection with Revenue Pool
           Products.

                               (a)       "Marketing and Promotion Costs" are all third -party out -of- pocket marketing,
           promotion, advertising, and publicity costs paid or incurred by us in connection with the Revenue Pool
           Products.

                               (b)       "Artwork Costs" are all artwork costs paid or incurred by us in connection with
           the creation, design, and preparation of artwork for covers, sleeves, or other packaging elements in
           connection with Revenue Pool Products.

                           (c)     "Audiovisual Production Costs" are all costs paid or incurred by us associated
           with the any production of Videos.

                               (d)       "Manufacturing and Distribution Costs" are: (1) all costs paid or incurred by us
           associated with the manufacture of all configurations of Revenue Pool Products (e.g., the costs of
           compact discs, vinyl discs, and tapes, packaging components, shrink wrapping and stickering and all
           other service costs in connection therewith) and the delivery of Records and their components to us or
           our distributor (e.g., freight charges and service charges actually charged to us by our distributor); (2)

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           the Distribution Fee (defined below); and (3) all other charges assessed to us by our distributor in
           connection with the manufacture and distribution of Revenue Pool Records (e.g., returns handling
           charges, freight charges, scraping fees, warehouse fees or charges, "loose unite charges, service charges
           for the distribution of promotional records and refurbishing charges).

                              (e)       The "Distribution Fee" means the distribution fee payable by us to its
           distributor(s) plus a label services fee of five (5%) percent.

                            (f)      "Royalties" means all royalties and monies due to Persons ( "Persons" means
           and refers to the persons and entities to whom a royalty is owed with respect to Revenue Pool
           Products), including, but not limited to, artists (which includes you), producers, mixers, and side artists
           renderingservíces in connection with the recording of the Records, as well as publishers of compositions
           embodied on Records. We may deduct reasonable reserves and liquidate such reserves within three
           accounting periods from the date each reserve is first established. You must provide us with true and
           correct copies of all relevant agreements with third parties regarding your royalty obligations prior to
           the release of a Record hereunder; and accurate information regarding the status of each applicable
           royalty account.




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                                                        Exhibit "2"
                                      [Existing Masters and Videos - Paragraph 9Aj


           Artist/Title(s)




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                              4   ksrgroup WEDNESDAY February 17thlt LAIT;
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                                  dma,1a77 What time will you be there?
                                  lladyxpatiences Respond to my email
#Wfg  HoSTFD 8Y:                  ®ksrgroup
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WEDNESDAY FEBRUARY 11, 2016
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                                                                                     Declaration of Lawrence J. Conlon
                                                                                                              Exhibit 9
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Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 154 of 285 Page ID
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                               i\:   ®                       ksrgroup THURSDAY February l8thl!!
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                                                             LITTLE RED DRESS AFFAIR O
                                                             4 I Hosted by my MittyBitty Mlhhny
                                                  TI1UR
                                                             @iamcardib & yours truly!!    4 Music by
                                                             @djmindmohon @djhholla @djasap3x *nit
                                                             This will be a sold out event
                                                             Early bird tickets S20 link In my bio hit me for
                                                             bottlesll friamcardib Mksrgroup
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                                                                                                    ksrgroup LaLa Land!!! Repost @iamcardib
                                                                                                    with @repostapp.

                     VVASHPOPPIN                                                                    Its official! Tomorrow I'm choosing the
                      //E YE DOW               S   H   A                                           faces for Washpoppin Cosmetics By Cardi
                                                                                                    B! Please pay attention to the details listed
                                                                                                    below IF you are interested in participating
                                          by
                                                                                                    in tomorrows model call! Please be aware
                                                                                                    that if you are chosen you will shoot in the
                                                                                                    SAME location tomorrow evening!
                                                                                                    Date: February 17, 2016
                                                                                                    Time: Model Call will begin promptly at
                                                                                                   4:00 PM
                                    LOS ANGELE                                                      Where: Blue Dot Studios
                                                                                                                                                                                                                                 #:797




                                                                                                    409 W. Olympic Avenue (The Reserve
                                     AREA ONLY!                                                     Building i Olympic & Olive) Suite 405
                                                                                                    Attire: All black (NO EXCEPTIONS)


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                                                       s61k11.                                     jimmiechoo_, brianababes, cptxo. #elicia_kid,
                                                                                                    ksrgroup,           shubandzz,
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ABOUT US   SUPPORT   SLOG   PRESS   API    JOBS    PRIVACY   TERMS   DIRECTORY   PROFILES   HASHTAGS      LANGUAGE




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        ksrgroup HOLLYWOODIII Report
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        *watchwework *hollywood *california
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        e *girlfromthebronxcardib *vixatedpr
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                                                        Declaration of Lawrence J. Conlon
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AND INFINIT ENTERTAINMENT

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                                                                     there *Gomm #ksrgroup eksrgrouppromo
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                                                                     dat_nlgga_rich Can I get a date for cardi
                      ALONG WITH                                     kinggreat357 @gbcwondwrde
                      NEW YORKS el D.J.
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TUESDAY, FEBRUARY 231D
                                             CARDI B
                                              @IAMCARBIB



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                                                                                                ksrgroup Lela Land!I! @iamcardib @djself
                                                                                                @iamshaft @ohmnightclubla #iamcardib
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ABOUT US   SUPPORT   BLOG   PRESS   API   JOBS   PRIVACY   TERMS   DIRECTORY   PROFILES    HASHTAGS     LANGUAGE




                                                                                                                                            Declaration of Lawrence J. Conlan
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GANGSTA BITCH MUSIC VOL.1

                                   ksrgroup Today at 9pmi!... Officially
                                   dropping @iamcardib's mixtape...Hit Cardi
                                   at 718.215.0159 for the FREE link... Gangsta
                                   Bitch Music Vol 1.... #ganstabitchmusicvoll
                                   #GBMV1

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                                                                                                          Exhibit 18

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ksrgroup Lala Landltl #Repost @iamcardib
with @repostapp.

Out here working in California t;  .


Everybody from out here recommended me
to get my jewelry from @QueenPee and 1 love
it!I Loving my @QueenPee jewelry

Make -up @makeupofaz and hair by
Zhairby_beau 4 = =1 #iamcardib aksrgroup
elosangeles *california kwatchwewark
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e .girlfromthebronxcardib
slayedbylaylay Can't wad for her to come
back to Orlando soi can do her makeup
primoantisocial




V Q
515 views




                                              Declaration of Lawrence J. Conlon
                                                                     Exhibit 11
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              EXHIBIT L
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            VIII's                                                                             ksrgroup Torrance II California!!! Saturday
                                                                                               March EpthiBI t s @CARDI_BBCs
                                                                                               This Saturday come and party with this
                                                                                               @VH1 Love and Hip Hop Superstar!!
                                                                                               @TheSpearmintRhino is bringing The one
                                                                                               and only Qcardi_bb @iamcardib to
                                                                                               @SpearmintRhino_Torrance to show you
                                                                                               how to Boss Out e:m
                                                                                               Contact: t. 310 -532 -2427 for VIP Bottles
                                                                                               and Info 4-"+::1+-..,-+.7
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                                                                                               #laweekly
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            HOSTS                                                                              #vhf
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                            12TH                                                               #gbmvl
           MARCH                                                                               #ksrgroup

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ABOUT US   SUPPORT   BLOG   PRESS   API   JOBS   PRIVACY   TERMS   DIRECTORY   PROFILES   HASHTAGS     LANGUAGE




                                                                                                                                                 Declaration of Lawrence J. Conlan
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SUNDAY. MARCH 13TH
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                     ksrgroup Sunday Night March CE3thIll Ci
                     Cardi 8 t9

                     @iamcardib will be ehushsaturdays
                     +` +:HUSH Gentlemen Nght Club+: 1650
                     E.6th St.
                     Corona.Ca t : 909- 631 -0548

                     #iamcardlb frginfromthebronxcardib
                     #hushsaturdays +corona #califomia
                     #thesignaturebooking # ksrgroup
                     darlenedeluna +
                     lam theweavadlva Do @iamcardib need a
                                                                                                                                               #:805




                     Hairstylist for her visit to V.A @ ksrgroup
                     powaman Blessed Beautiful Wonderful
                     Great Loving Sexy Hot Empress Queen fiV

                     cen1318 Lol gotta lue her ehrrrrrr..in my
                     Cardi B voice.   e

                     50 likes




                                                                      Declaration of Lawrence J. Conlan
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                                                                        SUNDAYIB MARCH Eljthill
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                                                                        Hosted by @iamardib & @missnikkiìbaby
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                                                                        My OFFICIAL MIXTAPE RELEASE PARTY
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                                                                        Doors 1pm -7pm
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                                                                                               ksrgroup That #ksrgroup wave... Don't miss
                                                                                               it #LosAngeles #GBMV1
                                                                                               karmakarezza Hello KSR Group LLC, I have
                                                                                               been reaching out to you all for the past 3
                                                                                               MONTHS in regards to my advertisement. I
                                                                                               met Cardi at the Bronner Bros Hair Show in
                                                                                               February and she agreed to advertise my
                                                                                               product (26/28/28 Brazilian Body Wave
                                                                                               Hair Extensions) on her social media. The
                                                                                               product was delivered March 4th and I
                                                                                               didn't receive a response until April 18th
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ABOUT US   SUPPORT   BLOG   PRESS   API   JOBS   PRIVACY   TERMS   DIRECTORY   PROFILES   HASHTAGS     LANGUAGE                  r 2018IN TAC,RAM




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                                        St., NYC) Is Here! I Ages 18 &Up... fb.me /7XIOPMJAg




                                        KSRGROUP @ksrgroupllc . 27 Jun 2016                                         v
                                        June 30th. This week I fb.me /3TF9hP88b




                                        KSRGROUP @ksrgroupllc 8 May 2016
                                        Digits by @swiftondemand .,. Click on my BIO link now!!!!
                                        instagram.com/p/8NzlrkvY0r/



                                        KSRGROUP C,ksrgroupllc 6 May 2016                                           v
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                                        instagram.com/p/8FF18tEPYxE/




                                        KSRGROUP @ ksrgroupllc 6 May 2016                                           v
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                                        Ohio *rhay7 #ksrgroup #chiefkeef #iamcardib rnstagram.com/p/BFCt6ECvY8V/



                                        KSRGROUP@ksrgroupllc 4 May 2016
                               1110 Always looking for new routes._. instagram.com /p /BE_7oQlxloU/

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                                        KSRGROUP @ksrgroupllc 3 May 2016
                                        That wave... #ksrgroup rnstagram.com /p /8E- KcQORInn/



                                                                                                                             Declaration of Lawrence J. Conlan
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                                                                100,564" () 617,2911   @ ksrgroup
                                                                                       biggahcass Who do I contact for a feature?
 r l',..wrtc      lur.                              10=                  V rxw w       biggahcass I'm a female artist as well ,
                                                                                       check out my bio link I
                                                                                       lady_peches Need to get a proper contact
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                                                                                       to book Cardi b at an e event here in ochi
                                                                                       rios Jamaica please @ ksrgroup link me
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                                                                                       iamressep What's the feature price
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 t    Intro Skit (featuring the Breakfast Club)
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 2    Trust Issues

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Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 169 of 285 Page ID
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              EXHIBIT M
                                                      iamcardib                                                      Follow



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                                              tomorrow!!! instagram.com /p /BFArin7zHVb/
                                              8:33 PM -4 May 2016


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Q Joined October 20



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                                               iamcardib                                                     Follow
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                                       I'm out here in Fresno !!!!                                                                               CARDI B
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                                                                                               ksrgroup #fresno california #cardib
                                                                                               *ksrgroup dgbmvl #foreva
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ABOUT US   SUPPORT   BLOG   PRESS   API   JOBS   PRIVACY   TERMS   DIRECTORY   PROFILES   HASHTAGS   LANGUAGE




                                                                                                                                            Declaration of Lawrence J. Conlan
                                                                                                                                                                   Exhibit 31
                                                                                          Q LXHIBIT
                                                                                                                                                                                Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 172 of 285 Page ID




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                                                                                               thatguymarz Ayeeee was just on the plane
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                                                                                               tsimoneguy @iamshaft I haven't spoken to
                                                                                               you in a while. My friend told me she met
                                                                                               you at the show with Doug E Fresh and you
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                                                                                               makeup artist
                                                                                               mictheplug @iamshaft dm ur # i got new
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ABOUT US   SUPPORT   BLDG   PRESS   API   JOBS   PRIVACY   TERMS   DIRECTORY   PROFILES   HASHTAGS   LANGUAGE




                                                                                A         XHIBIT 31                                        Declaration of Lawrence J. Conlan
                                                                                                                                                                  Exhibit 32

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                                                                                                   ksrgroup Tonight! #KSRGROUP
                                                                                                   UNDERESTIMATED TOUR....We turning up in
                                              5TINuT                                               OAKLAND, CA.... GET YOUR TIX NOW!!! For
                                                                                                   Tix, More Cities, Dates & Music CLICK LINK IN
                                                                                                   BIO #AIIAGES @joshexantus @cashflowharem
           If,                                                                                     @swiftondemand @justvlad @iamcardib
                                                                                                   royalphotobooth @georginaesthetics
                                                                                                   bellxofficial_ Hey angel brinks cardis stylist
                                                                                                   sent my info to her team, about doing her
                                                                                                   makeup for tonight's show in oakland + I
                                                                                                   haven't got any response from email or
                                                                                                   anything my number is (209) 471 -5781 my
                                                                                                   work @banks.beauty
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                                                                                                   bee.pg3 @iamcardib @swiftondemand
                                                                                                   cheddar.trapacante follow back on my ig fam
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                                       1vr rrkrorMANC n .
                      SWIriONCEMAXO JOSH A   CARDI B   CASHrICWHAHLEM Jll:iViAC
                       ALL    AGES     DOORS OPEN AT 7PM                                           95 views
                             VIP & GENERAL ADMISSION TIX AT
                      W W W.CARDISCONCERTOAKLAND. EVENIBRITE.COM


                      420 14TH STREET         1 /Auto¢    OAKLAND, CA




ABOUT US    SUPPORT    BLOG    PRESS   API   JOBS   PRIVACY   TERMS    DIRECTORY   PROFILES   HASHTAGS   LANGUAGE




                                                                                                                                                    Declaration of Lawrence J. Conlan
                                                                                                                                                                            Exhibit 36
                                                                                                                                                                                         Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 174 of 285 Page ID
                                                                           X




secretsundayzla Shoutout To @iamcardib
For Corning Through & Partying With Us.
Sunday Was A Movie. Right Back At It This
Sunday. Dub Show Afterparty With Special
Guests. Don't Miss Out Last Year Afterparty
With Rae Sremmurd Was A Movie. Who
Will We Have This Year?
Don't Wait. Book Your Tables Now Before
They Sell Out
TEXT (323) 989 -2582 For Table Reservations

.661 tVAR AVE HOLLYWOOD. CA 90028
 eSecretSundayz *SeaetSundayzLA
 *SecretSundays *SecretSociety ((Sunday
                                                                                                                       #:816




 *SundayFunday *Hollywood *Roxbury
 eProjectLA *BNG *LosAngeles
 3GrandOpening *TheRetum *June
 eAllSummerló
*Secret5undayzMovesBackToH011ywood
*DubShow *Afterpany




                                              Declaration of Lawrence J. Conlon
                                                                      Exhibit 40
                                                                                   Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 175 of 285 Page ID




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        iamcardib O         Follow



iamcardib OAKLAND THANK YOU 5000
MUCH .Ok you know when I host events
they always packed out and that always
makes me happy for my concert to pack
out it just give me this other type of feeling
like I'm s000 happy that I want to cry.Im
happy that people came out to support my
music .I mean I see it when I'm doing
numbers but it feels amazing when you see
it face to face .Thanks for supporting the
                        .
other artists as well Outfit made by
@coreyboi @rsilverio809dr
#UnderestimatedTour
                                                                                                                            #:817




#gangstabitchmusicvoll #GBMV1
Loia r.c,e
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niko.cartier @shaetaexo tagged the
wrong name.
xoam_b Cardi looks so good ,.,lipliwoo
areenaanaoanaldn Omo that outfit looks

C Q
125,261 views



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                                                 Declaration of Lawrence   J. Conlan
                                                                           Exhibit 38
                                                                                        Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 176 of 285 Page ID
Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 177 of 285 Page ID




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                                                                                                                                                                                                   iamcardib Tonight! My 1st TOUR stop....WE
                                                                                       flERE5T1MRTE                                                                                                TURNING UP IN OAKLAND, CA.... GET
                                                                                                                                                                                                   YOUR TIX NOW!!! For Tix. More Cities,
                                                                                                                                                                                                   Dates & Music a CUCK UNK IN BIO
                                                                                                                                                                                                   =AIIAGES *ksrgroup #cardib
                                                                                                                                                                                                   UnderestimatedTour
                                                                                                                                                                                                   antrayshop Keep up the good work
                                                                                                                                                                                                   bjandmel3 This weak asf!
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                                                                                                                                                                                                   misspure xo @misslitzy
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                                                                                                                                                                                                                                                                                 Exhibit 37
Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 178 of 285 Page ID
                                    #:819




              EXHIBIT N
                                                                                                                           X


                                         iamcardib O Follow
CARDI B                         ®
PERFORMING AT                   lamcardib c!ccSundayl!l
THE VMA PRE :SHOW               the_virgile lol I bet @djse!f is dying inside
                                for not taking you seriously earlier on!!!
                                saloo_kanaaka *since #you #teusse
                                drizzylita Bitch omg
                                drizzylita Im excited to watch now
                                breighwalis Yasssssssss
                                black.arrow.arts You would be the only
                                damn reason I'd watch that shit for real
                                simply_nira Preshow ?I That's some
                                bullshit should be on the actual show. #ijs
                                                                                                                                                                       #:820




                                theemar!o Pre show? You deserve main
                                stage! #3 on Billboard Hot 1001 C'mon
                                MTV!
                                rainbowdashing27 a= 71'-J(ä
                                dat_cool cat dat cooks Get on yo shyt
                                shorty & stay on it #HighBridgeAllDay

                                V Q
                                233,268 likes




SUNDAY AUG 27 17 /Gc            Log in to like or comptent.
                       FoFopn




                                                                                               Declaration of Lawrence J. Conlan
                                                                                                                      Exhibit 43




                                                                                XHIBIT
                                                                                                                                   Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 179 of 285 Page ID




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                                                                1       WVJW1]FPn   nn..,.._
                                    iamcardib O Follow


                           iamcardib OAKLAND been down for me
                           since the beginning thoo since I was 21111!
                           THANK YOU 11Shit I'm looking st this video
                           like SON I can't believe I'm doing shit like
                           this f) its a beautiful thang V
                           Load inuit :,rt,,ntritt
                           floofk You've got that Urkel voice I laughed
                            when you said you gotta keep it gangster
                                                                                                                                                  #:821




                           with that voice :
                           jamila_hill Yes girl we love u out here bay
                           area love 111119V,1111411,2ML00,00100a




                           2,985,439 views
Ll 411   melanindiamonds
                           Loginirr un !.!!




                                                                          Declaration of Lawrence J. Conlan
                                                                                                 Exhibit 44
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Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 181 of 285 Page ID
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              EXHIBIT O
Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 182 of 285 Page ID




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                                                                                  Booking: MCoffice@caa.com
                                                                                                                                            elamcardib Girl         u are    beautiful and talented!   !!!
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                                                                                                                                                                                                                                                                                               2       EXHIBIT
        Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 183 of 285 Page ID
                                            #:824
  4/23/2018                                                                         Cardi B Chart History   I   Billboard



                                                                              billboard

        CARDI B


                     Chart History
        Top R &B/Hip-Hop Albums                                                                                                                                  11,




                               1                      2



       Invasion Of Privacy                                                                                                                                        >



       *    ,'eakeca    Ot:        ;,r; 4.21.2018



      Gangsta Bitch Music, Vol.1
      Cards
      Peaked at #30 on 4.9.2016




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                                                                                            PLAINTIFF'S                     Declaration of Lawrence J. Conlan
https: //www.billboard.com /music/cardi -b /chart -history/r -b- hip- hop -albums             EXHIBIT
                                                                                                                                                    Exhibit 68         1/1
                                                                                    2
                                                                                                                                                  Page 1 of 3
      Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 184 of 285 Page ID
                                          #:825
4/23/2018                                                                  Cardi   B   Chart History Billboard



                                                                         billboard




      Top Rap Albums




     Invasion Of Privacy
     Cardi    B

     *      Peaked at #1 on 4.21.2018



     Gangsta Bitch Music, Vol.1                                                                                                                       >

     pardi    B

     Peaked at #20 on 4.9.2016




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                                                                                                                 Declaration of Lawrence J. Conlan
https: //www.billboard.com/ music/cardi -b /chart- history/rap -albums
                                                                                                                                         Exhibit 68       1/1
                                                                                                                                       Page 2 of 3
      Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 185 of 285 Page ID
                                          #:826
4/23/2018                                                                    Cardi B Chart History    l   Billboard



                                                                        billboard


                  Chart History
       Independent Albums




     GBMV2                                                                                                                                                 >

     Cardi    B

     Peaked at #25 on           2.11.2017




     Gangsta Bitch Music, Vail
     Cardi B
     Peaked at #27 on 4.2.2016




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                                                                                                                      Declaration of Lawrence J. Conlan
https: //www.biliboard.com/music /cardi -b /chart- history/independent- albums                                                                Exhibit 68       1/1
                                                                                                                                            Page 3 of 3
Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 186 of 285 Page ID
                                    #:827




              EXHIBIT P
                                                                                  4/18/2018
Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 187 of 285 Page ID




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                                                                                  4/18/2018                  Gangsta Bitch Music Vol   1   YouTube   YouTuue
Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 188 of 285 Page ID




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                                    #:830




              EXHIBIT Q
          !
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                                    #:831


    I    Alan G. Dowling
    2    (California Bar No. 70686)
    .t
         Email: agdowlin g@aol.com
    J    ALAN G. DOWLTNG'
    4    A PROFESSIONAL CORPORATION
         1043 Pacific Street, No. 1
    5    Santa Monica, California 90405
    6    Telephone: (8 1 8) 679-6395
         Fax: (424) 238-5366
    7    Attorney þr Defendants
    8

    9                         UNITED STATES DISTRICT COURT
   10                        CENTRAL DISTRICT OF CALIFORNIA
   11

   t2    KEVIN MICHAEL BROPHY, JR.,        AN       Case No. 8: 17-cv-01885-CJC(JPRx)
         individual,
   13                                               Hon. Cormac J. Carney,
   I4                        Plaintiffs,            U.S. District Judge
                         V
   15                                               RESPONSE AND OBJECTIONS
   T6    BELCALIS ALMANZAR aKa CARDI B,             TO O'PLAINTIFFIS FIRST SET OF
         an individual; KSR GROUP, LLC, a New       SPECIAL INTERROGATORIES
   I7    York limited liability company;            (JURTSDTCTTONAL) TO
   18    \MASHPOPPIN, [NC., a New York              DEFENDANT BELCALIS
         corporation; and DOES 1-20, inclusive,     ALMANZARAKA CARDI B"
   T9

   20                        Defendants

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   22

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                                                           RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                       TO DEF BELCALIS ALMANZAR
Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 191 of 285 Page ID
                                    #:832


     1
         PROPOUNDING         PARTY:        Plaintiff
    2    RESPONDING          PARTY:        Defendant BELCALIS         ALMAZARAKA CARDI
    -t
    J                                      B
    4    SET   NO.:                        One
    5           Defendant BELCALIS      ALMAZARAKA CARDI B (hereinafter o'Defendant"
    6    or oothe Responding Party") hereby responds and objects as follows to
    7
         "PLAINTIFF'S FIRST SET OF SPECIAL INTERROGATORIES
    8    (JURISDICTIONAL)            TO DEFENDANT BELCALIS ALMAZAR AKA
    9    CARDI B,"     dated }lday 1 4, 20 18 (the "Requests"), pursuant to Rule 33 of the Federal
   l0    Rules of Civil Procedure.
   11
                INTRODUCTION, GENERAL OBJECTIONS AND DEFINITIONS
   t2           1.     The Responding Party has not fully completed an investigation             ofall the
   13
         facts relating to the subject matter of this action, has not completed all discovery in
   t4    this action, ffid has not completed preparation   fortrial. All ofthe    responses contained
   15
         herein are based only upon such information and documents as are presently available
   t6    to and specifically known to the RespondingParty, and disclose only those facts and
   17
         documents that presently are known to and/or are available to the Responding Party.
   18
         It is anticipated that further independent investigation, discovery, legal        research and
   t9    analysis may supply additional information, which may lead to substantial changes to
   20
         the responses set forth below. The following responses are consequently given
   2I    without prejudice to the right of the Responding Party to introduce evidence of any
   22
         subsequently discovered facts or documents which the Responding Party may later
   23
         obtain or recall.
   24
                2.     The depositions of certain of the witnesses who would orpossibly could
   25
         testi$r as to the subject matter ofthe within action have not yet been commenced. The
   26
         documents that would or could form the basis        of cert¿in responses are still in the
   27
         process of being discovered, and all such relevant documents may not have yet been
   28
         produced or examined. Further, the significance of documents in the possession ofthe
                                                                      RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                                  TO DEF BELCALIS ALMANZAR
Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 192 of 285 Page ID
                                    #:833


     1
         RespondingParty, or presently in the possession of the Propounding Party or a third
    2    party but not yet obtained from or produced by them, may only become apparent upon
    3    reviewing them in the context of other documents which have not yet been obtained
    4    or in the context of testimony not yet taken shedding light upon their relevance.
    5          3.        The Responding Party accordingly reserves the right to change any and
    6    all responses set forth or referred to below, as additional facts may be ascertained,
    7    documents discovered, analyses made, legal research completed,             Md    contentions
    8    made. The responses contained below are made in a good faith effort to supply as
    9    much factual information and as much specification of the basis for legal contentions
   10    as is presently known and available to the Responding Party, but should in no way be
   11
         construed to the prejudice ofthe Responding Parfy in relation to further investigation
   t2    andlor discovery.
   13
               4.        This Responding Party's responses are made without waiver of, but,
   t4    on the contrary, are intended to preserve and do preserve the following rights:
   15
                         a.    the right to raise all questions of authenticity, foundation,
   T6
         relevancy, materiality, privilege and admissibility as evidence for any purpose,             of
   T7
         the documents or information identified in response to the Requests, which may
   18
         arise in subsequent proceedings in, or trialof this or any other action;
   t9                    b.    the right to object on any ground to the introduction                into
   20
         evidence   of   or the use of, said documents or information identified in response to
   2I    the Requests in any subsequent proceedings in, or trial   ol this or any other action;
   22
                         c.    the right to object on any ground at any time to other document
   23
         requests or discovery involving said documents or information; and
   24
                         d.    the right to amend or supplement this response in the event that
   25
         any document or information is in the RespondingParty's possession, custody or
   26
         control, but is unintentionally omitted from production at this time. Additionally,
   27
         inadvertent identification or production of privileged documents or information by
   28
         the Responding Party is not intended as, and shall not be construed as, a waiver             of
                                                     J
                                                                    RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                                TO DEF BECLALIS ALMANZAR
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     1
         any applicable privilege.
    2           5.         This Responding Party further specifically objects to each and every
    3    discovery Request in the set to which this response is directed, to the extent that it:
    4                      a.    seeks documents   or information which are protected by the
    5    attorney-client privilege or the attorney work product doctrine, or by the right of
    6    privacy provided for in the Constitution of the United States of America or the
    7    Constitution of the State of California, or which are by law otherwise privileged or
    I    exempt from discovery;
    9                  b.        attempts or purports to seek the disclosure of documents or
   10    information to which the Propounding Party has access or which the Propounding
   11
         Party has already obtained;
   12
                       c.        attempts or purports to impose obligations on the Responding
   13
         Party exceeding those imposed or authorized by the Federal Rules                      of Civil
   t4    Procedure andlor the applicable Local Rules of the Court before which this action
   15
         is pendingi or
   16
                       d.        seeks information,   or documents generated, outside the time
   t7    period relevant to this action or otherwise beyond the scope of the issues relevant
   18
         to this action.
   t9           6.     The Responding Party further objects to any ofthe requests which seek
   20
         discovery of communications with or the opinions of any expert(s) not designated
   2t    to testifu on behalf of the Responding Party in this action, as such information is
   22
         not discoverable under applicable law.
   23
                7.     For purposes of the following responses to requests for production              of
   24
         documents and things, and the objections stated therein, the following terms shall
   25
         have the following meanings:
   26
                       a.        "Inadequate Description" shall signiff an objection on the
   27
                grounds that the Request does not describe the information, documents or
   28
                matter sought with reasonable particularity (including, without limitation,
                                                       4
                                                                     RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                                 TO DEF BECLALIS ALMANZAR
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     1
              where the Request taken as a whole, or the terminology used therein, is
    2         vague, ambiguous or unintelligible);
    a
    J                b.       "Irrelevant" shall signi$r an objection on the grounds that the
    4         Request seeks matter that is irrelevant to the subject matter of this action and
    5         not calculated to lead to the discovery of admissible evidence;
    6                b.       "Overbroad" shall signifu an objection on the grounds that the
    7         Request is overbroad in scope, either with reference to time period, subject
    8         mattet, or otherwise;
    9                c.       "Attorney-Client-Privilege" shall signifu an objection on the
   10         grounds that the Request calls for production        of    documents and things
   11         protected by the attorney-client-privilege;
   I2                d.       "Attorney \ilork Product" shall signi$r an objection on the
   13         grounds that the Request calls for production        of    documents and things
   t4         protected by the attomey work product doctrine;
   15
                     e.       "ConfÏdential Information" shall signifu an objection on the
   T6
              grounds that the Request improperly calls for discovery              of   confidential
   T7
              business, financial, proprietary , trade secret or other sensitive information or
   18
              documents, the disclosure     of which would be harmful to the Responding
   t9         Par,ty or a   third party;
   20                f.       "Tax Returns" shall signifu an objection on the grounds that
   2T
              the Request improperly seeks production of documents and things protected
   22
              by the privilege against disclosure of the contents of income tax returns;
   23
                     g.       "Privacy" shall signiff an objection on the grounds that            the
   24
              Request calls for production      of documents and things protected            against
   25
              discovery by the Responding Party's right of privacy.
   26
                     h.       "Unduly Burdensome" shall signiff an objection on                   the
   27
              grounds that the Request improperly seeks production                of    information,
   28
              documents and things,        or other matter, already been produced to              the
                                                   5
                                                                  RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                              TO DEF BECLALIS ALMANZAR
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     1         Propounding     P*ty, or    already   in its possession, or           available     to   the
    2          Propounding Party as readily and at approximately equal expense and trouble
    -t
    J          as   it would be for the Responding Party to obtain and provide them, andlor
    4          in the context of this case, and in light of any other objections interposed,
    5          would impose an undue burden, expense or effort upon the Responding Pafry,
    6          or unduly intrude into matters protected by the right of privacy;
    7                  j.    "fmpermissible Discovery" shall signiff an objection on the
    8          grounds that the Request exceeds the scope of permissible discovery                       as
    9          defined by the applicable provisions         of the California Code of Civil
   10          Procedure; and
   11
                       k.    "CC 3294-3295" shall signify an objection on the grounds that
   t2          the Request improperly seeks production of documents and things
   13                                                                                                    of
               concerning the RespondingParty's financial condition, in contravention
   T4          (and without the Propounding Party having met the prerequisites of)
   15
               California Civil Code Sections 3294-3295.
   T6
               8.      The Responding Party objects to the so-called "Definitions                       and
   l7    Instructions" set forth in the Requests, as follows:
   18
                       a.    Definition and Instruction No. 1 is vague and ambiguous (in
   T9
               particular,   but without limitation, in regard to what is meant                           by
   20                                                                          of CARDI B, and the
               "representatives and other persons acting on behalf
   2T
               sources within the control of CARDI       B");   compound and confusing, in that it
   22
               requires the Responding Party to answer each interrogatory with reference to
   23
               at least seven categories of persons, and innumerable unnamed individuals;
   24
               and, in so far as it is compound, this set of discovery requests taken as a whole
   25
               far exceeds the statutory limit of 25 interrogatories, including                   subparts
   26
               [F.R.Civ.P. 33(a)(1)]. The Responding Party will take this definition             as   merely
   27
               meaning and referring to Defendant BELCALIS ALMANZARaka CARDI B.
   28
                       b.    Definition and Instruction No. 2 is vague and ambiguous (in
                                                     6
                                                                      RESP   & OBJECS TO PLTFS I ST INTERROGS
                                                                                  TO DEF BECLALIS ALMANZAR
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     1        particular, but without limitation, in regard to what is meant by "its affiliates,
    2         partners, parents, subsidiaries, past or present agents, past or present attorneys,
    -t
    J         servants, employees, representatives, or others acting at their direction");
    4         compound and confusing, in that         it requires the Responding Party to answer
    5         each interrogatory with reference to at least thirteen categories of persons, and
    6         innumerable unnamed individuals; and, in so far as it is compound, this set of
    7         discovery requests taken as a whole far exceeds the statutory limit of 25
    8         interrogatories, including subparts [F.R.Civ.P. 33(a)(1)]. The Responding
    9         Par,ty   will take this definition   as merely meaning and referring to Defendant
   10         KSR GROUP, LLC.
   11
                       c.     Definition and Instruction No. 3 is vague and ambiguous (in
   t2         particular, but without limitation, in regard to what is meant by "its affiliates,
   13         partners, parents, subsidiaries, past or present agents, past or present attorneys,
   t4         servants, employees, representatives, or others acting at their direction");
   15
              compound and confusing, in that         it requires the Responding Party to answer
   T6
              each interrogatory with reference to at least thirteen categories of persons, and
   T7
              innumerable unnamed individuals; and, in so far as it is compound, this set of
   18
              discovery requests taken as a whole far exceeds the statutory limit of 25
   t9         interrogatories, including subparts [F.R.Civ.P. 33(a)(1)]. The Responding
   20
              Party will take this definition as merely meaning and referring to Defendant
   2T
              WASI{POPPIN, INC.
   22
                       d.     Definition and Instruction No. 6 is confusing and open-ended.
   23
                       e.     Definition and Instruction No. 7 is vague and ambiguous (in
   24
              particular, but without limitation, in regard to what is meant by'oconcerning,
   25
              regarding, referring, describing, pertaining to, evidencing, constituting, or in
   26
              any way related to, directly           or indirectly" and how those terms               are
   27
              distinguishable, one from the others); compound and confusing,                  in that it
   28
              requires the Responding Party to speculate as to the meaning and distinctions
                                                       7
                                                                    RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                                TO DEF BECLALIS ALMANZAR
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     1
              between the numerous separate terms included in the definition and to attempt
    2         to apply them in responding to each of the separate interrogatories; and, in so
    a
    J         far as it is compound, this set of discovery requests taken as a whole far
    4         exceeds the statutory   limit of 25 interrogatories, including subparts [F.R.Civ.P.
    5         33(aX1)1. The Responding Party will interpret this definition as consisting
    6         merely of the defined term, "related."
    7                 f.    Definition and Instruction No. 8 is compound and confusing, in
    8         that   it requires the Responding Party to speculate as to the meaning and
    9         distinctions between the numerous separate terms included in the definition
   10         and to attempt to apply them in responding to each of the separate discovery
   11
              requests; and, in so far as it is compound, this set of discovery requests taken
   t2         as a whole far exceeds the statutory limit of 25 interrogatories, including
   13
              subparts [F.R.Civ.P. 33(a)(1)]. The Responding ParW                will   interpret this
   t4         definition as consisting merely           of the terms o'writing," "recordiî9,"
   15
              "photograph," "original" and "dupIicate," as defined in Federal Rules of
   T6
              Evidence 1001.
   l7                 g.    Definition and Instruction No. 9 is vague and ambiguous (in
   18
              particular, but without limitation, in its reference, with regard to "ESI," to
   t9         numerous technological and computer software-related terms                        of   àrt,
   20
              abbreviations and extensions, which presumes a degree of knowledge and
   2t         expertise that neither the Defendants, nor their counsel, claim to possess);
   22
              compound and confusing, in that it requires the Responding Party to speculate
   23
              as to the meaning and distinctions between the numerous separate terms
   24
              included in the definitions of "DOCUMENTS" and "ESI" and to attempt to
   25
              apply them in responding to each of the separate discovery requests; and, in so
   26
              far as it is compound, this set of discovery requests taken as a whole far
   27
              exceeds the statutory   limit of 25 interrogatories, including subparts [F.R.Civ.P.
   28
              33(a)(1)1. The Responding Party will interpret this definition as consisting
                                                    8
                                                                   RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                               TO DEF BECLALIS ALMANZAR
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     1
              merely      to "writings," "recordings,"       "photographs," "originals"              and
    2         "duplicates," as defined in Federal Rules of Evidence 1001, that have been
    a
    J         stored electronically, e.g., in, on or by means of a computer.
    4                h.     Definition and Instruction No. 10 is vague and ambiguous (in
    5         particular, but without limitation, in its reference to numerous technological
    6         and computer software-related terms       of   art, abbreviations and extensions,
    7         which presumes a degree of knowledge and expertise that neither the
    8         Defendants, nor their counsel, claim to possess); also vague and ambiguous in
    9         its reference to things "within the possession, custody or control of sources and
   10         persons with YOUR control, including any of YOUR attorneys, agents and
   11
              other sources within YOUR control;" violative of attorney client privilege and
   t2         work product doctrines in seeking information in gross from Defendants'
   13
              attorneys; compound and confusing, in that      it requires the Responding Party
   t4         to speculate as to the meaning and distinctions between the numerous separate
   15
              terms included in the definition and to attemptto apply them in responding to
   t6         each of the separate discovery requests; and, in so far as            it is compound, this
   t7         set of discovery requests taken as a whole far exceeds the statutory           limit of   25
   18
              interrogatories, including subparts [F.R.Civ.P.   33 (a)(   1   )].
   T9
                     i.     Definition and Instruction No. 11 is vague and ambiguous (in
   20
              particular, but without limitation, in its reference to "upgrades, enhancements,
   2T
              new versions, patches and fixes" of software); also, not an interrogatory-
   22
              related definition, but a document request, on its face, inappropriate to a set           of
   23
              interrogatories.
   24               j.      Definition and Instruction No. 13 is unduly burdensome                   and
   25
              oppressive, in that this would require Defendants to "IDENTIFY"                  in detail
   26
              each document they are simultaneously being requested to produce by means
   27
              of Plaintiffls simultaneous requests for production of documents and things for
   28
              inspection and copying.       All   documents, not privileged               or otherwise
                                                   9
                                                                  RESP    & OBJECS TO PLTFS IST INTERROGS
                                                                               TO DEF BECLALIS ALMANZAR
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     1
              objectionable, which are produced           will   speak for themselves and be the best
    2         evidence         of their own contents. Further, this defìnition               constitutes an
    J         additional, "universal" interrogalory, implicit in each other numbered one to
    4         which       it   pertains,   in calling for "any information      necessary     to allow that
    5         DOCUMENT to be the subject of a request for production," i.e. what amounts
    6         to   a   privilege log, even for documents that are produced. Thus, this definition,
    7         in its effect, causes this set of discovery requests taken as a whole far exceeds
    8         the statutory limit of 25 interrogatories, including subparts [F.R.Civ.P.
    9         33(aX 1)1.
   10                    k.       Definition and Instruction No. 18 is vague and ambiguous (in
   11         particular, but without limitation,         it its failure to sufficiently define what
   T2
              constitutes "any . . . internet website, and any other online account held by
   t3         YOU"); compound and confusing, in its reference to several different forms of
   t4         social media, both by name and by vague reference, thus requiring speculation;
   15
              and, in so far as it is compound, this set of discovery requests taken as a whole
   t6         far exceeds the statutory limit of 25 interrogatories, including                         subparts
   t7
              [F.R.Civ.P. 33(a)(1)]. As worded, this definition could be read to call for
   18
              production of information concerning untold numbers and kinds of internet-
   T9
              accessible files and records concerning each Defendant's banking, financial,
   20
              health, commercial (e.g. retail transactions), governmental (e.g., taxes) and
   2T
              personal information, inter alia.
   22
                         l.      Definition and Instruction No. 19 is unduly burdensome                    and
   23
              harassing in purporting to call for a "privilege" log in the vent information is
   24                                                                                             "
              not produced on grounds of privilege, work product "or otherwise.                        There is
   25
              no legal requirement for the Responding Party to provide a "privilege 1og," in
   26
              response to an interrogatory, identifying           with specificity all information not
   27
              produced, regardless of the basis. Further, in so far as it purports to call for
   28
              the Responding Party to state "the specific grounds upon which YOUR
                                                         10
                                                                         RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                                     TO DEF BECLALIS   AIMANZAR
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     I          objection and privilege claim is based (including each and every factand legal
    2           basis upon which YOU claim such privilege,"             it    constitutes an additional
    J           interrogatory implicit in each of the separate numbered interrogatories; and its
    4           reference, then,   to the "date of     creation, author, [and] recipients" of
    5           information, as distinguished from documents, is vague, ambiguous, confusing
    6           and unintelligible. Thus, this definition,     in its effect,         causes      this set of
    7           discovery requests taken as a whole far exceeds the statutory limit of 25
    8           interrogatories, including subparts [F.R.Civ.P.   33   (a)( 1 )].
    9           9.    Wherever objections have been interposed, the Responding Party offers
   10    to meet and confer with the Propounding Putty, through counsel, at any mutually
   11
         convenient time and in accordance with the Local Rules, to attempt in good faith to
   T2
         resolve informally any differences or disputes that may exist between the parties with
   T3
         respect to the Request and the stated objections. Assuming that such "meet and
   t4    confer" takes place in a timely fashion, ffid to the extent it is successful in resolving
   15
         differences, the Responding Party stands ready, willing and able                     to   complete
   t6    discovery as to the relevant and non-privileged information called for by the Request
   t7    (subject, of course, to any stipulations entered into as a result of the "meet and
   18
         confer").
   t9           10.   The Responding Party has already delivered to the Propounding Party
   20    for consideration a proposed form of Stipulated Protective Order embodying typical
   21
         terms of such an order that have been previously approved by federal district courts
   22
         in this District. In so far as the Responding Party has interposed objections based on
   23
         grounds of o'Confidential Information" or "Privacy," the Responding Party will
   24
         produce non-privileged documents or information, as the case may be, responsive to
   25
         these discovery Requests, upon the issuance and filing by the Court of such a
   26
         protective order either pursuant to the Parties' stipulation to the terms of such an
   27
         order or upon motion of any of the Parties.
   28
                11.   No response or objection (or production of documents or things in
                                                                       RESP   & OBJECS TO PLTFS 1ST INTERROGS
                                                                                    TO DEF BECLALIS ALMANZAR
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     I   response to) any of the Requests is intended as, nor shall it be construed as, a waiver
    2    by the Responding Party of all or any part of any objection to that or any other
    a
    J    Request, or an admission of the existence of any fact set forth in or assumed by that
    4    or any other Request, or an admission that such response or objection constitutes
    5    admissible evidence.
    6           12.    Delineation of the Court's Limitation on Jurisdictional Issues Subiect to
    7    This Discovery. By its "Order Denying V/ithout Prejudice Defendants' Motion to
    8    Dismiss and Granting Plaintiffls Request for Jurisdictional Discovery," dated May
    9    3,2018, Docket No. 36, the Court ordered the parties to engage in, and complete,
   10    within 90 days from the date ofthe Order, good faith "limited jurisdictional discovery
   11
         on the issues ídentified in this   order." The Order specified only the following         issues
   t2    for purposes of such discovery: with regard to personal jurisdiction, "to clarify (1)
   13
         the extent of Defendants' business and presence in California, and (2)                       any
   14
         relationship between the Gangsta Bitch cover and Califomia" (Order, p. 10); and,
   15
         with regard to subject matter jurisdiction, "to clariff whether the amount-in-
   T6
         controversy has been met" (Order, p. 11).
   t7           13.   Each of the foregoing items set forth in this Paragraph is incorporated
   18
         by reference in the responses to specific Requests, below.
   T9
                       RESPONSES TO SPECIFIC INTERROGATORIES
   20
         INTERROGATORY NO.            1:
   21
               State all dates on which YOU were physically present in the State of California
   22
         from January 1,2016 through the present.
   23
         RESPONSE TO INTERROGATORY NO.                     1:
   24
               The Responding Party objects to this Request, in whole or in part, on the
   25
         following grounds: Inadequate Description; and incorporates the Introduction,
   26
         General Objections, and [Responding Party's] Definitions, stated hereinabove
   27
         (specifically including, without limitation, the Responding Party's Objections to the
   28
         Propounding Party's Definitions and Instructions, with regard to any of the Defined
                                                      12
                                                                    RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                                TO DEF BECLALIS ALMANZAR
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     I   terms utilized in the Requests).
    2           Subject to the foregoing objection(s), but without waiving the same in whole
    J    or in part, the Responding Party responds to this Request as follows:
    4           The Responding Party offers to meet and confer with the Propounding Party,
    5    through counsel, at any mutually convenient time and in accordance with the Local
    6    Rules, to attempt in good faith to resolve informally any differences or disputes that
    7    may exist between the parties with respect to this Request and the aforestated
    8    objections, and insofar as counsel are able        to resolve the parties'        differences
    9    successfully by stipulation, the Responding Party shall be ready, willing and able to
   10    provide such other relevant and non-privileged information as is called for by the
   11
         Request, as interpreted or modified per the parties' stipulation after meeting and
   t2    conferring, within a reasonable time thereafter.
   13
         INTERROGATORY NO. 2:
   t4          List all of YOUR SOCIAL MEDIA ACCOUNTS.
   15
                                               Y
   T6
               The Responding Party objects to this Request, in whole or in part, on the
   l7    following grounds: Inadequate Description; Overbroad; Confidential Information;
   18
         Privacy; Unduly Burdensome; Impermissible Discovery; and incolporates the
   t9    Introduction, General Objections, and fResponding Party's] Definitions, stated
   20
         hereinabove (specifically including, without limitation, the Responding Party's
   2l    Objections to the Propounding Party's Definitions and Instructions, with regard to
   22
         any of the Defined terms utilized in the Requests).
   23
               By way of explanation, for purposes of this jurisdictional discovery, must be
   24
         limited to those accounts targeted at California or its residents, and having to do with
   25
         GBMVl.
   26
               Subject to the foregoing objection(s), but without waiving the same in whole
   27
         or in part, the RespondingParfy responds to this Request as follows:
   28
               The Responding Party offers to meet and confer with the Propounding Putty,
                                                    13
                                                                   RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                               TO DEF BECLALIS ALMANZAR
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     1
         through counsel, at any mutually convenient time and in accordance with the Local
    2    Rules, to attempt in good faith to resolve informally any differences or disputes that
    3    may exist between the parties with respect to this Request and the aforestated
    4    objections, and insofar as counsel are able        to resolve the parties' differences
    5    successfully by stipulation, the Responding Party shall be ready, willing and able to
    6    provide such other relevant and non-privileged information as is called for by the
    7    Request, as interpreted or modified per the parties' stipulation after meeting and
    I    conferring, within a reasonable time thereafter.
    9    INTERROGATORY NO. 3:
   10          Describe in detail all marketing strategies YOU used to market GBMV1 to
   11
         California residents.
   12    RESPONSE TO INTERROGATORY NO. 3:
   13
               The Responding Party objects to this Request, in whole or in part, on the
   T4
         following grounds: Inadequate Description; Overbroad; Confidential Information;
   15
         Unduly Burdensome; Impermissible Discovery; and incorporates the Introduction,
   T6
         General Objections, and [Responding Party's] Definitions, stated hereinabove
   t7    (specifically including, without limitation, the Responding Party's Objections to the
   18
         Propounding Party's Definitions and Instructions, with regard to any of the Defined
   I9    terms utilized in the Requests).
   20
               By way of explanation, this Request is vague and ambiguous in its reference
   2t    to "marketing strategies."
   22
               Subject to the foregoing objection(s), but without waiving the same in whole
   23
         or in part, the Responding Party responds to this Request as follows:
   24
               The Responding Par,ty offers to meet and confer with the Propounding Party,
   25
         through counsel, at any mutually convenient time and in accordance with the Local
   26
         Rules, to attempt in good faith to resolve informally arry differences or disputes that
   27
         may exist between the parties with respect to this Request and the aforestated
   28
         objections, and insofar as counsel are able        to resolve the parties'        differences
                                                   t4
                                                                   RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                               TO DEF BECLALIS ALMANZAR
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     I   successfully by stipulation, the Responding Party shall be ready, willing and able to
    2    provide such other relevant and non-privileged information as is called for by the
    3    Request, as interpreted or modified per the parties' stipulation after meeting and
    4    conferring, within a reasonable time thereafter.
    5    INTERROGATORY NO. 4:
    6          Describe in detail all marketing strategies YOU used to market GBMVI.
    7    RESPONSE TO INTERROGATORY NO. 4:
    8          The Responding Party objects to this Request, in whole or in part, on the
    9    following grounds: Inadequate Description; Overbroad; Confidential Information;
   10    Unduly Burdensome; Impermissible Discovery; and incorporates the Introduction,
   11
         General Objections, and fResponding Party's] Definitions, stated hereinabove
   T2    (specifically including, without limitation, the Responding Party's Objections to the
   13
         Propounding Party's Definitions and Instructions, with regard to any of the Defined
   t4    terms utilized in the Requests).
   15
               By way of explanation, this Request is vague and ambiguous in its reference
   t6    to "marketing strategies;" its definition and description of "marketing strategies" is
   T7
         irrelevant to jurisdictional issues; and, for purposes of this jurisdictional discovery,
   18
         must be limited to such matters as targeted Califomia or its residents.
   T9
               Subject to the foregoing objection(s), but without waiving the same in whole
   20
         or in part, the Responding Party responds to this Request as follows:
   2l          The Responding Par,W offers to meet and confer with the Propounding Purty,
   22
         through counsel, at arry mutually convenient time and in accordance with the Local
   23
         Rules, to attempt in good faith to resolve informally arry differences or disputes that
   24
         may exist between the parties with respect to this Request and the aforestated
   25
         objections, and insofar as counsel are able        to resolve the parties' differences
   26
         successfully by stipulation, the Responding Party shall be ready, willing and able to
   27
         provide such other relevant and non-privileged information as is called for by the
   28
         Request, as interpreted or modified per the parties' stipulation after meeting and
                                                    15
                                                                   RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                               TO DEF BECLALIS ALMANZAR
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     1
         conferring, within a reasonable time thereafter.
    2    INTERROGATORY NO. 5:
    .,
    J          IDENTIFY all posts on YOUR SOCIAL MEDIA ACCOUNTS in which YOU
    4    promoted an event that CARDI B would be attending in California.
    5    RESPONSE TO INTERROGATORY NO. 5:
    6          The Responding Party objects to this Request, in whole or in part, on the
    7    following grounds: Inadequate Description; Overbroad; Tax Returns; Privacy;
    8    Unduly Burdensome; Impermissible Discovery; and incorporates the Introduction,
    9    General Objections, and [Responding Party's] Definitions, stated hereinabove
   10    (specifically including, without limitation, the Responding Party's Objections to the
   11
         Propounding Party's Definitions and Instructions, with regard to any of the Defined
   T2
         terms utilized in the Requests).
   13          By way of explanation, this Request is vague and ambiguous in its reference
   t4    to "posts" and "promoted."
   15
               Subject to the foregoing objection(s), but without waiving the same in whole
   I6    or in part, the Responding Party responds to this Request as follows:
   t7          The Responding Party offers to meet and confer with the Propounding Party,
   18
         through counsel, at any mutually convenient time and in accordance with the Local
   t9    Rules, to attempt in good faith to resolve informally aîy differences or disputes that
   20
         may exist between the parties with respect to this Request and the aforestated
   2l    objections, and insofar as counsel are able        to resolve the parties'        differences
   22
         successfully by stipulation, the Responding Party shall be ready, willing and able to
   23
         provide such other relevant and non-privileged information as is called for by the
   24
         Request, as interpreted or modified per the parties' stipulation after meeting and
   25
         conferring, within a reasonable time thereafter.
   26
         INTERROGATORY NO. 6:
   27
               IDENTIFY all geographical places in the State of California YOU visited from
   28
         January I,2016 through the present, and the dates YOU visited them.
                                                   l6
                                                                   RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                               TO DEF BECLALIS ALMANZAR
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     1   RESPONSE TO INTERROGATORY NO. 6:
    2          The Responding Party objects to this Request, in whole or in part, on the
    .t
    J    following grounds: Inadequate Description; Overbroad; Privacy; Unduly
    4    Burdensome; Impermissible Discovery; and incorporates the Introduction, General
    5    Objections, and fResponding Party's] Definitions, stated hereinabove (specifically
    6    including, without limitation, the Responding Parfy's Objections to the Propounding
    7    Party's Definitions and Instructions, with regard to any of the Defined terms utilized
    8    in the Requests).
    9          By way of explanation, this Request is, as to dates, duplicative of              Special
   10    Interrogatory No. 1. By "geographical places" the Responding Party will interpret
   11
         this as calling for naming of cities. Additionally, as to KSR and Washpoppin, this is
   T2
         vague and ambiguous as to whom is referred to as "YOUR agent or employee."
   1,3
               Subject to the foregoing objection(s), but without waiving the same in whole
   t4    or in part,the Responding Party responds to this Request as follows:
   15
               The Responding Party offers to meet and confer with the Propounding Pat'ry,
   I6    through counsel, at any mutually convenient time and in accordance with the Local
   T7
         Rules, to attempt in good faith to resolve informally arry differences or disputes that
   18
         may exist between the parties with respect to this Request and the aforestated
   t9    objections, and insofar as counsel are able        to resolve the parties'        differences
   20    successfully by stipulation, the Responding Party shall be ready, willing and able to
   2l    provide such other relevant and non-privileged information as is called for by the
   22    Request, as interpreted or modified per the parties' stipulation after meeting and
   23
         conferring, within a reasonable time thereafter.
   24
         INTERROGATORY NO. 7:
   25
               IDENTIFY the total amount of sales of GBMVI.
   26
         RESPONSE     TO INTERROGATORY NO. 7:
   27
               The Responding Par,ty objects to this Request, in whole or in part, on the
   28
         following grounds: Inadequate Description; Overbroad; Confidential Information;
                                                   t7
                                                                   RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                               TO DEF BECLALIS ALMANZAR
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     1
         Unduly Burdensome; Impermissible Discovery; CC 3294-3295; and incorporates the
    2    Introduction, General Objections, and fResponding Party's] Definitions, stated
    J    hereinabove (specifically including, without limitation, the Responding Party's
    4    Objections to the Propounding Party's Definitions and Instructions, with regard to
    5    any of the Defined terms utilized in the Requests).
    6           By way of explanation, this Request is vague and ambiguous in its reference
    7    to "sales," inthat it is not clear whether this asks for unit sales, dollar value of sales,
    8    sales of different configurations or products including   GBMVI, etc. For purposes of
    9    this jurisdictional discovery, must be limited to sales taking place in, or purchases
   10    known to have been made by residents of, California, and income received from
   11
         California residents.
   t2           Subject to the foregoing objection(s), but without waiving the same in whole
   13
         or in part, the Responding Party responds to this Request as follows:
   t4          The Responding Party offers to meet and confer with the Propounding Purty,
   15
         through counsel, at any mutually convenient time and in accordance with the Local
   t6    Rules, to attempt in good faith to resolve informally any differences or disputes that
   t7    may exist between the parties with respect to this Request and the aforestated
   18
         objections, and insofar as counsel are able         to resolve the parties' differences
   t9    successfully by stipulation, the Responding Party shall be ready, willing and able to
   20
         provide such other relevant and non-privileged information as is called for by the
   21
         Request, as interpreted or modified per the parties' stipulation after meeting and
   22
         conferring, within a reasonable time thereafter.
   23
         INTERROGATORY NO. 8:
   24
               IDENTIFY the total amount of sales of each single on GBMVI.
   25
         RESPONSE TO INTERROGATORY NO. 8:
   26
               The Responding Party objects to this Request, in whole or in part, on the
   27
         following grounds: Inadequate Description; Overbroad; Confidential Information;
   28
         Unduly Burdensome; Impermissible Discovery;CC 3294-3295; and incorporates the
                                                     18
                                                                     RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                                 TO DEF BECLALIS ALMANZAR
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     I   Introduction, General Objections, and [Responding Party's] Definitions, stated
    2    hereinabove (specifically including, without limitation, the Responding Party's
    -t
    J    Objections to the Propounding Party's Definitions and Instructions, with regard to
    4    any of the Defined terms utilized in the Requests).
    5          By way of explanation, this Request is vague and ambiguous in its reference
    6    to "sales," in that it is not clear whether this asks for unit sales, or dollar value of
    7    sales. For purposes of this jurisdictional discovery, must be limited to sales taking
    8    place in, or purchases known to have been made by residents of, California, and
    9    income received from California residents.
   10          Subject to the foregoing objection(s), but without waiving the same in whole
   11
         or in part, the Responding Party responds to this Request as follows:
   T2
               The Responding Pafty offers to meet and confer with the Propounding Party,
   13
         through counsel, at any mutually convenient time and in accordance with the Local
   t4    Rules, to attempt in good faith to resolve informally any differences or disputes that
   15
         may exist between the parties with respect to this Request and the aforestated
   T6
         objections, and insofar as counsel afe able        to resolve the parties'        differences
   I7    successfully by stipulation, the Responding Party shall be ready, willing and able to
   18
         provide such other relevant and non-privileged information as is called for by the
   T9
         Request, as interpreted or modified per the parties' stipulation after meeting and
   20
         conferring, within a reasonable time thereafter.
   2l    INTERROGATORY NO. 9:
   22
               IDENTIFY the total amount of profits, royalties andlor other compensation
   23
         YOU received from sales of GBMVI.
   24
         RESPONSE TO INTERROGATORY NO. 9:
   25
               The Responding Party objects to this Request, in whole or in part, on the
   26
         following grounds: Inadequate Description; Overbroad; Confidential Information;
   27
         Unduly Burdensome; Impermissible Discovery; CC 3294-3295; and incorporates the
   28
         Introduction, General Objections, and [Responding Party's] Definitions, stated
                                                                   RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                               TO DEF BECLALIS ALMANZAR
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     I   hereinabove (specifically including, without limitation, the Responding Party's
    2    Objections to the Propounding Party's Definitions and Instructions, with regard to
    a
    J    any of the Defined terms utilized in the Requests).
    4          By way of explanation, this Request is vague and ambiguous in its reference
    5    to o'sales," and in its use of the terms "profits, royalties andlor other compensation."
    6    For purposes of this jurisdictional discovery, must be limited to sales taking place in,
    7    or purchases known to have been made by residents of, California, ffid income
    8    received from California residents.
    9          Subject to the foregoing objection(s), but without waiving the same in whole
   10    or in part, the Responding Party responds to this Request as follows:
   11
               The Responding Party offers to meet and confer with the Propounding Putty,
   t2    through counsel, at any mutually convenient time and in accordance with the Local
   13
         Rules, to attempt in good faith to resolve informally arry differences or disputes that
   I4    may exist between the parties with respect to this Request and the aforestated
   15
         objections, and insofar as counsel are able        to resolve the parties' differences
   T6
         successfully by stipulation, the Responding Party shall be ready, willing and able to
   17
         provide such other relevant and non-privileged information as is called for by the
   18
         Request, as interpreted or modified per the parties' stipulation after meeting and
   I9    conferring, within a reasonable time thereafter.
   20
         INTERROGATORYNO.            10:
   2t          IDENTIFY the total amount of profits, royalties andlor other compensation
   22
         YOU received from sales of each single on GBMVI.
   23
         RESPONSE TO INTERROGATORY NO. 10:
   24
               The Responding Party objects to this Request, in whole or in part, on the
   25
         following grounds: Inadequate Description; Overbroad; Confidential Information;
   26
         Unduly Burdensome; Impermissible Discovery; CC 3294-3295; and incorporates the
   27
         Introduction, General Objections, and [Responding Party's] Definitions, stated
   28
         hereinabove (specifically including, without limitation, the Responding Party's
                                                                   RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                               TO DEF BECLALIS ALMANZAR
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     1
         Objections to the Propounding Party's Definitions and Instructions, with regard to
    2    any of the Defined terms utilized in the Requests).
    -t
    J          By way of explanation, this Request is vague and ambiguous in its reference
    4    to o'sales," and in its use of the terms ooprofits, royalties andlor other compensation."
    5    For purposes of this jurisdictional discovêry, must be limited to sales taking place in,
    6    or purchases known to have been made by residents           of California,        and income
    7    received from California residents.
    8          Subject to the foregoing objection(s), but without waiving the same in whole
    9    or in part, the Responding Party responds to this Request as follows:
   10          The Responding Party offers to meet and confer with the Propounding Putty,
   11
         through counsel, at arry mutually convenient time and in accordance with the Local
   T2
         Rules, to attempt in good faith to resolve informally arry differences or disputes that
   13
         may exist between the parties with respect to this Request and the aforestated
   t4    objections, and insofar as counsel are able        to resolve the parties'         differences
   15
         successfully by stipulation, the Responding Party shall be ready, willing and able to
   l6    provide such other relevant and non-privileged information as is called for by the
   T7
         Request, as interpreted or modified per the parties' stipulation after meeting and
   18
         conferring, within a reasonable time thereafter.
   t9    INTERROGATORY NO. 11:
   20
               IDENTIFY all revenues from sales of tickets to events at which CARDI B
   2t           in the State of California from January I, 2016 through the present,
         appeared
   22
         INCLUDING but not limited to the promotional tour for GBMV1 (the
   23
         "(Underestimated Tour" ).
   24
         RESPONSE TO INTERROGATORY NO. 11:
   25
               The Responding Party objects to this Request, in whole or in part, on the
   26
         following grounds: Inadequate Description; Overbroad; Confidential Information;
   27
         Unduly Burdensome; Impermissible Discovery; CC 3294-3295; and incorporates the
   28
         Introduction, General Objections, and fResponding Party's] Definitions, stated
                                               2l
                                                                    RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                                TO DEF BECLALIS ALMANZAR
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     1
         hereinabove (specifically including, without limitation, the Responding Party's
    2    Objections to the Propounding Party's Definitions and Instructions, with regard to
    a
    J    any of the Defined terms utilized in the Requests).
    4          By way of explanation, this Request is vague and ambiguous in its reference
    5    to "revenues." Irrelevant in so far as it refers to events at which the Responding Party
    6    merely "appeared" (as opposed        to   performed,  or events which featured the
    7    Responding Party as      a   pre-arranged   celebrity guest). For purposes of this
    8    jurisdictional discovêry, must be limited to events related to GBMV1.
    9          Subject to the foregoing objection(s), but without waiving the same in whole
   l0    or in part, the Responding Party responds to this Request as follows:
   11
               The Responding PaW offers to meet and confer with the Propounding Party,
   l2    through counsel, at any mutually convenient time and in accordance with the Local
   13
         Rules, to attempt in good faith to resolve informally any differences or disputes that
   t4    may exist between the parties with respect to this Request and the aforestated
   15
         objections, and insofar as counsel are able        to resolve the parties'        differences
   16
         successfully by stipulation, the Responding Party shall be ready, willing and able to
   t7    provide such other relevant and non-privileged information as is called for by the
   18
         Request, as interpreted or modified per the parties' stipulation after meeting and
   t9    conferring, within a reasonable time thereafter.
   20
         INTERROGATORY NO. 12:
   2T
               IDENTIFY all profits that YOU or anyone on YOUR behalf earned from
   22
         events which CARDI      B or YOU     appeared andlor attended        in order to promote
   23
         GBMVI.
   24
         RESPONSE TO INTERROGATORY NO. 12:
   25
               The Responding Party objects to this Request, in whole or in part, on the
   26
         following grounds: Inadequate Description; Overbroad; Confidential Information;
   27
         Unduly Burdensome; Impermissible Discovery; CC 3294-3295; and incorporates the
   28
         Introduction, General Objections, and [Responding Party's] Definitions, stated
                                                                   RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                               TO DEF BECLALIS ALMANZAR
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     1
         hereinabove (specifically including, without limitation, the Responding Party's
    2    Objections to the Propounding Party's Definitions and Instructions, with regard to
    a
    J    any of the Defined terms utilized in the Requests).
    4           By way of explanation, this Request is vague and ambiguous in its reference
    5    to "revenues." Irrelevant in so far as it refers to events at which the Responding Party
    6    merely "appeared" (as opposed        to   performed,   or   events which featured the
    7    Responding Party as      a pre-arranged    celebrity guest). For putposes of this
    8    jurisdictional discovery, must be limited to events taking place                in California.
    9    Additionally, as to KSR and Washpoppin, vague and ambiguous as to whom is
   l0    referred to as "YOUR agent or employee."
   11
                Subject to the foregoing objection(s), but without waiving the same in whole
   l2    or in part, the Responding Party responds to this Request as follows:
   13
                The Responding Party offers to meet and confer with the Propounding Putty,
   T4
         through counsel, at any mutually convenient time and in accordance with the Local
   15
         Rules, to attempt in good faith to resolve informally any differences or disputes that
   T6
         may exist between the parties with respect to this Request and the aforestated
   t7    objections, and insofar as counsel are able        to resolve the parties' differences
   18
         successfully by stipulation, the Responding Party shall be ready, willing and able to
   I9    provide such other relevant and non-privileged information as is called for by the
   20
         Request, as interpreted or modified per the parties' stipulation after meeting and
   2l    conferring, within a reasonable time thereafter.
   22
         INTERROGATORY NO. 13:
   23
               IDENTIFY all contracts RELATED TO GBMVI, INCLUDING but not
   24
         limited to recording, COVER ART, concerts, travel, costume, hair and makeup, non-
   25
         concert appearances, licensing, andlor merchandising from January 1,2016 through
   26
         the present.
   27
         RESPONSE TO INTERROGATORY NO. 13:
   28
               The Responding Pafiy objects to this Request, in whole or in part, on the
                                                    23
                                                                     RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                                 TO DEF BECLALIS ALMANZAR
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     1
         following grounds: Inadequate Description; Overbroad; Confidential Information;
    2    Privacy; Unduly Burdensome; Impermissible Discovery; CC 3294-3295; and
    J    incorporates the Introduction, General Objections, and fResponding Parly's]
    4    Definitions, stated hereinabove (specifically including, without limitation,                 the
    5    Responding Party's Objections       to the Propounding Party's Definitions                  and
    6    Instructions, with regard to any of the Defined terms utilized in the Requests).
    7          By way of explanation, this Request is irrelevant, and for purposes of this
    8    jurisdictional discovery may only relate to such contracts as were either executed in
    9    California, to be performed in California, or entered into with persons known to be
   10    residing in, or entities known to be domiciled in, California. Moreover, under the
   11
         Court's Order of May 3,20t8, this must exclude contracts with entities that merely
   l2    engaged in the online promotion, sale, and distribution of sound recordings such as
   13
         GBMV1    , ffid that may happen to be orgarized, domiciled or located or doing
   I4    business in California
   15
               Subject to the foregoing objection(s), but without waiving the same in whole
   t6    or in part,the Responding Party responds to this Request as follows:
   t7          The Responding Party offers to meet and confer with the Propounding Putty,
   18
         through counsel, at arry mutually convenient time and in accordance with the Local
   t9    Rules, to attempt in good faith to resolve informally any differences or disputes that
   20
         may exist between the parties with respect to this Request and the aforestated
   2t    objections, and insofar as counsel are able        to resolve the parties'        differences
   22
         successfully by stipulation, the Responding Party shall be ready, willing and able to
   23
         provide such other relevant and non-privileged information as is called for by the
   24
         Request, as interpreted or modified per the parties' stipulation after meeting and
   25
         conferring, within a reasonable time thereafter.
   26
         INTERROGATORY NO. 14:
   27
               IDENTIFY the graphic designer(s) andlor photographer(s) who created the
   28
         COVER ART for GBMVI.
                                                   24
                                                                   RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                               TO DEF BECLALIS ALMANZAR
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     1
         RESPONSE TO INTERROGATORY NO. 14:
     2         The Responding Party objects to this Request, in whole or in part, on the
     J   following grounds: Inadequate Description; Overbroad; Unduly                     Burdensome;
     4   Impermissible Discovery; and incorporates the Introduction, General Objections, and

         [Responding Parfy's] Definitions, stated hereinabove (specifically including,
     5

     6   without limitation, the Responding Party's Objections to the Propounding Party's
    7    Deflrnitions and Instructions, with regard to any of the Defined terms utilized in the
     8   Requests).
    9          By way of explanation, this Request is irrelevant. The identity of the graphic
   10    designer andlor photographer is not a jurisdictional issue of fact, and was not among
   11
         the issues specified by the Court in its Order of May 23,2018, as being properly the
   T2
         subject of this jurisdictional discovery.
   13
               Subject to the foregoing objection(s), but without waiving the same in whole
   T4
         or in part, the Responding Party responds to this Request as follows:
   15
               The Responding Party offers to meet and confer with the Propounding Putty,
   t6    through counsel, at any mutually convenient time and in accordance with the Local
   l7    Rules, to attempt in good faith to resolve informally arry differences or disputes that
   18
         may exist between the parties with respect to this Request and the aforestated
   t9    objections, and insofar as counsel are able          to resolve the parties'        differences
   20
         successfully by stipulation, the Responding Parfy shall be ready, willing and able to
   2l    provide such other relevant and non-privileged information as is called for by the
   22
         Request, as interpreted or modified per the parties' stipulation after meeting and
   23
         conferring, within a reasonable time thereafter.
   24
         INTERROGATORY NO. 15:
   25
               IDENTIFY       all   communications        with the graphic designer(s) andlor
   26
         photographer(s) who created the COVER ART for GBMVI.
   27
         RESPONSE TO INTERROGATORY NO. 15:
   28
               The Responding Party objects to this Request, in whole or in part, on the
                                                     25
                                                                     RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                                 TO DEF BECLALIS ALMANZAR
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     1
         following grounds: Inadequate Description; Overbroad; Unduly Burdensome;
    2    Impermissible Discovery; and incorporates the Introduction, General Objections, and
    3
         fResponding Party's] Definitions, stated hereinabove (specifically including,
    4    without limitation, the Responding Party's Objections to the Propounding Party's
    5    Definitions and Instructions, with regard to any of the Defined terms utilized in the
    6    Requests).
    7          By way of explanation, this Request is irrelevant. Communications with the
    8    graphic designer andlor photographer are not     a   jurisdictional issue of fact, and were
    9    not among the issues specified by the Court in its Order of May 23,2018, as being
   10    properly the subject of this jurisdictional discovery
   11
               Subject to the foregoing objection(s), but without waiving the same in whole
   l2    or in part,the RespondingParfi responds to this Request as follows:
   13
               The Responding Party offers to meet and confer with the Propounding Putty,
   t4    through counsel, at any mutually convenient time and in accordance with the Local
   15
         Rules, to attempt in good faith to resolve informally any differences or disputes that
   T6
         may exist between the parties with respect to this Request and the aforestated
   t7    objections, and insofar as counsel are able          to resolve the parties' differences
   18
         successfully by stipulation, the Responding Party shall be ready, willing and able to
   t9    provide such other relevant and non-privileged information as is called for by the
   20
         Request, as interpreted or modified per the parties' stipulation after meeting and
   2T
         conferring, within a reasonable time thereafter.
   22

   23
         Dated: June 14,2018                     Respectfully Submitted,
   24
                                                 ALAN G. DOWLING, P.C.
   25
                                                 By:    /s/ Alan G. Dowline
   26
                                                          Alan G. Dowling
   27                                           Attorney    þr   Defendants
   28
                                                   26
                                                                      RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                                  TO DEF BECLALIS ALMANZAR
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     1
                                       PROOF OF SERVICE
     2
     a
         STATE OF CALIFORNIA,
     J   COUNTY OF LOS ANGELES
    4           I am employed in the County of Los Angeles, State of California. I am over
         the age of 18 and not a party to the within action. My business address is 1043
     5   Pacific St., No. 1, Santa Monica, California 90405.
     6        On June 18,2018, I served the foregoing document, described as:
    7
         RESPONSE AND OBJECTIONS TO "PLAINTIFF'S FIRST SET OF
         SPE CIAL INTERROGATORIE S (JURI SDICTIONAL) T O DEFENDANT
    8    BELCALIS ALMANZAR AKA CARDI                    B'
    9
          on each of the interested parties in this action, by the following means:
                                                   _                        X
          _IF PERSONAL SERVICE: I placed the original [or] a true copy thereof
   10     enclosed in a sealed envelope addressed as set forth on the attached Service List, and
   11
          caused the same to be delivered via messenger by hand to the offices ofthe addressee.
          lFor Personal Service signature must be that of messenger.]
   T2       x IF SERVICE BY MAIL: I placed       _      the original [or]X   a true copy thereof

   13     enclosed in a sealed envelope addressed as set forth on the attached Service List,
          and deposited such envelope in the mail at Santa Monica, California. The envelope
   L4    was mailed with postage thereon fully prepaid. I am "readily familiar" with the
   15     firm's practice of collecting and processing conespondence for mailing. Under that
         practice it would be deposited with the U.S. postal service on that same day with
   t6    postage thereon fully prepaid at Santa Monica, California in the ordinary course of
   T7    business. I am aware that on motion ofthe party served, service is presumed invalid
         if the postal cancellation date or postage meter date is more than one day after date
   18    of deposit for mailing in affidavit.
   I9    _ IF SERVICE BY FACSIMILE TRANSFER: On June 18,2018, at or about
         a.ml_p.m. (i.e., between the hours of 9:00 a.m. and 5:00 p.m.), I transmiued by
   20    facsimile transfer ("fax") a copy of the foregoing document, from my fax machine
   2l    the telephone number of which is (424) 238-5366, to each person ("fa" recipient")
         indicated on the attached Service List on whom the foregoing document was thus
   22    served. The transmission was reported as complete and without error, and a copy of
   23    the transmission report so indicating was properly issued by the transmitting fax
         machine and is attached hereto. Service by fax is permissible in this action in that
   24    the parties thus served have agreed thereto and a written confirmation of that
   25    agreement has been obtained. The fax machine telephone number for the fax
         machine maintained by each fax recipient (and last given by each such person on
   26    any document which he or she has filed in this action and served on the party making
   27    this service) is as set fonh on the attached Service List. I understand that (subject
         to the other provisions of C.C.P. $ 1013 and C.R.C. Rule 2008) service by fax is
   28    complete at the time of transmission, i.e., at the time of receipt of the entire
                                                   27
                                                                  RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                              TO DEF BECLALIS ALMANZAR
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     1
         document by the fax recipient's fax machine, and that service by fax that occurs
    2    after 5:00 p.m. shall be deemed to has occurred on the next court day.
             COURTESY COPY SENT BY FACSIMILE TRANSFER ("FAXO'):
    3    Concurrently with service by other means as indicated herein, I have also caused an
    4    additional courtesy copy thereof to be transmitted by fax to said counsel, as
         indicated on the attached Service List.
    5         COURTESY COPY SENT               BY INTERNET ELECTRONIC MAIL
    6    TRANSFER      ("E-MAIL"): In addition      to the foregoing, I caused a courtesy copy
         thereof to be attached to an E-mail message, and thus transmitted by E-mail, to the
    7    lead opposing counsel indicated below, at the email address customarily used by
    8    said counsel heretofore in this action for sending and receiving communications.
                Executed on June 18,2018, at Santa Monica, California.
    9      X (Federal) I declare under penalty of perjury under the laws of the United States
   10    of America and the State of Californiathatl am employed by the office of a member
         of the bar of this Court at whose direction the service was made.
   11
          X (California) I declare under penalty of perjury under the laws of the State of
   t2    California that the above is true and correct.

   13
                                                Alan G. Dowling
   T4                                           ALAN G. DOWLING
   15

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                                                  28
                                                                  RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                              TO DEF BECLALIS ALMANZAR
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     1
                                           SERVICE LIST
    2
                                  Brophy v. Almanzar et al.
    3                  USDC, CD Cal, Case No. 8:17-cv-01885-CJC (JPRx)
    4

    5    Counsel and Pa4y/Parties Represented:
    6
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    7    abc@cappellonoel.com
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   11
         831 State Street
   L2    Santa Barbara, CA 93 l0I-3227
         Telephone: (805)5 64-2444
   13
         Facsimile: (805)965-5950
   t4    Attorneys þr Plaintiff

   15
         Service mailing address :
   I6
         Lawrence J. Conlan, Esq.
   t7    CAPPELLO &       NOËT-.,   LLP
   18    831 State Street
         Santa Barbara, CA 93 l0l-3227
   t9
   20

   2t
   22

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                                                 29
                                                           RESP   & OBJECS TO PLTFS I ST INTERROGS
                                                                       TO DEF BECLALIS ALMANZAR
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     1   Alan G. Dowling
    2    (Califomia Bar No. 70686)
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    7    Attor ney for Defendant s
    8

    9                          UNITED STATES DISTRICT COURT
   10                         CENTRAL DISTRICT OF CALIFORNIA
   11

   T2
         KEVIN MICHAEL BROPHY, JR.,         AN       Case No. 8: L7-cv-01885-CJC(JPRx)
         individual,
   13                                                Hon. Cormac J. Carney,
   t4                         Plaintiffs,            U.S. District Judge
                          V
   15                                                RESPONSE AND OBJECTIONS
   I6    BELCALIS ALMANZAR aKA CARDI B,              TO "PLAINTIFFIS FIRST SET OF'
         an individual; KSR GROUP, LLC, a New        SPECIAL INTERROGATORIES
   1,7   York limited liability company;             (JURTSDTCTTONAT) TO
   18    V/ASHPOPPIN, [NC., a New York               DEFENDANT KSR GROUP, LLC"
         corporation; and DOES I-20, inclusive,
   19

   20                         Defendants

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                                                 1
                                                            RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                             TO DEF KSR GROUP, LLC
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     1   PROPOUNDING              PARTY:       Plaintiff
    2    RESPONDING             PARTY:         Defendant KSR GROUP,            LLC
    -t
    J    SET   NO.:                             One
    4              Defendant KSR GROUP, LLC (hereinafter ooDefendant" or "the Responding
    5    Party") hereby responds and objects as follows to "PLAINTIFFTS FIRST SET
    6    OF SPECIAL INTERROGATORIES                                 (JURISDICTIONAL) TO
    7    DEFENDANT KSR GROUP, LLC," dated May 14, 2018 (the "Requests"),
    8    pursuant to Rule 33 of the Federal Rules of Civil Procedure.
    9              INTRODIJCTION. GENERAL OBJECTI ONS AND DEFTNITIONS
   10              1.       The Responding Party has not fully completed an investigation of all the
   11
         facts relating to the subject matter of this action, has not completed all discovery in
   t2    this action, ffid has not completed preparation     fortrial. All ofthe    responses contained
   13
         herein are based only upon such information and documents as are presently available
   T4
         to and specifically known to the RespondingPar|y, and disclose only those facts and
   15
         documents that presently are known to and/or are available to the Responding Party.
   T6
         It is anticipated that further independent investigation, discovery,legal           research and
   T7
         analysis may supply additional information, which may lead to substantial changes to
   18
         the responses set forth below. The following responses are consequently given
   t9    without prejudice to the right of the Responding Party to introduce evidence of any
   20    subsequently discovered facts or documents which the Responding Party may later
   2l    obtain or recall.
   22
                   2.       The depositions of certain ofthe witnesses who would or possibly could
   23
         testify   as to   the subject matter ofthe within action have not yet been commenced. The
   24
         documents that would or could form the basis of certain responses are still in the
   25
         process of being discovered, and all such relevant documents may not have yet been
   26
         produced or examined. Further, the significance of documents in the possession ofthe
   27
         Responding Party, or presently in the possession of the Propounding Party or a third
   28
         party but not yet obtained from or produced by them, may only become apparentupon
                                                                        RESP   & OBJECS TO PLTFS 1ST INTERROGS
                                                                                         TO DEF KSR GROUP, LLC
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     1
         reviewing them in the context of other documents which have not yet been obtained
    2    or in the context of testimony not yet taken shedding light upon their relevance.
    -J
               3.        The Responding Party accordingly reserves the right to change any and
    4    all responses set forth or referred to below, as additional facts may be ascertained,
    5    documents discovered, analyses made, legal research completed,             ffid   contentions
    6    made. The responses contained below are made in a good faith effort to supply                as

    7    much factual information and as much specification of the basis for legal contentions
    8    as is presently known and available to the Responding Party, but should in no way be
    9    construed to the prejudice ofthe Responding Party in relation to further investigation
   10    andlor discovery.
   11
               4.        This Responding Party's responses are made without waiver             of but,
   I2    on the contrary, are intended to preserve and do preserve the following rights:
   13
                         a.    the right to raise aII questions of authenticity, foundation,
   L4    relevancy, materiality, privilege and admissibility as evidence for any putpose, of
   15
         the documents or information identified in response to the Requests, which may
   T6
         arise in subsequent proceedings in, or trial of, this or any other action;
   1,7
                         b.    the right to object on any ground to the introduction into
   18
         evidence   of   or the use of said documents or information identified in response to
   t9    the Requests in any subsequent proceedings in, or trial of, this or any other action;
   20                    c.    the right to object on any ground at any time to other document
   2t    requests or discovery involving said documents or information; and
   22
                         d.    the right to amend or supplement this response in the event that
   23
         any document or information is in the Responding Party's possession, custody or
   24
         control, but is unintentionally omitted from production at this time. Additionally,
   25
         inadvertent identification or production of privileged documents or information by
   26                                                                                                 of
         the Responding Party is not intended as, and shall not be construed as, a waiver
   27
         any applicable privilege.
   28
               5.        This Responding Party further specifically objects to each and every
                                                     J
                                                                    RESP   & OBJECS TO PLTFS 1ST INTERROGS
                                                                                     TO DEF KSR GROUP, LLC
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    1
        discovery Request in the set to which this response is directed, to the extent that it:
    2                 a.    seeks documents     or information which are protected by the
    J   attorney-client privilege or the attorney work product doctrine, or by the right of
    4   privacy provided for in the Constitution of the United States of America or the
    5   Constitution of the State of Califomia, or which are by law otherwise privileged or
    6   exempt from discovery;
    7                 b.    attempts or purports to seek the disclosure of documents or
    8   information to which the Propounding Party has access or which the Propounding
    9   Par,ty has already obtained;
   10                 c.    attempts or purports to impose obligations on the Responding
   11
        Party exceeding those imposed or authorized by the Federal Rules                     of Civil
   12   Procedure andlor the applicable Local Rules of the Court before which this action
   13
        is pendingi or
   L4
                      d.    seeks information,   or documents generated, outside the time
   15
        period relevant to this action or otherwise beyond the scope of the issues relevant
   t6   to this action.
   T7
               6.     The Responding Party further objects to any of the requests which seek
   18
        discovery of communications with or the opinions of any expert(s) not designated
   T9
        to testiff on behalf of the Responding Party in this action, as such information is
   20
        not discoverable under applicable law.
   2t          7.     For purposes of the following responses to requests for production             of
   22
        documents and things, and the objections stated therein, the following terms shall
   23
        have the following meanings:
   24
                      a.    "Inadequate Description" shall signify an objection on the
   25
               grounds that the Request does not describe the information, documents or
   26
               matter sought with reasonable particularity (including, without limitation,
   27
               where the Request taken as a whole, or the terminology used therein, is
   28
               vague, ambiguous or unintelligible);
                                                   4
                                                                  RESP   & OBJECS TO PLTFS I ST INTERROGS
                                                                                   TO DEF KSR GROUP, LLC
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    1
                    b.     "Irrelevant" shall signiff an objection on the grounds that the
    2         Request seeks matter that is irrelevant to the subject matter of this action and
    3         not calculated to lead to the discovery of admissible evidence;
    4               b.     "Overbroad" shall signiff an objection on the grounds that the
    5         Request is overbroad in scope, either with reference to time period, subject
    6         matter, or otherwise;
    7               c.     "Attorney-Client-Privilege" shall signiff an objection on the
    8         grounds that the Request calls for production       of    documents and things
    9         protected by the attorney-client-privilege;
   10               d.     "Attorney Work Product" shall signifu an objection on the
   11         grounds that the Request calls for production       of    documents and things
   l2         protected by the attomey work product doctrine;
   13
                    e.     "Confidential Information" shall signi$' an objection on the
   T4         grounds that the Request improperly calls for discovery             of confidential
   15
              business, financial, proprietary, trade secret or other sensitive information or
   t6         documents, the disclosure    of which would be harmful to the Responding
   t7         Party or a third party
   18
                    f.     "Tax Returns" shall signifu an objection on the grounds that
   t9         the Request improperly seeks production of documents and things protected
   20
              by the privilege against disclosure of the contents of income tax returns;
   2T
                    g.     "Privacy" shall signifr an objection on the grounds that the
   22
              Request calls for production    of   documents and things protected against
   23
              discovery by the Responding Party's right of privacy.
   24
                    h.     "Unduly Burdensome" shall signifu an objection on                      the
   25
              grounds that the Request improperly seeks production               of   information,
   26
              documents and things, or other maffer, already been produced to the
   27
              Propounding Party, or already in its possession, or available to the
   28
              Propounding Party as readily andat approximately equal expense and trouble
                                                   5
                                                                 RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                                  TO DEF KSR GROUP, LLC
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    I           as   it would be for the Responding Party to obtain and provide them, andlor
    2          in the context of this case, and in light of any other objections interposed,
    -t
    J          would impose an undue burden, expense or effort upon the Responding Palqr,
    4          or unduly intrude into matters protected by the right of privacy;
    5                   j.    "Impermissible Discovery" shall signify an objection on the
    6          grounds that the Request exceeds the scope of permissible discovery                      as

    7          defined by the applicable provisions        of the California           Code    of Civil
    8          Procedure; and
    9                   k.    "CC 3294-3295" shall signiff an objection on the grounds that
   10          the Request improperly seeks production of documents and things
   11                                                                                                   of
               concerning the Responding Party's financial condition, in contravention
   t2          (and without the Propounding Party having met the prerequisites of)
   13
               California Civil Code Sections 3294-3295.
   T4
               8.       The Responding Party objects to the so-called "Definitions                    and
   15
         Instructions" set forth in the Requests, as follows:
   T6
                        a.    Definition and Instruction No. 1 is vague and ambiguous (in
   t7          particular,   but without limitation, in regard to what is meant                          by
   18
               "representatives and other persons acting on behalf             of CARDI B, and the
   19
               sources within the control of CARDI      B");    compound and confusing, in that it
   20
               requires the Responding Party to answer each interrogatory with reference to
   2l          at least seven categories of persons, and innumerable unnamed individuals;
   22
               and, in so far as it is compound, this set of discovery requests taken as a whole
   23
               far exceeds the statutory limit of 25 interrogatories, including                  subparts
   24
               [F.R.Civ.P. 33(a)(1)]. The Responding Party will take this definition            as   merely
   25
               meaning and referring to Defendant BELCALIS ALMANZARaka CARDI B.
   26
                        b.    Definition and Instruction No. 2 is vague and ambiguous (in
   27
               particular, but without limitation, in regard to what is meant by "its affiliates,
   28
               partners, parents, subsidiaries, past or present agents, past or present attomeys,
                                                    6
                                                                      RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                                       TO DEF KSR GROUP, LLC
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              servants, employees, representatives,       or others acting at their direction");
    2         compound and confusing, in that        it requires the RespondingParty to answer
    3         each interrogatory with reference to at least thirteen categories of persons, and
    4         innumerable unnamed individuals; and, in so far as it is compound, this set              of
    5         discovery requests taken as a whole far exceeds the statutory limit of 25
    6         interrogatories, including subparts [F.R.Civ.P. 33(a)(1)]. The Responding
    7         Party   will take this definition   as merely meaning and referring to Defendant
    8         KSR GROUP, LLC.
    9                 c.     Definition and Instruction No. 4 is vague and ambiguous (in
   10         particular, but without limitation, in regard to what is meant by "its afftliates,
   11         partners, parents, subsidiaries, past or present agents, past or present attorneys,
   T2
              servants, employees, representatives, or others acting at their direction");
   13
              compound and confusing, in that it requires the Responding Paúy to answer
   t4         each interrogatory with reference to at least thirteen categories of persons, and
   15
              innumerable unnamed individuals; and, in so far as it is compound, this set              of
   T6
              discovery requests taken as a whole far exceeds the statutory limit of 25
   L7
              interrogatories, including subparts [F.R.Civ.P. 33(a)(1)]. The Responding
   18
              Party   will take this definition   as merely meaning and referring to Defendant
   T9
              WASI{POPPIN, INC.
   20
                      d.     Definition and Instruction No. 6 is confusing and open-ended.
   2t                 e.     Definition and Instruction No. 7 is vague and ambiguous (in
   22         particular, but without limitation, in regard to what is meant by "concerning,
   23
              regarding, referring, describing, pertaining to, evidencing, constituting, or in
   24
              any way related to, directly          or indirectly" and how those terms                are
   25
              distinguishable, one from the others); compound and confusing, in that it
   26
              requires the Responding Party to speculate as to the meaning and distinctions
   27
              between the numerous separate terms included in the definition and to attempt
   28
              to apply them in responding to each of the separate interrogatories; and, in so
                                                      7
                                                                   RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                                    TO DEF KSR GROUP, LLC
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              far as it is compound, this set of discovery requests taken as a whole far
    2         exceeds the statutory   limit of 25 interrogatories, including subparts [F.R.Civ.P.
    3         33(a)(1)1. The Responding Party will interpret this definition as consisting
    4         merely of the defined term, "related."
    5                 f.      Definition and Instruction No. 8 is compound and confusing, in
    6         that   it requires the Responding Party to speculate as to the meaning and
    7         distinctions between the numerous separate terms included in the definition
    8         and to attempt to apply them in responding to each of the separate discovery
    9         requests; and, in so far as it is compound, this set of discovery requests taken
   10         as a whole far exceeds the statutory limit of 25 interrogatories, including
   11
              subparts [F.R.Civ.P. 33(aX1)]. The Responding Party                 will   interpret this
   l2         definition as consisting merely           of the terms "writing," "recording,"
   13
              "photograph," "original" and "duplicate," as defined            in Federal Rules of
   t4         Evidence 1001.
   15
                      g.      Definition and Instruction No. 9 is vague and ambiguous (in
   T6
              particular, but without limitation, in its reference, with regard to "ESI," to
   t7         numerous technological and computer software-related terms                        of    art,
   18
              abbreviations and extensions, which presumes a degree of knowledge and
   I9         expertise that neither the Defendants, nor their counsel, claim to possess);
   20
              compound and confusing, in that it requires the Responding Party to speculate
   2l         as to the meaning and distinctions between the numerous separate terms
   22
              included in the definitions of '.DOCUMENTS" and "ESI" and to attempt to
   23
              apply them in responding to each of the separate discovery requests; and, in so
   24
              far as it is compound, this set of discovery requests taken as a whole far
   25
              exceeds the statutory   limit of 25 interrogatories, including subparts [F.R.Civ.P.
   26
              33(aXl)1. The Responding Party will interpret this definition as consisting
   27
              merely       to "writingsr" "recordings,"      "photographs," "originals"              and
   28
              "duplicates," as defined in Federal Rules of Evidence 1001, that have been
                                                    8
                                                                   RESP   & OBJECS TO PLTFS 1ST INTERROGS
                                                                                    TO DEF KSR GROUP, LLC
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              stored electronically, e.9., in, on or by means of a computer.
    2                h.     Definition and Instruction No. 10 is vague and ambiguous (in
    3         particular, but without limitation, in its reference to numerous technological
    4         and computer software-related terms          of   art, abbreviations and extensions,
    5         which presumes     a degree of     knowledge and expertise that neither the
    6         Defendants, nor their counsel, claim to possess); also vague and ambiguous in
    7         its reference to things "within the possession, custody or control of sources and
    8         persons with YOUR control, including any            of YOUR attorneys, agents            and
    9         other sources within YOUR control;" violative of attorney client privilege and
   10         work product doctrines in seeking information in gross from Defendants'
   11
              attorneys; compound and confusing, in that it requires the Responding Party
   t2         to speculate as to the meaning and distinctions between the numerous separate
   13
              terms included in the definition and to attempt to apply them in responding to
   t4         each of the separate discovery requests; and, in so far as it is compound, this
   15
              set of discovery requests taken as a whole far exceeds the statutory              limit of 25
   T6
              interrogatories, including subparts [F.R.Civ.P. 3 3(aX 1 )].
   T7
                     i.     Definition and Instruction No. 11 is vague and ambiguous (in
   18
              particular, but without limitation, in its reference to "upgrades, enhancements,
   t9         new versions, patches and fixes" of software); also, not an interrogatory-
   20                                                                                                    of
              related definition, but a document request, on its face, inappropriate to a set
   2t         interrogatories.
   22               j.      Definition and Instruction No. 13 is unduly burdensome                     and
   z3
              oppressive, in that this would require Defendants to "IDENTIFY"                     in detail
   24
              each document they are simultaneously being requested to produce by means
   25
              of Plaintiff s simultaneous requests for production of documents and things for
   26
              inspection and copying.        All   documents, not privileged               or   otherwise
   27
              objectionable, which are produced     will   speak for themselves and be the best
   28
              evidence    of their own contents. Further, this definition                constitutes an
                                                   9
                                                                      RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                                       TO DEF KSR GROUP, LLC
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    1
              additional, oouniversal" interrogatory, implicit in each other numbered one to
    2         which       it pertains, in calling for "any information necessary to allow that
    -J
              DOCUMENT to be the subject of          a request for   production," i.e. what amounts
    4         to   a   privilege log, even for documents that are produced. Thus, this definition,
    5         in its effect, causes this set of discovery requests taken as a whole far exceeds
    6         the statutory limit of 25 interrogatories, including subparts [F.R.Civ.P.
    7         33(aX1)1.
    8                    k.    Definition and Instruction No. 18 is vague and ambiguous (in
    9         particular, but without limitation,      it its failure to sufficiently define what
   10         constitutes "any . . . internet website, and any other online account held by
   1l         YOU"); compound and confusing, in its reference to several different forms of
   t2         social media, both by name and by vague reference, thus requiring speculation;
   13
              and, in so far as it is compound, this set of discovery requests taken as a whole
   14
              far exceeds the statutory limit of 25 interrogatories, including                       subparts
   15
              [F.R.Civ.P. 33(a)(1)]. As worded, this definition could be read to call for
   T6
              production of information concerning untold numbers and kinds of intemet-
   t7         accessible files and records concerning each Defendant's banking, frnancial,
   18
              health, commercial (e.g. retail transactions), governmental (e.g., taxes) and
   t9         personal information, inter alia.
   20
                         1.    Definition and Instruction No. 19 is unduly burdensome                     and
   21
              harassing in purporting to call for a "privilege" log in the vent information is
   22
              not produced on grounds of privilege, work product "or otherwise.                  "   There is
   23
              no legal requirement for the Responding Party to provide a "privilege 1og," in
   24
              response to an interrogatory, identiffing      with specificity all information not
   25
              produced, regardless of the basis. Fruther, in so far as it purports to call for
   26
              the Responding Party to state "the specific grounds upon which YOUR
   27
              objection and privilege claim is based (including each and every factand legal
   28
             basis upon which YOU claim such privilege,"               it constitutes an additional
                                                      10
                                                                       RESP   & OBJECS TO PLTFS I ST INTERROGS
                                                                                        TO DEF KSR GROUP, LLC
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    1
               interrogatory implicit in each of the separate numbered interrogatories; and its
    2          reference, then,   to the "date of     creation, author, [and] recipients" of
    J          information, as distinguished from documents, is vague, ambiguous, confusing
    4          and unintelligible. Thus, this definition,    in its effect, causes this set of
    5          discovery requests taken as a whole far exceeds the statutory limit of 25
    6          interrogatories, including subparts [F.R.Civ.P. 33(aX 1 )].
    7          9.      Wherever objections have been interposed, the Responding Party offers
    I   to meet and confer with the Propounding Purty, through counsel, at any mutually
    9   convenient time and in accordance with the Local Rules, to attempt in good faith to
   10   resolve informally any differences or disputes that may exist between the parties with
   11
        respect to the Request and the stated objections. Assuming that such "meet and
   t2   confer" takes place in a timely fashion, and to the extent it is successful in resolving
   13
        differences, the Responding Party stands ready, willing and able                to   complete
   T4
        discovery as to the relevant and non-privileged information called for by the Request
   15
        (subject, of course, to any stipulations entered into as a result of the "meet and
   T6
        confer").
   t7          10.     The Responding Party has already delivered to the Propounding Party
   18
        for consideration a proposed form of Stipulated Protective Order embodying typical
   t9   terms of such an order that have been previously approved by federal district courts
   20
        in this District. In so far as the Responding Parly has interposed objections based on
   2l   grounds     of "Confidential Information" or "Privacy," the Responding Party will
   22   produce non-privileged documents or information, as the case may be, responsive to
   23
        these discovery Requests, upon the issuance and filing by the Court of such a
   24
        protective order either pursuant to the Parties' stipulation to the terms of such an
   25
        order or upon motion of any of the Parties.
   26
              11.      No response or objection (or production of documents or things in
   27
        response to) any of the Requests is intended as, nor shall it be construed as, a waiver
   28
        by the Responding Party of all or any              any objection to that or any other
                                                  lin "t
                                                                  RESP   & OBJECS TO PLTFS lST INTERROGS
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    1   Request, or an admission of the existence of any fact set forth in or assumed by that
    2   or any other Request, or an admission that such response or objection constitutes
    J   admissible evidence.
    4          12.   Delineation of the Court's Limitation on Jurisdictional Issues Subiect to
    5   This Discovery. By its "Order Denying V/ithout Prejudice Defendants' Motion to
    6   Dismiss and Granting Plaintiffls Request for Jurisdictional Discovery," dated May
    7   3,2018, Docket No. 36, the Court ordered the parties to engage in, and complete,
    8   within 90 days from the date ofthe Order, good faith "limitedjurisdictional discovery
    9   on the issues identified in this order." The Order specified only the following issues
   t0   for purposes of such discovery: with regard to personal jurisdiction, "to clarifi (1)
   11
        the extent of Defendants' business and presence in California, and (2)                           arry
   T2
        relationship between the Gangsta Bitch cover and Califomia" (Order, p. 10); and,
   13
        with regard to subject matter jurisdiction, "to clariff whether the amount-in-
   t4   controversy has been met" (Order, p. 11).
   15
               13. Each of the foregoing items set forth in this Paragraph is incorporated
   t6   by reference in the responses to specific Requests, below.
   L7
                      RESPONSES TO SPECIFIC INTERROGATORIES
   18
        INTERROGATORY NO.           1:
   T9
              State all dates on which YOU were physically present in the State of California
   20
        from January I,20L6 through the present.
   2t   RESPONSE TO INTERROGATORY NO.                     1:
   22
              The Responding Party objects to this Request, in whole or in part, on the
   23
        following grounds: Inadequate Description; and incorporates the Introduction,
   24
        General Objections, and [Responding Party's] Definitions, stated hereinabove
   25
        (specifically including, without limitation, the Responding Party's Objections to the
   26
        Propounding Party's Definitions and Instructions, with regard to any of the Defined
   27
        terms utilized in the Requests).
   28
              Subject to the foregoing     objectionfl,   Out   without waiving the same in whole
                                                                      RESP   & OBJECS TO PLTFS I ST INTERROGS
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    1    or in part, the Responding Party responds to this Request as follows:
    2          The Responding Party offers to meet and confer with the Propounding Pafry,
    F,

    J    through counsel, at any mutually convenient time and in accordance with the Local
    4    Rules, to attempt in good faith to resolve informally any differences or disputes that
    5    may exist between the parties with respect to this Request and the aforestated
    6    objections, and insofar as counsel are able        to resolve the parties' differences
    7    successfully by stipulation, the Responding Party shall be ready, willing and able to
    8    provide such other relevant and non-privileged information as is called for by the
    9    Request, as interpreted or modified per the parties' stipulation after meeting and
   10    conferring, within a reasonable time thereafter.
   11
         INTERROGATORY NO. 2:
   T2
               List all of YOUR SOCIAL MEDIA ACCOUNTS.
   I3    RESPONSE TO INTERROGATORY NO. 2:
   t4          The Responding Party objects to this Request, in whole or in part, on the
   15
         following grounds: Inadequate Description; Overbroad; Confidential Information;
   T6
         Privacy; Unduly Burdensome; Impermissible Discovery; and incorporates the
   I7    Introduction, General Objections, and fResponding Party's] Definitions, stated
   18
         hereinabove (specifically including, without limitation, the Responding Parfy's
   T9
         Objections to the Propounding Party's Definitions and Instructions, with regard to
   20
         any of the Defined terms utilized in the Requests).
   2T
               By way of explanation, for purposes of this jurisdictional discovery, must be
   22
         limited to those accounts targeted at California or its residents, and having to do with
   23
         GBMV1.
   24
               Subject to the foregoing objection(s), but without waiving the same in whole
   25
         or in part, the Responding Party responds to this Request as follows:
   26
               The Responding Party offers to meet and confer with the Propounding Patty,
   27
         through counsel, at any mutually convenient time and in accordance with the Local
   28
         Rules, to attempt in good faith to resolve informally any differences or disputes that
                                                    13
                                                                   RESP   & OBJECS TO PLTFS lST INTERROGS
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    1
        may exist between the parties with respect to this Request and the aforestated
    2   objections, and insofar as counsel are able        to resolve the parties' differences
    a
    J   successfully by stipulation, the Responding Party shall be ready, willing and able to
    4   provide such other relevant and non-privileged information as is called for by the
    5   Request, as interpreted or modified per the parties' stipulation after meeting and
    6   conferring, within a reasonable time thereafter.
    7   INTERROGATORY NO. 3:
    8         Describe in detail all marketing strategies YOU used to market GBMV1 to
    9   California residents.
   10   RESPONSE TO INTERROGATORY NO. 3:
   11
              The Responding Party objects to this Request, in whole or in part, on the
   I2   following grounds: Inadequate Description; Overbroad; Confidential Information;
   13
        Unduly Burdensome; Impermissible Discovery; and incorporates the Introduction,
   T4
        General Objections, and [Responding Parly's] Definitions, stated hereinabove
   15
        (specifically including, without limitation, the RespondingParty's Objections to the
   T6
        Propounding Party's Definitions and Instructions, with regard to any of the Defined
   t7   terms utilized in the Requests).
   18
              By way of explanation, this Request is vague and ambiguous in its reference
   t9   to "marketing strategies."
   20
              Subject to the foregoing objection(s), but without waiving the same in whole
   2T
        or in part, the Responding Parly responds to this Request as follows:
   22
              The Responding Party offers to meet and confer with the Propounding Party,
   23
        through counsel, at any mutually convenient time and in accordance with the Local
   24
        Rules, to attempt in good faith to resolve informally arry differences or disputes that
   25
        may exist between the parties with respect to this Request and the aforestated
   26
        objections, and insofar as counsel are able        to resolve the parties' differences
   27
        successfully by stipulation, the RespondingParty shall be ready, willing and able to
   28
        provide such other relevant and non-privileged information as is called for by the
                                                  t4
                                                                  RESP   & OBJECS TO PLTFS lST INTERROGS
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    I   Request, as interpreted or modified per the parties' stipulation after meeting and
    2   conferring, within a reasonable time thereafter.
    3   INTERROGATORY NO. 4
    4         Describe in detail all marketing strategies YOU used to market GBMVI.
    5   RESPONSE TO INTERROGATORY NO. 4:
    6         The Responding Party objects to this Request, in whole or in part, on the
    7   following grounds: Inadequate Description; Overbroad; Confidential Informatlon;
    8   Unduly Burdensome; Impermissible Discovery; and incorporates the Introduction,
    9   General Objections, and fResponding Party's] Definitions, stated hereinabove
   l0   (specifically including, without limitation, the Responding Party's Objections to the
   11
        Propounding Party's Definitions and Instructions, with regard to any of the Defined
   t2   terms utilized in the Requests).
   13
              By way of explanation, this Request is vague and ambiguous in its reference
   t4   to "marketing strategies;" its definition and description of "marketing strategies" is
   15
        irrelevant to jurisdictional issues; and, for purposes of this jurisdictional discoVoly,
   16
        must be limited to such matters as targeted California or its residents.
   T7
              Subject to the foregoing objection(s), but without waiving the same in whole
   18
        or in part,the Responding Party responds to this Request as follows:
   t9         The Responding Party offers to meet and confer with the Propounding Putty,
   20
        through counsel, at any mutually convenient time and in accordance with the Local
   2t   Rules, to attempt in good faith to resolve informally any differences or disputes that
   22
        may exist between the parties with respect to this Request and the aforestated
   23
        objections, and insofar as counsel are able        to resolve the parties'        differences
   24
        successfully by stipulation, the Responding Party shall be ready, willing and able to
   25
        provide such other relevant and non-privileged information as is called for by the
   26
        Request, as interpreted or modified per the parties' stipulation after meeting and
   27
        conferring, within a reasonable time thereafter.
   28
                          RY
                                                   15
                                                                  RESP   & OBJECS TO PLTFS lST INTERROGS
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    1
              IDENTIFY all posts on YOUR SOCIAL MEDIA ACCOUNTS in which YOU
    2   promoted an event that CARDI B would be attending in California.
    a
    J   RESPONSE TO INTERROGATORY NO. 5:
    4         The Responding Parly objects to this Request, in whole or in part, on the
    5   following grounds: Inadequate Description; Overbroad; Tax Returns; Privacy;
    6   Unduly Burdensome; Impermissible Discovery; and incorporates the Introduction,
    7   General Objections, and [Responding Party's] Definitions, stated hereinabove
    I   (specifically including, without limitation, the RespondingPafi's Objections to the
    9   Propounding Party's Definitions and Instructions, with regard to any of the Defined
   l0   terms utilized in the Requests).
   11
              By way of explanation, this Request is vague and ambiguous in its reference
   I2   to "posts" and "promoted."
   13
              Subject to the foregoing objection(s), but without waiving the same in whole
   T4
        or in part, the Responding Party responds to this Request as follows:
   15
              The Responding Party offers to meet and confer with the Propounding Pu.ty,
   t6   through counsel, at any mutually convenient time and in accordance with the Local
   I7   Rules, to attempt in good faith to resolve informally any differences or disputes that
   18
        may exist between the parties with respect to this Request and the aforestated
   T9
        objections, and insofar as counsel are able        to resolve the parties' differences
   20
        successfully by stipulation, the Responding Party shall be ready, willing and able to
   2l   provide such other relevant and non-privileged information as is called for by the
   22
        Request, as interpreted or modified per the parties' stipulation after meeting and
   23
        conferring, within a reasonable time thereafter.
   24
        INTERROGATORY NO. 6:
   25
              IDENTIFY all geographical places inthe       State of California YOU visited from
   26
        January 1,2016 through the present, and the dates YOU visited them.
   27
        RESPONSE TO INTERROGATORY NO. 6:
   28
              The Responding Party objects to this Request, in whole or in part, on the
                                                  t6
                                                                   RESP   & OBJECS TO PLTFS IST INTERROGS
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    1    following grounds: Inadequate Description; Overbroad; Privacy; Unduly
    2    Burdensome; Impermissible Discovery; and incorporates the Introduction, General
    J^   Objections, and [Responding Party's] Definitions, stated hereinabove (specifically
    4    including, without limitation, the Responding Party's Objections to the Propounding
    5    Party's Definitions and Instructions, with regard to any of the Defined terms utilized
    6    in the Requests).
    7          By way of explanation, this Request is, as to dates, duplicative of                 Special
    8    Interrogatory No. 1. By "geographical places" the Responding Party will interpret
    9    this as calling for naming of cities. Additionally, as to KSR and Washpoppin, this is
   10    vague and ambiguous as to whom is referred to as     "YOIIR agent or employee."
   11
               Subject to the foregoing objection(s), but without waiving the same in whole
   T2
         or in part, the Responding Party responds to this Request as follows:
   13
               The Responding Party offers to meet and confer with the Propounding Party,
   T4
         through counsel, at arry mutually convenient time and in accordance with the Local
   15
         Rules, to attempt in good faith to resolve informally any differences or disputes that
   T6
         may exist between the parties with respect to this Request and the aforestated
   t7    objections, and insofar as counsel are able        to resolve the parties'           differences
   18
         successfully by stipulation, the RespondingParty shall be ready, willing and able to
   t9    provide such other relevant and non-privileged information as is called for by the
   20
         Request, as interpreted or modified per the parties' stipulation after meeting and
   2l    conferring, within a reasonable time thereafter.
   22
         INTERROGATORY NO. 7:
   23
               IDENTIFY the total amount of sales of GBMV        1.

   24
         RESPONSE     TO INTERROGATORY NO. 7:
   25
               The Responding ParW objects to this Request, in whole or in part, on the
   26
         following grounds: Inadequate Description; Overbroad; Confidential Information;
   27
         Unduly Burdensome; Impermissible Discovery; CC 3294-3295; and incorporates the
   28
         Introduction, General Objections, and fResponding Party's] Definitions, stated
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    1
        hereinabove (specifically including, without limitation, the Responding Party's
    2   Objections to the Propounding Party's Definitions and Instructions, with regard to
    3   any of the Defined terms utilized in the Requests).
    4          By way of explanation, this Request is vague and ambiguous in its reference
    5   to "sales," in that it is not clear whether this asks for unit sales, dollar value of sales,
    6   sales of different configurations or products including    GBMV1, etc. For purposes of
    7   this jurisdictional discovery, must be limited to sales taking place in, or purchases
    8   known to have been made by residents         of California, and income received              from
    9   California residents.
   10          Subject to the foregoing objection(s), but without waiving the same in whole
   11
        or in part, the Responding Party responds to this Request as follows:
   t2         The Responding Party offers to meet and confer with the Propounding Pafqr,
   13
        through counsel, at arry mutually convenient time and in accordance with the Local
   T4
        Rules, to attempt in good faith to resolve informally any differences or disputes that
   15
        may exist between the parties with respect to this Request and the aforestated
   t6   objections, and insofar as counsel are able         to resolve the parties'          differences
   t7   successfully by stipulation, the Responding Party shall be ready, willing and able to
   18
        provide such other relevant and non-privileged information as is called for by the
   l9   Request, as interpreted or modified per the parties' stipulation after meeting and
   20
        conferring, within a reasonable time thereafter.
   2l   INTERROGATORY NO.            8:
   22
              IDENTIFY the total amount of sales of each single on GBMVI.
   23
        RESPONSE TO INTERROGATORY NO. 8:
   24
              The Responding Party objects to this Request, in whole or in part, on the
   25
        following grounds: Inadequate Description; Overbroad; Confidential Information;
   26
        Unduly Burdensome; Impermissible Discovery; CC 3294-3295; and incorporates the
   27
        Introduction, General Objections, and fResponding Party's] Definitions, stated
   28
        hereinabove (specifically including, without limitation, the Responding Party's
                                                     18
                                                                     RESP   & OBJECS TO PLTFS IST INTERROGS
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    1
        Objections to the Propounding Party's Definitions and Instructions, with regard to
    2   any of the Defined terms utilized in the Requests).
    a
    J         By way of explanation, this Request is vague and ambiguous in its reference
    4   to "sales," in that it is not clear whether this asks for unit sales, or dollar value of
    5   sales. For purposes of this jurisdictional discovery, must be limited to sales taking
    6   place in, or purchases known to have been made by residents of, Califomia, and
    7   income received from California residents.
    8         Subject to the foregoing objection(s), but without waiving the same in whole
    9   or in part, the Responding Party responds to this Request as follows:
   10         The Responding Parfy offers to meet and confer with the Propounding Putty,
   11
        through counsel, at any mutually convenient time and in accordance with the Local
   t2   Rules, to attempt in good faith to resolve informally arry differences or disputes that
   13
        may exist between the parties with respect to this Request and the aforestated
   t4   objections, and insofar as counsel are able        to resolve the parties' differences
   15
        successfully by stipulation, the Responding Party shall be ready, willing and able to
   t6   provide such other relevant and non-privileged information as is called for by the
   t7   Request, as interpreted or modified per the parties' stipulation after meeting and
   18
        conferring, within a reasonable time thereafter.
   t9   INTERROGATORY NO. 9:
   20
              IDENTIFY the total amount of profits, royalties andlor other compensation
   2l   YOU received from sales of GBMVI.
   22
        RESPONSE TO INTERROGATORY NO. 9:
   23
              The Responding Party objects to this Request, in whole or in part, on the
   24
        following grounds: Inadequate Description; Overbroad; Confidential Information;
   25
        Unduly Burdensome; Impermissible Discovery; CC 3294-3295; and incorporates the
   26
        Introduction, General Objections, and [Responding Party's] Definitions, stated
   27
        hereinabove (specifically including, without limitation, the Responding Party's
  28
        Objections to the Propounding Party's Drefinitions and Instructions, with regard to

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    1
         any of the Defined terms utilized in the Requests).
    2          By way of explanation, this Request is vague and ambiguous in its reference
    .)
    J    to "sales," and in its use of the terms "profits, royalties andlor other compensation."
    4    For purposes of this jurisdictional discovêr¡,, must be limited to sales taking place in,
    5    or purchases known to have been made by residents of, California, and income
    6    received from California residents.
    7           Subject to the foregoing objection(s), but without waiving the same in whole
    8    or in part, the Responding Party responds to this Request as follows:
    9          The Responding Pafty offers to meet and confer with the Propounding Palqr,
   10    through counsel, at arry mutually convenient time and in accordance with the Local
   11
         Rules, to attempt in good faith to resolve informally aîy differences or disputes that
   T2
         may exist between the parties with respect to this Request and the aforestated
   13
         objections, and insofar as counsel aÍe able        to resolve the parties'         differences
   I4    successfully by stipulation, the Responding Party shall be ready, willing and able to
   15
         provide such other relevant and non-privileged information as is called for by the
   t6    Request, as interpreted or modified per the parties' stipulation after meeting and
   T7
         conferring, within a reasonable time thereafter.
   18
         INTERROGATORY NO. 10:
   T9
               IDENTIFY the total amount of profits, royalties andlor other compensation
   20
         YOU received from sales of each single on GBMVI.
   2t    RESPONSE TO INTERROGATORY NO. 10:
   22
               The Responding Party objects to this Request, in whole or in part, on the
   23
         following grounds: Inadequate Description; Overbroad; Confidential Information;
   24
         Unduly Burdensome; Impermissible Discovery; CC 3294-3295; and incorporates the
   25
         Introduction, General Objections, and fResponding Party's] Definitions, stated
   26
         hereinabove (specifically including, without limitation, the Responding Party's
   27
         Objections to the Propounding Party's Definitions and Instructions, with regard to
   28
         any of the Defined terms utilized in the Reguests).

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    I         By way of explanation, this Request is vague and ambiguous in its reference
    2   to "sales," and in its use of the terms "profits, royalties andlor other compensation."
    a
    J   For purposes of this jurisdictional discovery, must be limited to sales taking place in,
    4   or purchases known to have been made by residents of, California, and income
    5   received from California residents.
    6         Subject to the foregoing objection(s), but without waiving the same in whole
    7   or in part, the Responding Party responds to this Request as follows:
    8         The Responding Party offers to meet and confer with the Propounding Pa(ry,
    9   through counsel, at arty mutually convenient time and in accordance with the Local
   10   Rules, to attempt in good faith to resolve informally any differences or disputes that
   11
        may exist between the parties with respect to this Request and the aforestated
   t2   objections, and insofar as counsel are able        to resolve the parties'        differences
   13
        successfully by stipulation, the Responding Party shall be ready, willing and able to
   I4   provide such other relevant and non-privileged information as is called for by the
   15
        Request, as interpreted or modified per the parties' stipulation after meeting and
   T6
        conferring, within a reasonable time thereafter.
   T7
        INTERROGATORY NO. 11:
   l8         IDENTIFY all revenues from sales of tickets to events at which CARDI B
   T9
               in the State of California from January l, 2016 through the present,
        appeared
   20
        INCLUDING but not limited to the promotional tour for GBMV1 (the
   2t   "(Underestimated Tour" ).
   22
        RESPONSE TO INTERROGATORY NO. 11:
   23
              The Responding Party objects to this Request, in whole or in part, on the
   24
        following grounds: Inadequate Description; Overbroad; Confidential Information;
   25
        Unduly Burdensome; Impermissible Discovery; CC 3294-3295; and incorporates the
   26
        Introduction, General Objections, and fResponding Party's] Definitions, stated
   27
        hereinabove (speciflrcally including, without limitation, the Responding Party's
   28
        Objections to the Propounding Parfy's Drefinitions and Instructions, with regard to
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     1
         any of the Defined terms utilized in the Requests).
    2          By way of explanation, this Request is vague and ambiguous in its reference
    3    to "revenues." Irrelevant in so far as it refers to events at which the Responding Party
    4    merely "appeared" (as opposed        to   performed,    or   events which featured the
    5    Responding Party as      a   pre-arranged celebrity    guest). For           purposes     of   this
    6    jurisdictional discov€ly, must be limited to events related to GBMV1.
    7          Subject to the foregoing objection(s), but without waiving the same in whole
    8    or in part, the Responding Party responds to this Request as follows:
    9          The Responding Party offers to meet and confer with the Propounding Pafty,
   10    through counsel, at any mutually convenient time and in accordance with the Local
   11
         Rules, to attempt in good faith to resolve informally any differences or disputes that
   1,2
         may exist between the parties with respect to this Request and the aforestated
   13
         objections, and insofar as counsel are able         to resolve the parties' differences
   I4    successfully by stipulation, the Responding Party shall be ready, willing and able to
   15
         provide such other relevant and non-privileged information as is called for by the
   t6    Request, as interpreted or modified per the parties' stipulation after meeting and
   T7
         conferring, within a reasonable time thereafter.
   18
         INTERROGATORY NO. 12:
   T9
               IDENTIFY all profits that YOU or anyone on YOUR behalf earned from
   20
         events which CARDI      B or YOU appeared          andlor attended in order to promote
   2t    GBMVl.
   22

   23
               The Responding Party objects to this Request, in whole or in part, on the
   24
         following grounds: Inadequate Description; Overbroad; Confidential Information;
   25
         Unduly Burdensome; Impermissible Discovery;CC 3294-3295; and incorporates the
  26
         Introduction, General Objections, and fResponding Party's] Definitions, stated
  27
         hereinabove (specifically including, without limitation, the Responding Party's
  28
         Objections to the Propounding Party'sDefrnitions and Instructions, with regard to

                                                                      RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                                       TO DEF KSR GROUP, LLC
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    1
         any of the Defined terms utilized in the Requests).
    2           By way of explanation, this Request is vague and ambiguous in its reference
    J^   to "revenues." Irrelevant in so far as it refers to events at which the Responding Party
    4    merely "appeared" (as opposed        to         or events which featured the
                                                   performed,
    5    Responding Par,ty as a pre-arranged celebrity guest). For purposes of this
    6    jurisdictional discovery, must be limited to events taking place in California.
    7    Additionally, as to KSR and Washpoppin, vague and ambiguous as to whom is
    8    referred to as "YOIIR agent or employee."
    9           Subject to the foregoing objection(s), but without waiving the same in whole
   10    or in part, the Responding Party responds to this Request as follows:
   11
                The Responding Party offers to meet and confer with the Propounding PaW,
   T2
         through counsel, at any mutually convenient time and in accordance with the Local
   13
         Rules, to attempt in good faith to resolve informally any differences or disputes that
   t4    may exist between the parties with respect to this Request and the aforestated
   15
         objections, and insofar as counsel are able        to resolve the parties'        differences
   t6    successfully by stipulation, the Responding Party shall be ready, willing and able to
   T7
         provide such other relevant and non-privileged information as is called for by the
   18
         Request, as interpreted or modified per the parties' stipulation after meeting and
   t9    conferring, within a reasonable time thereafter.
   20    INTERROGATORY NO. 13:
   2T
               IDENTIFY all contracts RELATED TO GBMVI, INCLUDING but not
   22
         limited to recording, COVER ART, concerts, travel, costume, hair and makeup, non-
   23
         concert appearances, licensing, andlor merchandising from January 1,2016 through
   24
         the present.
   25
         RESPONSE TO INTERROGATORY NO. 13:
   26
               The Responding Party objects to this Request, in whole or in part, on the
   27
         following grounds: Inadequate Description; Overbroad; Confidential Information;
   28
         Privacy; Unduly Burdensome; Impermissible Discovery; CC 3294-3295; and
                                                    23
                                                                   RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                                    TO DEF KSR GROUP, LLC
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    1
        incorporates the Introduction, General Objections, and fResponding Party's]
    2   Definitions, stated hereinabove (specifically including, without limitation,                the
    a
    J   Responding Party's Objections       to the Propounding Party's Definitions and
    4   Instructions, with regard to any of the Defined terms utilized in the Requests).
    5         By way of explanation, this Request is irrelevant, and for purposes of this
    6   jurisdictional discovery may only relate to such contracts as were either executed in
    7   California, to be performed in Califomia, or entered into with persons known to be
    8   residing in, or entities known to be domiciled in, California. Moreover, under the
    9   Court's Order of May 3,2018, this must exclude contracts with entities that merely
   10   engaged in the online promotion, sale, and distribution of sound recordings such as
   11
        GBMVI, and that may happen to be organized, domiciled or located or doing
   T2
        business in California
   13
              Subject to the foregoing objection(s), but without waiving the same in whole
   t4   or in part, the Responding Party responds to this Request as follows:
   15
              The Responding Party offers to meet and confer with the Propounding Party,
   T6
        through counsel, at any mutually convenient time and in accordance with the Local
   t7   Rules, to attempt in good faith to resolve informally any differences or disputes that
   18
        may exist between the parties with respect to this Request and the aforestated
   T9
        objections, and insofar as counsel are able        to resolve the parties' differences
   20
        successfully by stipulation, the Responding Party shall be ready, willing and able to
   2t   provide such other relevant and non-privileged information as is called for by the
   22
        Request, as interpreted or modified per the parties' stipulation after meeting and
   23
        conferring, within a reasonable time thereafter.
   24
        INTERROGATORY NO. 14:
   25
              IDENTIFY the graphic designer(s) and/or photographer(s) who created the
   26
        COVER ART for GBMVI.
   27
        RESPONSE TO INTERROGATORY NO. 14:
   28
              The Responding Par,ty objects to this Request, in whole or in part, on the
                                                  24
                                                                  RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                                   TO DEF KSR GROUP, LLC
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    1   following grounds: Inadequate Description; Overbroad; Unduly Burdensome;
    2   Impermissible Discovery; and incorporates the Introduction, General Objections, and
    a
    J
        [Responding Party's] Definitions, stated hereinabove (specifically including,
    4   without limitation, the Responding Party's Objections to the Propounding Party's
    5   Definitions and Instructions, with regard to any of the Defined terms'utilized in the
    6   Requests).
    7         By way of explanation, this Request is irrelevant. The identity of the graphic
    8   designer andlor photographer is not a jurisdictional issue of fact, and was not among
    9   the issues specified by the Court in its Order of May 23,2018, as being properly the
   10   subject of this jurisdictional discovery.
   11
              Subject to the foregoing objection(s), but without waiving the same in whole
   T2
        or in part, the Responding Party responds to this Request as follows:
   13
              The Responding Par,ty offers to meet and confer with the Propounding Party,
   I4   through counsel, at any mutually convenient time and in accordance with the Local
   l5   Rules, to attempt in good faith to resolve informally any differences or disputes that
   t6   may exist between the parties with respect to this Request and the aforestated
   l7   objections, and insofar as counsel are able          to resolve the parties' differences
   18
        successfully by stipulation, the Responding Party shall be ready, willing and able to
   T9
        provide such other relevant and non-privileged information as is called for by the
   20
        Request, as interpreted or modified per the parties' stipulation after meeting and
   2t   conferring, within a reasonable time thereafter.
   22
        INTERROGATORY NO. 15:
   23
              IDENTIFY       all   communications        with the graphic designer(s)              andlor
   24
        photographer(s) who created the COVER ART for GBMVI.
   25
        RESPONSE TO INTERROGATORY NO. 15:
   26
              The Responding Party objects to this Request, in whole or in part, on the
   27
        following grounds: Inadequate Description; Overbroad; Unduly Burdensome;
   28
        Impermissible Discovery; and incorporates the Introduction, General Objections, and
                                                    25
                                                                    RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                                     TO DEF KSR GROUP, LLC
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    1
        fResponding Party's]     Definitions, stated hereinabove (specifically                including,
    2   without limitation, the Responding Party's Objections to the Propounding Party's
    J   Definitions and Instructions, with regard to any of the Defined terms utilized in the
    4   Requests).
    5         By way of explanation, this Request is irrelevant. Communications with the
    6   graphic designer andlor photographer are not    a   jurisdictional issue of fact, and were
    7   not among the issues specified by the Court in its Order of May 23,2018, as being
    8   properly the subject of this jurisdictional discovery
    9         Subject to the foregoing objection(s), but without waiving the same in whole
   10   or in part,Ihe Responding Party responds to this Request as follows:
   11
              The Responding Party offers to meet and confer with the Propounding Putfy,
   t2   through counsel, at any mutually convenient time and in accordance with the Local
   13
        Rules, to attempt in good faith to resolve informally any differences or disputes that
   l4   may exist between the parties with respect to this Request and the aforestated
   15
        objections, and insofar as counsel are able         to resolve the parties'         differences
   t6   successfully by stipulation, the Responding Party shall be ready, willing and able to
   T7
        provide such other relevant and non-privileged information as is called for by the
   18
        Request, as interpreted or modified per the parties' stipulation after meeting and
   t9   conferring, within a reasonable time thereafter.
   20

   2l   Dated: June 14,2018                     Respectfully Submitted,
   22
                                                ALAN G. DOWLTNG, P.C.
   23
                                                Bv: /s/ Alan G. Dowline
  24
                                                        Alan G. Dowling
  25                                           Attorney þr Defendants

  26

  27

  28
                                                  26
                                                                    RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                                     TO DEF KSR GROUP, LLC
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    1                                PROOF OF'SERVICE
    2
        STATE OF CALIFORNIA,
    3   COUNTY OF LOS ANGELES
    4          I am employed in the County of Los Angeles, State of California. I am over
        the age of 18 and not a pwfy to the within action. My business address is 1043
    5   Pacific St., No. 1, Santa Monica, California 90405.
    6        On June 18,2018, I served the foregoing document, described as:
    7
        RESPONSE AND OBJECTIONS TO "PLAINTIFFIS FIRST SET OF
        SPE CIAL INTERROGATORIE S (JURI SDICTIONAL) TO DEFENDANT
    8   KSR GROUP, LLC"
    9
        on each of the interested parties in this action, by the following means:
        _IF PERSONAL SERVICE: I placed _ the original [or] X a true copy thereof
   10   enclosed in a sealed envelope addressed as set forth on the attached Service List, and
   11
        caused the same to be delivered via messenger by hand to the offices ofthe addressee.
         lFor Personal Service signature must be that of messenger.]
   T2
        _x_IF SERVICE BY MAIL: I placed _ the original [or] X a true copy thereof
   13
        enclosed in a sealed envelope addressed as set forth on the attached Service List,
        and deposited such envelope in the mail at Santa Monica, California. The envelope
   t4   was mailed with postage thereon fully prepaid. I am "readily familiar" with the
   15   firm's practice of collecting and processing coffespondence for mailing. Under that
        practice it would be deposited with the U.S. postal service on that same day with
   16   postage thereon fully prepaid at Santa Monica, California in the ordinary course of
   T7   business. I am aware that on motion of the party served, service is presumed invalid
        if the postal cancellation date or postage meter date is more than one day after date
   18   of deposit for mailing in affrdavit.
   19   _ IF SERVICE BY FACSIMILE TRANSFER: On June 18,2018, at or about
        a.ml_p.m. (i.e., between the hours of 9:00 a.m. and 5:00 p.m.), I transmitted by
   20   facsimile transfer ("fa*") a copy of the foregoing document, from my fax machine
   2t   the telephone number of whichis (2$ 238-5366, to each person ("fa* recipient")
        indicated on the attached Service List on whom the foregoing document was thus
   22   served. The transmission was reported as complete and without error, and a copy of
   23   the transmission report so indicating was properly issued by the transmitting fax
        machine and is attached hereto. Service by fax is permissible in this action in that
   24   the parties thus served have agreed thereto and a written confirmation of that
   25   agreement has been obtained. The fax machine telephone number for the fax
        machine maintained by each fax recipient (and last given by each such person on
   26   any document which he or she has filed in this action and served on the party making
   27   this service) is as set forth on the attached Service List. I understand that (subject
        to the other provisions of C.C.P. $ 1013 and C.R.C. Rule 2008) service by fax is
  28    complete at the time of transmission, i.e., at the time of receipt of the entire
                                                 27
                                                                 RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                                  TO DEF KSR GROUP, LLC
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     1
         document by the fax recipient's fax machine, and that service by fax that occurs
    2    after 5:00 p.m. shall be deemed to has occurred on the next court day.
    a
            COURTESY COPY SENT               BY FACSIMILE TRANSFER ("FAX''):
    J    Concurrently with service by other means as indicated herein, I have also caused an
    4    additional courtesy copy thereof to be transmitted by fax to said counsel, as
         indicated on the attached Service List.
    5         COURTESY COPY SENT              BY INTERNET ELECTRONIC MAIL
    6    TRANSFER      ("E-MAIL"): In addition to the foregoing, I caused a courtesy   copy
         thereof to be attached to an E-mail message, and thus transmitted by E-mail, to the
    7    lead opposing counsel indicated below, at the email address customarily used by
    8    said counsel heretofore in this action for sending and receiving communications.
                Executed on June 18, 2018, at Santa Monica, California.
    9
         _ (Federal) I declare under penalty of perjury under the laws of the United States
   10    ofAmericaandthe State of Californiathatl am employed by the office of a member
         of the bar of this Court at whose direction the service was made.
   11
           X (California) I declare under penalty of perjury under the laws of the State of
   l2    California that the above is true and correct.

   13
                                               Alan G. Dowline
   1,4                                         ALAN G. DOWLING
   15

   T6

   I7
   18

   T9

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                                                 28
                                                                 RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                                  TO DEF KSR GROUP, LLC
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    1                                      SERVICE LIST
    2
    .t
                                  Brophy v. Almanzar et al.
    J                  USDC, CD Cal, Case No. 8:17-cv-01885-CJC (JPRx)
    4

    5    Counsel and PartyÆarties Represented:
    6
         A. Barry Cappello (CSB No. 037835)
    7    abc@cappellonoel.com
    8    Lawrence J. Conlan (CSB No. 221350)
         Ic onlan@c app e I I ono e 1. c om
    9    Wendy D. V/elkom (CSB No. 156345)
   10    wwe lkom @c app ellono e l. c om
         CAPPELLO & NOËL LLP
   11
         831 State Street
   T2    Santa Barbara, CA 93101-3227
         Telephone: (805)564 -2444
   13
         Facsimile: (805)965-5950
   t4    Attorney s for P I aint iff

   15
         Service mailins addres s
   t6
         Lawrence J. Conlan, Esq.
   I7    CAPPELLO & NOÉL LLP
   18    831 State Street
         Santa Barbara, CA 93l0I-3227
   t9
   20

   2L

   22

   23

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   28
                                                 29
                                                          RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                           TO DEF KSR GROUP, LLC
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                                    #:889


    1
         AIan G. Dowling
    2    (California Bar No. 70686)
         Email: agdowling@aol.com
    J    ALAN G. DOWLING,
    4    A PROFESSIONAL CORPORATION
         1043 Pacific Street, No. 1
    5    Santa Monica, California 90405
    6    Telephone: (8 1 8) 679-6395
         Fax: (424) 238-5366
    7    Attorney   þr   Defendants
    8

    9                            UNITED STATES DISTRICT COURT
   10                           CENTRAL DISTRICT OF CALIFORNIA
   11

   t2    KEVIN MICHAEL BROPHY, JR.,           AN       Case No. 8: 17-cv-0L885-CJC(JPRx)
         individual,
   13                                                  Hon. Cormac J. Carney,
   t4                           Plaintiffs,            U.S. District Judge
                            V
   15                                                  RESPONSE AND OBJECTIONS
   T6    BELCALIS ALMANZARAKA CARDI B,                 TO "PLAINTIFF''S FIRST SET OF
         an individual; KSR GROUP, LLC, a New          SPECIAL INTERROGATORIES
   T7    York limited liability company;               (JURTSDTCTIONAL) TO
   18    WASHPOPPIN, fNC., a New York                  DEFENDANT WASHPOPPIN,
         corporation; and DOES l-20, inclusive,        INC."
   T9

   20                           Defendants.

   2I
   22

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                                                   1
                                                               RESP   & OBJECS TO PLTFS I ST INTERROGS
                                                                              TODEF WASHPOPPIN, INC.
Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 249 of 285 Page ID
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    1    PROPOUNDING              PARTY:        Plaintiff
    2    RESPONDING             PARTY:          Defendant V/ASHPOPPIN, INC.
    -t
    J    SET   NO.:                             One
    4              Defendant WASHPOPPIN,              INC. (hereinafter "Defendant" or                 "the
    5                                                to "PLAINTIFF'S
         Responding Panty") hereby responds and objects as follows
    6    FIRST SET OF' SPECIAL INTERROGATORIES (JURISDICTIONAL) TO
    7    DEFENDANT WASHPOPPIN, INC.,' dated May 14, 2018 (the "Requests"),
    8    pursuant to Rule 33 of the Federal Rules of Civil Procedure.
    9                                                                 AND D
   10              1.     The Responding Party has not fully completed an investigation of all the
   11    facts relating to the subject matter of this action, has not completed all discovery in
   t2    this action, ffid has not completed preparation    fortrial. All ofthe    responses contained
   T3
         herein are based only upon such information and documents as are presently available
   T4
         to and specifically known to the Responding Party, and disclose only those facts and
   15
         documents that presently are known to andlor are avulable to the Responding Party.
   t6    It is anticipated that further independent investigation, discovery, Iegal research            and
   t7    analysis may supply additional information, which may lead to substantial changes to
   18
         the responses set forth below. The following responses are consequently given
   I9    without prejudice to the right of the Responding Party to introduce evidence of any
   20
         subsequently discovered facts or documents which the Responding Party may later
   2l    obøin or recall.
   22
                   2.     The depositions of certain of the witnesses who would or possibly could
   23
         testify   as to the   subject matter ofthe within action have not yet been commenced. The
   24
         documents that would or could form the basis of certain responses are still in the
   25
         process of being discovered, and all such relevant documents may not have yet been
   26
         produced or examined. Further, the significance of documents in the possession of the
   27
         RespondingParfy, or presently in the possession of the Propounding Party or a third
   28
         party but not yet obtained from or produced by them, may only become apparent upon
                                                                       RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                                      TO DEF WASHPOPPIN, INC.
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                                    #:891


    1
        reviewing them in the context of other documents which have not yet been obtained
    2   or in the context of testimony not yet taken shedding light upon their relevance.
    3          3.        The Responding Party accordingly reserves the right to change any and
    4   all responses set forth or referred to below, as additional facts may be ascertained,
    5   documents discovered, analyses made, legal research completed,              ffid   contentions
    6   made. The responses contained below are made in a good faith effort to supply                 as

    7   much factual information and as much specification of the basis for legal contentions
    8   as is presently known and available to the   RespondingParty,but should in no way be
    9   construed to the prejudice ofthe Responding Party in relation to further investigation
   10   and/or discovery.
   t1         4.         This Responding Party's responses are made without waiver of, but,
   t2   on the contrary, are intended to preserve and do preserve the following rights:
   13
                         a.    the right to raise all questions of authenticity, foundation,
   t4   relevancy, materiality, privilege and admissibility as evidence for any purpose,              of
   15
        the documents or information identified in response to the Requests, which may
   t6   arise in subsequent proceedings in, or trial of, this or any other action;
   T7
                         b.    the right to object on any ground to the introduction into
   18
        evidence    of   or the use of, said documents or information identified in response to
   t9   the Requests in any subsequent proceedings in, or trial    of this or any other        action;
   20
                         c.    the right to object on any ground at arry time to other document
   2T
        requests or discovery involving said documents or information; and
   22
                         d.    the right to amend or supplement this response in the event that
   23
        any document or information is in the Responding Party's possession, custody or
   24
        control, but is unintentionally omitted from production at this time. Additionally,
   25
        inadvertent identification or production of privileged documents or information by
  26
        the Responding Party is not intended as, and shall not be construed as, a waiver              of
  27
        any applicable privilege.
  28
              5.         This Responding Party furth3r specifically objects to each and every
                                                     J
                                                                    RESP   & OBJECS TO PLTFS 1ST INTERROGS
                                                                                   TO DEF WASHPOPPIN, INC.
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    1
        discovery Request in the set to which this response is directed, to the extent that it:
    2                 a.    seeks documents     or information which are protected by the
    3   attorney-client privilege or the attorney work product doctrine, or by the right of
    4   privacy provided for in the Constitution of the United States of America or the
    5   Constitution of the State of California, or which are by law otherwise privileged or
    6   exempt from discovery;
    7                 b.    attempts or purports to seek the disclosure of documents or
    8   information to which the Propounding Party has access or which the Propounding
    9   Party has already obtained;
   10                 c.    attempts or purports to impose obligations on the Responding
   11   PaW exceeding those imposed or authorized by the Federal Rules of Civil
   t2   Procedure andlor the applicable Local Rules of the Court before which this action
   13   is pendingi or
   t4                 d.    seeks information,   or documents generated, outside the time
   15
        period relevant to this action or otherwise beyond the scope of the issues relevant
   16
        to this action.
   T7
               6.     The Responding Party further objects to any ofthe requests which seek
   18
        discovery of communications with or the opinions of any expert(s) not designated
   T9
        to testiff on behalf of the Responding Party in this action, as such information is
   20
        not discoverable under applicable law.
   2l          7.     For purposes of the following responses to requests for production             of
   22
        documents and things, and the objections stated therein, the following terms shall
   23
        have the following meanings:
   24
                      a.    "Inadequate Description" shall signify an objection on the
   25
               grounds that the Request does not describe the information, documents or
   26
               matter sought with reasonable particularity (including, without limitation,
   27
               where the Request taken as a whole, or the terminology used therein, is
   28
               vague, ambiguous or unintelligible);
                                                   4
                                                                   RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                                  TO DEF WASHPOPPIN, INC.
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    1               b.     "Irrelevant" shall signiff an objection on the grounds that the
    2         Request seeks matter that is irrelevant to the subject matter of this action and
    a
    J         not calculated to lead to the discovery of admissible evidence;
    4               b.     "Overbroad" shall signiff an objection on the grounds that the
    5         Request is overbroad in scope, either with reference to time period, subject
    6         matter, or otherwise;
    7               c.     "Attorney-Client-Privitege" shall signiff an objection on the
    8         grounds that the Request calls for production       of     documents and things
    9         protected by the attorney-client-privilege   ;

   10               d.     "Attorney Work Product" shall signifu an objection on the
   11         grounds that the Request calls for production       of     documents and things
   l2         protected by the attorney work product doctrine;
   13
                    e.     "Confidential Information" shall signiff an objection on the
   14         grounds that the Request improperly calls for discovery              of confidential
   15
              business, financial, proprietary, trade secret or other sensitive information or
   t6         documents, the disclosure    of which would be harmful to the Responding
   t7         Party or a third party;
   18
                    f.     "Tax Returns" shall signifu an objection on the grounds that
   t9         the Request improperly seeks production of documents and things protected
   20
              by the privilege against disclosure of the contents of income tax returns;
   2t               g.     "Privacy" shall signifu an objection on the grounds that the
   22                                          of documents and things protected
              Request calls for production                                                   against
   23
              discovery by the Responding Party's right of privacy.
   24                                                                     aî
                    h.     "Unduly Burdensome" shall signi$'                   objection on the
   25
              grounds that the Request improperly seeks production                of   information,
   26
                                  or other matter, already been produced to
              documents and things,                                                               the
   27
             Propounding P*ty, or already in its possession, or available to                      the
   28
             Propounding Party as readily and aI approxim ately equal expense and trouble
                                                   5
                                                                  RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                                 TO DEF WASHPOPPIN, INC.
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    1         as   it would be for the Responding Parly to obtain and provide them, andlor
    2         in the context of this case, and in light of any other objections interposed,
    a
    J         would impose an undue burden, expense or effort upon the Responding Pafry,
    4         or unduly intrude into matters protected by the right of privacy;
    5                 j.    "Impermissible I)iscovery" shall signifu an objection on the
    6         grounds that the Request exceeds the scope of permissible discovery                       as

    7         defined by the applicable provisions        of the California Code of Civil
    8         Procedure; and
    9                 k.    "CC 3294-3295" shall signifr an objection on the grounds that
   10         the Request improperly seeks production of documents and things
   11         concerning the Responding Party's financial condition, in contravention                   of
   T2         (and without the Propounding Party having met the prerequisites of)
   13
              California Civil Code Sections 3294-3295.
   t4         8.      The Responding Party objects to the so-called "Definitions                      and
   15
        Instructions" set forth in the Requests, as follows:
   t6                 a.    Definition and Instruction No. 1 is vague and ambiguous (in
   t7         particular,   but without limitation, in regard to what is meant                           by
   18                                                                         of CARDI B, and the
              "representatives and other persons acting on behalf
   I9         sources within the control of CARDI      B");    compound and confusing, in that it
   20         requires the Responding Party to answer each interrogatory with reference to
   2l         at least seven categories of persons, and innumerable unnamed individuals;
   22
              and, in so far as it is compound, this set of discovery requests taken as a whole
   23
              far exceeds the statutory limit of 25 interrogatories, including                   subparts
   24
              [F.R.Civ.P. 33(a)(1)]. The Responding Party will take this definition             as   merely
   25
              meaning and referring to Defendant BELCALIS ALMANZARaka CARDI B.
   26
                      b.    Definition and Instruction No. 2 is vague and ambiguous (in
   27
              particular, but without limitation, in regard to what is meant by "its afftliates,
   28
              partners, parents, subsidiaries, past or present agents, past or present attorneys,
                                                   6
                                                                     RESP   & OBJECS TO PLTFS 1 ST INTERROGS
                                                                                    TO DEF WASHPOPPIN, INC.
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    1
              servants, employees, representatives,       or others acting at their direction");
    2         compound and confusing, in that        it requires the Responding Party to answer
    J         each interrogatory with reference to at least thirteen categories of persons, and
    4         innumerable unnamed individuals; and, in so far as it is compound, this set               of
    5         discovery requests taken as a whole far exceeds the statutory limit of 25
    6         interrogatories, including subparts [F.R.Civ.P. 33(a)(1)]. The Responding
    7         Party   will take this definition   as merely meaning and referring to Defendant
    8         KSR GROUP, LLC.
    9                 c.     Definition and Instruction No. 3 is vague and ambiguous (in
   10         particular, but without limitation, in regard to what is meant by "its affiliates,
   11         partners, parents, subsidiaries, past or present agents, past or present attorneys,
   t2         servants, employees, representatives, or others acting at their direction");
   13                                                it requires the Responding Party to answer
              compound and confusing, in that
   T4
              each interrogatory with reference to at least thirteen categories of persons, and
   15
              innumerable unnamed individuals; and, in so far as it is compound, this set of
   t6         discovery requests taken as a whole far exceeds the statutory limit of 25
   L7
              interrogatories, including subparts [F.R.Civ.P. 33(a)(1)]. The Responding
   18
              Party   will take this definition   as merely meaning and referring to Defendant
   I9         V/ASI{POPPIN, INC.
   20
                      d.     Definition and Instruction No. 6 is confusing and open-ended.
   2I                 e.     Definition and Instruction No. 7 is vague and ambiguous (in
  22
             particular, but without limitation, in regard to what is meant by ooconcerning,
  23
             regarding, referring, describing, pertaining to, evidencing, constituting, or in
  24
              any way related to, directly          or indirectly" and how those terms are
  25
             distinguishable, one from the others); compound and confusing, in that it
  26
             requires the Responding Party to speculate as to the meaning and distinctions
  27
             between the numerous separate terms included in the definition and to attempt
  28
             to apply them in responding to each of the separate interrogatories; and, in              so
                                                      7
                                                                   RESP   & OBJECS TO PLTFS I ST INTERROGS
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              far as it is compound, this set of discovery requests taken as a whole far
    2         exceeds the statutory   limit of 25 interrogatories, including subparts [F.R.Civ.P.
    J         33(a)(1)1. The Responding Party will interpret this definition as consisting
    4         merely of the defined term, "reIated."
    5                 f.      Definition and Instruction No. 8 is compound and confusing, in
    6         that   it requires the Responding Party to speculate as to the meaning and
    7         distinctions between the numerous separate terms included in the definition
    8         and to attempt to apply them in responding to each of the separate discovery
    9         requests; and, in so far as it is compound, this set of discovery requests taken
   10         as a whole far exceeds the statutory limit of 25 interrogatories, including
   11
              subparts [F.R.Civ.P. 33(a)(1)]. The Responding Party               will   interpret this
   T2
              definition as consisting merely           of the terms "writing," "recording,"
   13
              "photograph," "original" and "dupIicate," as defined in Federal Rules of
   T4
             Evidence 1001.
   15
                      g.      Definition and Instruction No. 9 is vague and ambiguous (in
   l6        particular, but without limitation, in its reference, with regard to "ESI," to
   t7        numerous technological and computer software-related terms                         of   art,
   18
              abbreviations and extensions, which presumes a degree of knowledge and
   T9
             expertise that neither the Defendants, nor their counsel, claim to possess);
  20
             compound and confusing, inthat it requires the Responding Parry to speculate
  2l         as to the meaning and distinctions between the numerous separate terms
  22
             included in the definitions of "DOCUMENTS" and "ESI" and to attempt to
  23
             apply them in responding to each of the separate discovery requests; and, in so
  24
             far as it is compound, this set of discovery requests taken as a whole far
  25
             exceeds the statutory    limit of 25 interrogatories, including subparts [F.R.Civ.P.
  26
             33(aX1)1. The Responding Party will interpret this definition as consisting
  27
             merely        to "writings,"   "recordings," 'ophotographs," "originals"                and
  28
             "duplicates," as defined in Federal Rules of Evidence 1001, that have been
                                                    I
                                                                   RESP   & OBJECS TO PLTFS 1ST INTERROGS
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    1         stored electronically, e.g., in, on or by means of a computer.
    2                h.      Definition and Instruction No. 10 is vague and ambiguous (in
    -t
    J         particular, but without limitation, in its reference to numerous technological
    4         and computer software-related terms of art, abbreviations and extensions,
    5         which presumes a degree of knowledge and expertise that neither the
    6         Defendants, nor their counsel, claim to possess); also vague and ambiguous in
    7         its reference to things "within the possession, custody or control of sources and
    8         persons     with YOUR control, including any of YOUR attorneys, agents                   and
    9         other sources within YOUR control;" violative of attomey client privilege and
   10         work product doctrines in seeking information in gross from Defendants'
   11
              attorneys; compound and confusing, in that      it requires the Responding             Party
   t2         to speculate as to the meaning and distinctions between the numerous separate
   13
              terms included in the definition and to attempt to apply them in responding to
   t4         each of the separate discovery requests; and, in so far as          it is compound, this
   15
              set of discovery requests taken as a whole far exceeds the statutory             limit of 25
   t6         interrogatories, including subparts [F.R.Civ.P.   33   (aX 1 )].
   l7                i.      Definition and Instruction No. 11 is vague and ambiguous (in
   18
              particular, but without limitation, in its reference to 'oupgrades, enhancements,
   t9         new versions, patches and fixes" of software); also, not an interrogatory-
   20                                                                                                    of
              related definition, but a document request, on its face, inappropriate to a set
   2t         interrogatories.
   22               j.       Definition and Instruction No. 13 is unduly burdensome                    and
  23
              oppressive, in that this would require Defendants to "IDENTIFY"                    in detail
  24
              each document they are simultaneously being requested to produce by means
  25
              ofPlaintiff s simultaneous   requests forproduction of documents and things for
  26
              inspection and     copying. All     documents, not privileged               or   otherwise
  27
             objectionable, which are produced     will   speak for themselves and be the best
  28
             evidence      of their own contents. Further, this definition constitutes                  an
                                                   9
                                                                     RESP   & OBJECS TO PLTFS lST INTERROGS
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    1
              additional, "universal" interrogatory, implicit in each other numbered one to
    2         which       it pertains, in calling for "any information      necessary     to allow that
    a
    J         DOCUMENT to be the subject of a request for production," i.e. what amounts
    4         to   a   privilege log, even for documents that are produced. Thus, this definition,
    5         in its effect, causes this set of discovery requests taken as a whole far exceeds
    6         the statutory limit of 25 interrogatories, including subparts [F.R.Civ.P.
    7         33(aX1)1.
    8                    k.    Definition and Instruction No. 18 is vague and ambiguous (in
    9         particular, but without limitation,      it its failure to sufficiently define what
   10         constitutes "any . . . internet website, and any other online account held by
   11
              YOU"); compound and confusing, in its reference to several different forms of
   t2         social media, both by name and by vague reference, thus requiring speculation;
   13
              and, in so far as it is compound, this set of discovery requests taken as a whole
   14
              far exceeds the statutory limit of 25 interrogatories, including                    subparts
   15
              [F.R.Civ.P. 33(a)(1)]. As worded, this definition could be read to call for
   t6         production of information concerning untold numbers and kinds of internet-
   I7         accessible files and records concerning each Defendant's banking, ftnancial,
   18
              health, commercial (e.g. retail transactions), governmental (e.g., taxes) and
   t9         personal information, inter alia.
   20                    1.    Definition and Instruction No. 19 is unduly burdensome                  and
   2l         harassing in purporting to call for a "privilege" log in the vent information is
   22
              not produced on grounds of privilege, work product "or otherwise.               "   There is
   23
              no legal requirement for the Responding Par,ty to provide a "privilege 1og," in
   24
              response to an interrogatory,      identiffing with specificity all information not
   25
              produced, regardless of the basis. Fruther, in so far as          it purports to call for
   26
              the Responding Party to state "the specific grounds upon which YOUR
   27
              objection and privilege claim is based (including each and every factand legal
   28
              basis upon which YOU claim such privilege,"             it constitutes an additional
                                                      10
                                                                     RESP   & OBJECS TO PLTFS 1ST INTERROGS
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    1
                interrogatory implicit in each of the separate numbered interrogatories; and its
    2          reference, then,    to the "dafe of     creation, author, [and] recipients" of
    -t
    J           information, as distinguished from documents, is vague, ambiguous, confusing
    4           and unintelligible. Thus, this definition,     in its effect,     causes    this set of
    5           discovery requests taken as a whole far exceeds the statutory limit of 25
    6          interrogatories, including subparts [F.R.Civ.P. 3 3(a)( 1 )].
    7          9.       Wherever objections have been interposed, the Responding Parfy offers
    8    to meet and confer with the Propounding Pafty, through counsel, at any mutually
    9    convenient time and in accordance with the Local Rules, to attempt in good faith to
   10    resolve informally any differences or disputes that may exist between the parties with
   11
         respect to the Request and the stated objections. Assuming that such "meet and
   t2    confer" takes place in a timely fashion, and to the extent it is successful in resolving
   13
         differences, the Responding Party stands ready, willing and able                 to   complete
   t4    discovery as to the relevant and non-privileged information called for by the Request
   15    (subject, of course, to any stipulations entered into as a result of the "meet and
   T6
         confer").
   T7
                10.     The Responding Party has already delivered to the Propounding Party
   18
         for consideration a proposed form of Stipulated Protective Order embodying typical
   T9
         terms of such an order that have been previously approved by federal district courts
   20    in this District. In so far as the Responding Pafiy has interposed objections based on
   2I    grounds     of "Confidential Information" or "Privacy," the Responding Party will
   22    produce non-privileged documents or information, as the case may be, responsive to
   23
         these discovery Requests, upon the issuance and filing by the Court of such a
   24
         protective order either pursuant to the Parties' stipulation to the terms of such an
   25
         order or upon motion of any of the Parties.
   26
               11.      No response or objection (or production of documents or things in
   27
         response to) any of the Requests is intended as, nor shall it be construed as, a waiver
   28
         by the Responding Party of all or any               any objection to that or any other
                                                    1?n "t
                                                                    RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                                   TO DEF WASHPOPPIN, INC.
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    1
        Request, or an admission of the existence of any fact set forth in or assumed by that
    2   or any other Request, or an admission that such response or objection constitutes
    3   admissible evidence.
    4          12.                               's   Limi    on urisdictional ls
    5   This Discovery By its "Order Denying V/ithout Prejudice Defendants' Motion to
    6   Dismiss and Granting Plaintiff s Request for Jurisdictional Discovery," dated May
    7   3,2018, Docket No. 36, the Court ordered the parties to engage in, and complete,
    8   within 90 days from the date ofthe Order, good faith "limitedjurisdictional discovery
    9   on the issues identified in this   order." The Order specified only the following          issues
   10   for purposes of such discovery: with regard to personal jurisdiction, "to clarifu (1)
   1l   the extent of Defendants' business and presence in California, and (2) any
   t2   relationship between the Gangsta Bitch cover and Califomia" (Order, p. 10); and,
   13
        with regard to subject matter jurisdiction, "to clarify whether the amount-in-
   T4
        controversy has been met" (Order, p. 11).
   15
               13.   Each of the foregoing items set forth in this Paragraph is incorporated
   T6
        by reference in the responses to specific Requests, below.
   l7                 RESPONSES TO SPE                   C INTERROGATORIES
   18
        INTERROGATORY NO.            1

   t9         State all dates on which YOU were physically present in the State of California
   20
        from lanuary I,2016 through the present.
   21
        RESPONSE TO INTERROGATORY NO.                    1:
   22
              The Responding Parly objects to this Request, in whole or in part, on the
   23
        following grounds: Inadequate Description; and incorporates the Introduction,
   24
        General Objections, and fResponding Party's] Definitions, stated hereinabove
   25
        (specifically including, without limitation, the Responding Party's Objections to the
   26
        Propounding Party's Definitions and Instructions, with regard Io any of the Defined
   27
        terms utilized in the Requests).
   28
              Subject to the foregoing      objectionf], 0", without waiving the same in whole
                                                                    RESP   & OBJECS TO PLTFS IST INTERROGS
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    I   or in part, the Responding Party responds to this Request as follows:
    2         The Responding Party offers to meet and confer with the Propounding Pafqr,
    a
    J   through counsel, at any mutually convenient time and in accordance with the Local
    4   Rules, to attempt in good faith to resolve informally any differences or disputes that
    5   may exist between the parties with respect to this Request and the aforestated
    6   objections, and insofar as counsel are able        to resolve the parties' differences
    7   successfully by stipulation, the Responding Party shall be ready, willing and able to
    8   provide such other relevant and non-privileged information as is called for by the
    9   Request, as interpreted or modified per the parties' stipulation after meeting and
   10   conferring, within a reasonable time thereafter.
   11
        INTERROGATORY NO. 2:
   t2         List all of YOUR SOCIAL MEDIA ACCOUNTS.
   13
        RESPONSE TO INTERROGATORY NO. 2:
   t4         The Responding Party objects to this Request, in whole or in part, on the
   15
        following grounds: Inadequate Description; Overbroad; Confidential Information;
   16
        Privacy; Unduly Burdensome; Impermissible Discovery; and incorporates the
   l7   Introduction, General Objections, and fResponding Party's] Definitions, stated
   18
        hereinabove (specifically including, without limitation, the Responding Party's
   l9   Objections to the Propounding Party's Definitions and Instructions, with regard to
   20
        any of the Defined terms utilized in the Requests).
   2l         By way of explanation, for purposes of this jurisdictional discovery, must be
   22
        limited to those accounts targeted at California or its residents, and having to do with
   23
        GBMVl.
   24
              Subject to the foregoing objection(s), but without waiving the same in whole
   25
        or in part, the Responding Parly responds to this Request as follows:
   26
              The Responding Party offers to meet and confer with the Propounding Party,
   27
        through counsel, at any mutually convenient time and in accordance with the Local
   28
        Rules, to attempt in good faith to resolvejnformally any differences or disputes that

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    1
        may exist between the parties with respect to this Request and the aforestated
    2   objections, and insofar as counsel are able        to resolve the parties' differences
    a
    J   successfully by stipulation, the Responding Party shall be ready, willing and able to
    4   provide such other relevant and non-privileged information as is called for by the
    5   Request, as interpreted or modified per the parties' stipulation after meeting and
    6   conferring, within a reasonable time thereafter.
    7   INTERROGATORY NO. 3:
    8         Describe in detail all marketing strategies YOU used to market GBMV1 to
    9   California residents.
   10   RESPONSE TO INTERROGATORY NO. 3:
   11
              The Responding Party objects to this Request, in whole or in part, on the
   12   following grounds: Inadequate Description; Overbroad; Confidential Information;
   13
        Unduly Burdensome; Impermissible Discovery; and incorporates the Introduction,
   I4   General Objections, and fResponding Parfy's] Definitions, stated hereinabove
   15
        (specifically including, without limitation, the Responding Party's Objections to the
   t6   Propounding Party's Definitions and'Instructions, with regard to any of the Defined
   17
        terms utilized in the Requests).
   l8         By way of explanation, this Request is vague and ambiguous in its reference
   t9   to "marketing strategies."
   20
              Subject to the foregoing objection(s), but without waiving the same in whole
   2T
        or in part, the Responding Party responds to this Request as follows:
   22
              The Responding Party offers to meet and confer with the Propounding Party,
   23
        through counsel, at any mutually convenient time and in accordance with the Local
   24
        Rules, to attempt in good faith to resolve informally any differences or disputes that
   25
        may exist between the parties with respect to this Request and the aforestated
   26
        objections, and insofar as counsel are able        to resolve the parties' differences
  27
        successfully by stipulation, the Responding Party shall be ready, willing and able to
  28
        provide such other relevant and non-privileged information as is called for by the
                                                  t4
                                                                  RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                                 TO DEF WASHPOPPIN, INC.
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    1   Request, as interpreted or modified per the parties' stipulation after meeting and
    2   conferring, within a reasonable time thereafter.
    J   INTERROGATORY NO. 4:
    4         Describe in detail all marketing strategies YOU used to market GBMVI.
    5   RESPONSE TO
    6         The Responding Party objects to this Request, in whole or in part, on the
    7   following grounds: Inadequate Description; Overbroad; Confidential Information;
    8   Unduly Burdensome; Impermissible Discovery; and incorporates the Introduction,
    9   General Objections, and fResponding Party's] Definitions, stated hereinabove
   10   (specifically including, without limitation, the Responding Party's Objections to the
   11
        Propounding Party's Definitions and Instructions, with regard to any of the Defined
   T2
        terms utilized in the Requests).
   13         By way of explanation, this Request is vague and ambiguous in its reference
   T4
        to "marketing strategies;" its definition and description of "marketing strategies" is
   15
        irrelevant to jurisdictional issues; and, for purposes of this jurisdictional discovery,
   T6
        must be limited to such matters as targeted California or its residents.
   t7         Subject to the foregoing objection(s), but without waiving the same in whole
   18
        or in part, the Responding Party responds to this Request as follows:
   t9         The Responding Party offers to meet and confer with the Propounding Party,
   20
        through counsel, at any mutually convenient time and in accordance with the Local
   2T
        Rules, to attempt in good faith to resolve informally any differences or disputes that
   22
        may exist between the parties with respect to this Request and the aforestated
   23
        objections, and insofar as counsel are able        to resolve the parties'        differences
   24
        successfully by stipulation, the Responding Parly shall be ready, willing and able to
   25
        provide such other relevant and non-privileged information as is called for by the
   26
        Request, as interpreted or modified per the parties' stipulation after meeting and
   27
        conferring, within a reasonable time thereafter.
   28
        INTERROGATORY NO. 5:
                                                   15
                                                                  RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                                 TO DEF WASHPOPPIN, INC.
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    1
              IDENTIFY all posts on YOUR SOCIAL MEDIA ACCOUNTS in which YOU
    2   promoted an event that CARDI B would be attending in California.
    3   RESPONSE TO INTERROGATORY NO. 5:
    4         The Responding Party objects to this Request, in whole or in part, on the
    5   following grounds: Inadequate Description; Overbroad; Tax Returns; Privacy;
    6   Unduly Burdensome; Impermissible Discovery; and incorporates the Introduction,
    7   General Objections, and fResponding Party's] Definitions, stated hereinabove
    8   (specifically including, without limitation, the Responding Parfy's Objections to the
    9   Propounding Party's Definitions and Instructions, with regard to any of the Defined
   10   terms utilized in the Requests).
   11
              By way of explanation, this Request is vague and ambiguous in its reference
   t2   to "posts" and oopromoted."
   13
              Subject to the foregoing objection(s), but without waiving the same in whole
   14
        or in patt, the Responding Party responds to this Request as follows:
   15
              The Responding Par,W offers to meet and confer with the Propounding Party,
   T6
        through counsel, at any mutually convenient time and in accordance with the Local
   17
        Rules, to attempt in good faith to resolve informally any differences or disputes that
   18
        may exist between the parties with respect to this Request and the aforestated
   t9   objections, and insofar as counsel are able        to resolve the parties'        differences
   20
        successfully by stipulation, the Responding Party shall be ready, willing and able to
   2T
        provide such other relevant and non-privileged information as is called for by the
   22
        Request, as interpreted or modified per the parties' stipulation after meeting and
   23
        conferring, within a reasonable time thereafter.
   24
        INTERROGATORY NO. 6:
  25
              IDENTIFY all geographical places in the State of California YOU visited from
  26
        January 1,2016 through the present, and the dates YOU visited them.
  27
        RESPONSE TO INTERROGATORY NO. 6:
  28
              The Responding Party objects to this Request, in whole or in part, on the
                                                  t6
                                                                  RESP   & OBJECS TO PLTFS IST INTERROGS
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    I   following grounds: Inadequate Description; Overbroad; Privacy; Unduly
    2   Burdensome; Impermissible Discovery; and incorporates the Introduction, General
    a
    J   Objections, and [Responding Party's] Definitions, stated hereinabove (specifically
    4   including, without limitation, the Responding Party's Objections to the Propounding
    5   Party's Definitions and Instructions, with regard to any of the Defined terms utilized
    6   in the Requests).
    7         By way of explanation, this Request is, as to dates, duplicative of              Special
    8   Interrogatory No. 1. By "geographical places" the Responding Party will interpret
    9   this as calling for naming of cities. Additionally, as to KSR and Washpoppin, this is
   10   vague and ambiguous as to whom is referred to as "YOUR agent or employee."
   11
              Subject to the foregoing objection(s), but without waiving the same in whole
   I2   or in part,the Responding Party responds to this Request as follows:
   13
              The Responding Party offers to meet and confer with the Propounding Party,
   t4   through counsel, at any mutually convenient time and in accordance with the Local
   15
        Rules, to attempt in good faith to resolve informally any differences or disputes that
   t6   may exist between the parties with respect to this Request and the aforestated
   l7   objections, and insofar as counsel are able        to resolve the parties'        differences
   18
        successfully by stipulation, the Responding Party shall be ready, willing and able to
   t9   provide such other relevant and non-privileged information as is called for by the
  20
        Request, as interpreted or modified per the parties' stipulation after meeting and
  2T
        conferring, within a reasonable time thereafter.
  22
        INTERROGATORY NO. 7:
  23
              IDENTIFY the total amount of sales of GBMVI.
  24
        RESPONSE     TO INTERROGATORY NO. 7:
  25
              The Responding Pafty objects to this Request, in whole or in part, on the
  26
        following grounds: Inadequate Description; Overbroad; Confidential Information;
  27
        Unduly Burdensome; Impermissible Discovery; CC 3294-3295; and incorporates the
  28
        Introduction, General Objections, and [Responding Party's] Definitions, stated
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    1
        hereinabove (specifically including, without limitation, the Responding Party's
    2   Objections to the Propounding Party's Definitions and Instructions, with regard to
    a
    J   any of the Defined terms utilized in the Requests).
    4          By way of explanation, this Request is vague and ambiguous in its reference
    5   to o'sales," in that it is not clear whether this asks for unit sales, dollar value of sales,
    6   sales of different configurations or products including     GBMVI, etc. For purposes of
    7   this jurisdictional discovery, must be limited to sales taking place in, or purchases
    8   known to have been made by residents          of California,   and income received from
    9   California residents.
   10          Subject to the foregoing objection(s), but without waiving the same in whole
   11
        or in part, the Responding Party responds to this Request as follows:
   t2          The Responding Par,ty offers to meet and confer with the Propounding Party,
   13
        through counsel, at arry mutually convenient time and in accordance with the Local
   T4
        Rules, to attempt in good faith to resolve informally arry differences or disputes that
   15
        may exist between the parties with respect to this Request and the aforestated
   t6   objections, and insofar as counsel are able          to resolve the parties'         differences
   t7   successfully by stipulation, the Responding Party shall be ready, willing and able to
   18
        provide such other relevant and non-privileged information as is called for by the
   19
        Request, as interpreted or modified per the parties' stipulation after meeting and
   20
        conferring, within a reasonable time thereafter.
  2I    INTERROGATORY NO. 8:
  22
              IDENTIFY the total amount of sales of each single on GBMVI.
  23
        RESPONSE TO INTERROGATORY NO. 8:
  24
              The Responding Party objects to this Request, in whole or in part, on the
  25
        following grounds: Inadequate Description; Overbroad; Confidential Information;
  26
        Unduly Burdensome; Impermissible Discovery; CC 3294-3295; and incorporates the
  27
        Introduction, General Objections, and fResponding Party's] Definitions, stated
  28
        hereinabove (specifically including, without limitation, the Responding Party's
                                                     18
                                                                     RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                                    TO DEF WASHPOPPIN, INC.
Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 266 of 285 Page ID
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    1
        Objections to the Propounding Party's Definitions and Instructions, with regard to
    2   any of the Defined terms utilized in the Requests).
    J         By way of explanation, this Request is vague and ambiguous in its reference
    4   to "sales," in that it is not clear whether this asks for unit sales, or dollar value of
    5   sales. For purposes of this jurisdictional discovery, must be limited to sales taking
    6   place in, or purchases known to have been made by residents              of California,      and
    7   income received from California residents.
    8         Subject to the foregoing objection(s), but without waiving the same in whole
    9   or in part, the Responding Party responds to this Request as follows:
   10         The Responding Prrty offers to meet and confer with the Propounding Putty,
   11                                mutually coávenient time and in accordance with the Local
        through counsel, at   arry
   t2   Rules, to attempt in good faith to resolve informally any differences or disputes that
   13
        may exist between the parties with respect to this Request and the aforestated
   T4                                                      to resolve the parties' differences
        objections, and insofar as counsel are able
   15
        successfully by stipulation, the Responding Party shall be ready, willing and able to
   16
        provide such other relevant and non-privileged information as is called for by the
   l7   Request, as interpreted or modified per the parties' stipulation after meeting and
   18
        conferring, within a reasonable time thereafter.
   T9
        INTERROGATORY NO. 9:
   20
              IDENTIFY the total amount of profits, royalties and/or other compensation
   2T
        YOU received from sales of GBMVI.
   22
        RESPONSE TO INTERROGATORY NO. 9:
   23
              The Responding Party objects to this Request, in whole or in part, on the
   24
        following grounds: Inadequate Description; Overbroad; Confidential Information;
   25
        Unduly Burdensome; Impermissible Discovery; CC 3294-3295; and incorporates the
   26
        Introduction, General Objections, and fResponding Party's] Definitions, stated
   27
        hereinabove (specifically including, without limitation, the Responding Party's
  28
        Objections to the Propounding Parfy's Definitions and Instructions, with regard to
                                               t9
                                                                   RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                                  TO DEF WASHPOPPIN, INC.
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    I    any of the Defined terms utilized in the Requests).
    2          By way of explanation, this Request is vague and ambiguous in its reference
    -J
         to "sales," and in its use of the terms "profits, royalties andlor other compensation."
    4    For purposes of this jurisdictional discovêry, must be limited to sales taking place in,
    5    or purchases known to have been nade by residents of, California, and income
    6    received from California residents.
    7          Subject to the foregoing objection(s), but without waiving the same in whole
    8    or in part,the Responding Party responds to this Request as follows:
    9          The Responding Party offers to meet and confer with the Propounding Putty,
   10    through counsel, at any mutually convenient time and in accordance with the Local
   11
         Rules, to attempt in good faith to resolve informally any differences or disputes that
   I2    may exist between the parties with respect to this Request and the aforestated
   13                                                       to resolve the parties'
         objections, and insofar as counsel are able                                       differences
   t4    successfully by stipulation, the Responding Party shall be ready, willing and able to
   15
         provide such other relevant and non-privileged information as is called for by the
   T6
         Request, as interpreted or modified, per the parties' stipulation after meeting and
   t7    conferring, within a reasonable time thereafter.
   18
         INTERROGATORY NO. 10:
   T9
               IDENTIFY the total amount of profits, royalties andlor other compensation
  20
         YOU received from sales of each single on GBMVI.
  2T
         RESPONSE TO INTERROGATORY NO. 10:
  22
               The Responding Party objects to this Request, in whole or in part, on the
  23
         following grounds: Inadequate Description; Overbroad; Confidential Information;
  24
         Unduly Burdensome; Impermissible Discovery; CC 3294-3295; and incorporates the
  25
         Introduction, General Objections, and fResponding Party's] Definitions, stated
  26
         hereinabove (specifically including, without limitation, the Responding Party's
  27
         Objections to the PropoundingParty.'s Definitions and Instructions, with regard to
  28
         any of the Defined terms utilized in the ReQuests).
                                                                   RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                                  TO DEF WASHPOPPIN, INC.
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                                    #:909


    1
              By way of explanation, this Request is vague and ambiguous in its reference
    2   to'osales," and in its use of the terms "profits, royalties and/or other compensation."
    3   For purposes of this jurisdictional discovêry, must be limited to sales taking place in,
    4   or purchases known to have been made by residents of, California, and income
    5   received from California residents.
    6         Subject to the foregoing objection(s), but without waiving the same in whole
    7   or in part, the Responding Party responds to this Request as follows:
    8         The Responding Party offers to meet and confer with the Propounding Purty,
    9   through counsel, at any mutually convenient time and in accordance with the Local
   10   Rules, to attempt in good faith to resolve informally any differences or disputes that
   11
        may exist between the parties with respect to this Request and the aforestated
   t2   objections, and insofar as counsel are able        to resolve the parties'        differences
   13
        successfully by stipulation, the Responding Party shall be ready, willing and able to
   T4   provide such other relevant and non-privileged information as is called for by the
   15
        Request, as interpreted or modified per the parties' stipulation after meeting and
   t6   conferring, within a reasonable time thereafter.
   t7   INTERROGATORY NO. 11:
   18
              IDENTIFY all revenues from sales of tickets to events at which CARDI B
   t9          in the State of California from January I, 2076 through the present,
        appeared
   20
        INCLUDING but not limited to the promotional tour for GBMV1 (the
   2l   "(Underestimated Tour" ).
   22
        RESPONSE TO INTERROGATORY NO. 11:
   z3
              The Responding Party objects to this Request, in whole or in part, on the
   24
        following grounds: Inadequate Description; Overbroad; Confidential Information;
   25
        Unduly Burdensome; Impermissible Discovery; CC 3294-3295; and incorporates the
  26
        Introduction, General Objections, and [Responding Party's] Def,rnitions, stated
  27
        hereinabove (specifically including, without limitation, the Responding Party's
  28
        Objections to the Propounding Party's Drefinitions and Instructions, with regard to
                                                                  RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                                 TO DEF WASHPOPPIN, INC.
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    1    any of the Defined terms utilized in the Requests).
    2          By way of explanation, this Request is vague and ambiguous in its reference
    -t
    J    to "revenues." Irrelevant in so far as it refers to events at which the Responding Party
    4    merely "appeared" (as opposed        to   performed,    or   events which featured the
    5    Responding Pafiy as      a   pre-arranged celebrity    guest). For purposes of                 this
    6    jurisdictional discovery, must be limited to events related to GBMVI.
    7          Subject to the foregoing objection(s), but without waiving the same in whole
    8    or in part, the Responding Party responds to this Request as follows:
    9          The Responding Party offers to meet and confer with the Propounding                   P*ty,
   10    through counsel, at any mutually convenient time and in accordance with the Local
   11    Rules, to attempt in good faith to resolve informally any differences or disputes that
   12    may exist between the parties with respect to this Request and the aforestated
   t3    objections, and insofar as counsel are able         to resolve the parties' differences
   t4    successfully by stipulation, the Responding Party shall be ready, willing and able to
   15
         provide such other relevant and non-privileged information as is called for by the
   T6
         Request, as interpreted or modified'per the parties' stipulation after meeting and
   l7    conferring, within a reasonable time thereafter.
   18
         INTERROGATORY NO. 12:
   I9          IDENTIFY all profits that YOU or anyone on YOUR behalf earned from
   20                            B or YOU appeared          andlor attended in order to promote
         events which CARDI
   2l    GBMVI.
   22
         RESPONSE TO INTERROGATORY NO. 12:
   23
               The Responding Par,ty objects to this Request, in whole or in part, on the
   24
         following grounds: Inadequate Description; Overbroad; Confidential Information;
   25
         Unduly Burdensome; Impermissible Discovery; CC 3294-3295; and incorporates the
  26
         Introduction, General Objections, and fResponding Party's] Definitions, stated
  27
         hereinabove (specifically including, without limitation, the Responding Party's
  28
         Objections to the Propounding Parfy's Definitions and Instructions, with regard to
                                                    22
                                                                      RESP   & OBJECS TO PLTFS 1ST INTERROGS
                                                                                     TO DEF WASHPOPPIN, INC.
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    1
        any of the Defined terms utilized in the Requests).
    2          By way of explanation, this Request is vague and ambiguous in its reference
    J   to "revenues." Irrelevant in so far as it refers to events at which the Responding Party
    4   merely "appeared" (as opposed        to   performed,   or   events which featured the
    5   Responding Par!u as      a   pre-arranged celebrity    guest). For          purposes     of   this
    6   jurisdictional discovery, must be limited      to events taking place in             Califomia.
    7   Additionally, as to KSR and Washpoppin, vague and ambiguous as to whom is
    8   referred to as "YOIIR agent or employee."
    9          Subject to the foregoing objection(s), but without waiving the same in whole
   10   or in part, the Responding Party responds to this Request as follows:
   11
              The Responding Party offers to meet and confer with the Propounding Putty,
   t2   through counsel, at any mutually convenient time and in accordance with the Local
   13
        Rules, to attempt in good faith to resolve informally any differences or disputes that
   t4   may exist between the parties with respect to this Request and the aforestated
   15
        objections, and insofar as counsel are able        to resolve the parties'          differences
   t6   successfully by stipulation, the Responding Party shall be ready, willing and able to
   t7   provide such other relevant and non-privileged information as is called for by the
   18
        Request, as interpreted or modified per the parties' stipulation after meeting and
   I9   conferring, within a reasonable time thereafter.
   20
        INTERROGATORY NO. 13:
   2l         IDENTIFY all contracts RELATED TO GBMVI, INCLUDING but not
   22
        limited to recording, COVER ART, ioncerts, travel, costume, hair and makeup, non-
   23
        concert appearances, licensing, andlor merchandising from January I,2016 through
   24
        the present.
   25
        RESPONSE TO INTERROGATORY NO. 13:
   26
              The Responding Party objects to this Request, in whole or in part, on the
   27
        following grounds: Inadequate Description; Overbroad; Confidential Information;
   28
        Privacy; Unduly Burdensome;        t*p.ïTsible      Discovery; CC 3294-3295; and
                                                                    RESP   & OBJECS TO PLTFS 1ST INTERROGS
                                                                                   TO DEF WASHPOPPIN, INC.
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    1
        incorporates the Introduction, General Objections, and fResponding Parly's]
    2   Definitions, stated hereinabove (specifically including, without limitation,                 the
    3   Responding Party's Objections       to the Propounding       Parfy's Definitions            and
    4   Instructions, with regard to any of the Defined terms utilized in the Requests).
    5         By way of explanation, this Request is irrelevant, and for purposes of this
    6   jurisdictional discovery may only relate to such contracts as were either executed in
    7   California, to be performed in California, or entered into with persons known to be
    8   residing in, or entities known to be domiciled in, California. Moreover, under the
    9   Court's Order of May 3,2018, this must exclude contracts with entities that merely
   10   engaged in the online promotion, sale, and distribution of sound recordings such as
   11
        GBMVI, and that may happen to be organized, domiciled or located or doing
   l2   business in California
   13
              Subject to the foregoing objection(s), but without waiving the same in whole
   I4   or in part, the Responding Party responds to this Request as follows:
   15
              The Responding Party offers to meet and confer with the Propounding Purty,
   t6   through counsel, at any mutually convenient time and in accordance with the Local
   17
        Rules, to attempt in good faith to resolve informally any differences or disputes that
   18
        may exist between the parties with respect to this Request and the aforestated
   19
        objections, and insofar as counsel aÍe able        to resolve the parties' differences
   20
        successfully by stipulation, the Responding Party shall be ready, willing and able to
  2T
        provide such other relevant and non-privileged information as is called for by the
  22
        Request, as interpreted or modified per the parties' stipulation after meeting and
  23
        conferring, within a reasonable time thereafter.
  24
        INTERROGATORY NO. 14:
  25
              IDENTIFY the graphic designer(s) andlor photographer(s) who created the
  26
        COVER ART for GBMVI.
  27
        RESPONSE TO INTERROGATORY NO. 14:
  28
              The Responding Party objects to this Request, in whole or in part, on the
                                                  24
                                                                  RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                                 TO DEF WASHPOPPIN, INC.
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    1
        following grounds: Inadequate Description; Overbroad; Unduly                   Burdensome;
    2   Impermissible Discovery; and incorporates the Introduction, General Objections, and
    a
    J
        [Responding Party's] Definitions, stated hereinabove (specifically including,
    4   without limitation, the Responding Party's Objections to the Propounding Party's
    5   Definitions and Instructions, with regard to any of the Defined terms utilized in the
    6   Requests).
    7         By way of explanation, this Request is irrelevant. The identity of the graphic
    8   designer andlor photographer is not a jurisdictional issue of fact, and was not among
    9   the issues specified by the Court in its Order of May 23,2018, as being properly the
   10   subject of this jurisdictional discovery.
   11
              Subject to the foregoing objection(s), but without waiving the same in whole
   T2
        or in part, the Responding Party responds to this Request as follows:
   13
              The Responding Party offers to meet and confer with the Propounding Party,
   t4   through counsel, at any mutually convenient time and in accordance with the Local
   15
        Rules, to attempt in good faith to resolve informally any differences or disputes that
   t6   may exist between the parties with respect to this Request and the aforestated
   L7                                                      to resolve the parties'
        objections, and insofar as counsel are able                                       differences
   18
        successfully by stipulation, the Responding Party shall be ready, willing and able to
   t9   provide such other relevant and non-privileged information as is called for by the
   20
        Request, as interpreted or modified per the parties' stipulation after meeting and
  2l    conferring, within a reasonable time thereafter.
  22
        INTERROGATORY NO. 15:
  23
              IDENTIFY       all   communications   with the graphic designer(s)                andlor
  24
        photographer(s) who created the COVER ART for GBMVI.
  25
        RESPONSE TO INTERROGATORY NO. 15:
  26
              The Responding Party objects to this Request, in whole or in part, on the
  27
        following grounds: Inadequate Description; Overbroad; Unduly                   Burdensome;
  28
        Impermissible Discovery; and incorporat;the Introduction, General Objections, and

                                                                  RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                                 TODEF WASHPOPPIN, INC.
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    1
        fResponding Party's]     Definitions, stated hereinabove (specifically                including,
    2   without limitation, the Responding Party's Objections to the Propounding Party's
    J   Definitions and Instructions, with regard to any of the Defined terms utilized in the
    4   Requests).
    5         By way of explanation, this Request is irrelevant. Communications with the
    6   graphic designer andlor photographer are not    a   jurisdictional issue of fact, and were
    7   not among the issues specified by the Court in its Order of May 23,2018, as being
    8   properly the subject of this jurisdictional discovery
    9         Subject to the foregoing objection(s), but without waiving the same in whole
   10   or in part, the Responding Party responds to this Request as follows:
   l1         The Responding Party offers to meet and confer with the Propounding Putty,
   12
        through counsel, at any mutually convenient time and in accordance with the Local
   13
        Rules, to attempt in good faith to resolve informally any differences or disputes that
   T4
        may exist between the parties with respect to this Request and the aforestated
   15
        objections, and insofar as counsel aÍe able         to resolve the parties'         differences
   t6   successfully by stipulation, the Responding Party shall be ready, willing and able to
   T7
        provide such other relevant and non-privileged information as is called for by the
   18
        Request, as interpreted or modified per the parties' stipulation after meeting and
   I9   conferring, within a reasonable time thereafter.
   20

   2t   Dated: June 14,2018                     Respectfully Submitted,
  22
                                                ALAN G. DOWLING, P.C.
  23
                                                By:  /s/ Alan G. Dowling
  24
                                                         Alan G. Dowling
  25                                            Attorney þr Defendants

  26

  27

  28
                                                  26
                                                                    RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                                   TO DEF WASHPOPPIN, INC.
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    1                                 PROOF OF SERVICE
    2
    .t
         STATE OF CALIFORNIA,
    J    COUNTY OF LOS ANGELES
    4           I am employed in the County of Los Angeles, State of California. I am over
         the age of 18 and not aputy to the within action. My business address is 1043
    5    Pacific St., No. 1, Santa Monica, California 90405.
    6        On June 18,2018, I served the foregoing document, described as:
    7
         RESPONSE AND OBJECTIONS TO "PLAINTIFF'S FIRST SET OF
         SPE CIAL INTERROGATORIE            S   (JURISDICTIONAL) TO DEFENDANT
    8    \ryASHPOPPIN, INC."
    9    on each of the interested parties in this action, by the following means:
         _IF PERSONAL SERVICE: I placed _ the original [or] X a true copy thereof
   10    enclosed in a sealed envelope addressed as set forth on the attached Service List, and
   11
         caused the same to be delivered via messenger by hand to the offices of the addressee.
          lFor Personal Service signattxe must be that of messenger.]
   T2
         ÅIF SERVICE BY MAIL: I placed _ the original [or] X a true copy thereof
   13
         enclosed in a sealed envelope addressed as set forth on the attached Service List,
         and deposited such envelope in the mail at Santa Monica, California. The envelope
   I4    was mailed with postage thereon fully prepaid. I am "readily familiar" with the
   15    firm's practice of collecting and processing coffespondence for mailing. Under that
         practice it would be deposited with the U.S. postal service on that same day with
   t6    postage thereon fully prepaid at Santa Monica, California in the ordinary course of
   T7    business. I am aware that on motion of the party served, service is presumed invalid
         if the postal cancellation date or postage meter date is more than one day after date
   l8    of deposit for mailing in affidavit.
   l9    _ IF SERVICE BY FACSIMILE TRANSFER: On June 18,2018, at or about
         a.ml-p.m. (i.e., between the hours of 9:00 a.m. and 5:00 p.m.), I transmitted by
   20    facsimile transfer ("fa*") a copy of the foregoing document, from my fax machine
   2T    the telephone number of which ts @2\ 238-5366, to each person ("fa" recipient")
         indicated on the attached Service List on whom the foregoing document was thus
   22    served. The transmission was reported as complete and without error, and a copy of
   23    the transmission report so indicating was properly issued by the transmitting fax
         machine and is attached hereto. Service by fax is permissible in this action in that
   24    the parties thus served have agreed thereto and a written confirmation of that
   25    agreement has been obtained. The fax machine telephone number for the fax
         machine maintained by each fax recipient (and last given by each such person on
   26    any documentwhichhe or she has filed inthis action and served onthe party making
   27    this service) is as set forth on the attached Service List. I understand that (subject
         to the other provisions of C.C.P. $ 1013 and C.R.C. Rule 2008) service by fax is
  28     complete at the time of transmission, i.e., at the time of receipt of the entire
                                                  27
                                                                  RESP   & OBJECS TO PLTFS lST INTERROGS
                                                                                 TO DEF WASHPOPPIN, INC.
Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 275 of 285 Page ID
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     1
         document by the fax recipient's fax machine, and that service by fax that occurs
    2    after 5:00 p.m. shall be deemed to has occurred on the next court day.
            couRTEsY coPY SENT BY FACSIMILE TRANSFER (*FAX"):
    3    Concurrently with service by other means as indicated herein, I have also caused an
    4    additional courtesy copy thereof to be transmitted by fax to said counsel, as
         indicated on the attached Service List.
    5         COURTESY COPY SENT               BY INTERNET ELECTRONIC MAIL
    6    TRANSFER (ooE-MAILo'): In addition to the foregoing, I caused a courtesy copy
         thereof to be attached to an E-mail message, and thus transmitted by E-mail, to the
    7    lead opposing counsel indicated below, at the email address customarily used by
    8    said counsel heretofore in this action for sending and receiving communications.
                Executed on June 18, 2018, at Santa Monica, California.
    9
         _ (Federal) I declare under penalty of perjury under the laws of the United States
   10    of Americaandthe State of Californiathxl am employed by the office of a member
         of the bar of this Court at whose direction the service was made.
   11
          X (Catifornia) I declare under penaþ of perjury under the laws of the State of
   1,2   California that the above is true and correct.

   13
                                               Alan G. Dowline
   t4                                          ALAN G. DOWLING
   15

   T6

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   T9

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  28
                                                  28
                                                                 RESP   & OBJECS TO PLTFS 1 ST INTERROGS
                                                                                TODEF WASHPOPPIN, INC.
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    I                                     SERVI E LIST
    2
                                 Brophy v. Almar.ø;ar et aI.
    J                 USDC, CD Cal, Case No. 8:17-cv-01885-CJC (JPRx)
    4

    5   Counsel and PartyÆarties Represented:
    6
        A. Barry Cappello (CSB No. 037835)
    7   abc@cappellonoel.com
    8   Lawrence J. Conlan (CSB No. 221350)
        Ic onlan@c app e I I ono e l. c om
    9   Wendy D. Welkom (CSB No. 156345)
   10   wwe lkom @c app eIIono e l. c om
        CAPPELLO & NOËL LLP
   11
        831 State Street
   T2   Santa Barbara, CA 93 101-3227
        Telephone: (805)564 -2444
   13
        Facsimile: (805)965-5950
   T4   Attorneys þr Plaintiff

   15
        Service maíling address :
   T6
        Lawrence J. Conlan, Esq.
   l7   CAPPELLO & NOËT-, LLP
   18   831 State Street
        Santa Barbara, CA 9310t-3227
   T9

   20

   2T

   22

   23

   24

   25

   26

  27

  28
                                                                             :,¡r.,
                                                29
                                                          RESP   & OBJECS TO PLTFS IST INTERROGS
                                                                         TODEF WASHPOPPIN, INC.
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              EXHIBIT R
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                                            #:919

Lawrence J. Conlan

From:                              Alan <agdowling@aol.com>
Sent:                              Wednesday, May 8, 2019 2:13 PM
To:                                Lawrence J. Conlan
Cc:                                Mandy Duong
Subject:                           Re: 17cv01885 CJC Brophy Jt Stip and Jt Request
Attachments:                       17cv01885 CJC Brophy Jt Stip and Jt Request AGD revis 05 08 19.docx


Larry-

I’ve reviewed your proposed Stipulation, and made a number of changes, which are reflected in my revised version
attached hereto. Please look them over and let me know if they are OK with you. (I will be out of state from June 5 to
June 17, traveling to multiple cities, and have taken that into account in suggesting new dates.) If my version is OK, I will
go ahead and filed the Stip as revised. If not, please send me your further revision, or comments (if that’s more
efficient).

With regard to your suggestion that we stipulate that you may revise the Complaint, I regret that, after considerable
thought, I cannot agree to that. You never chose to amend when you might have done so as a matter of right, and have
never previously sought leave from the Court to amend, including in your opposition to our original motions. There is no
real question but that, in so far as a motion to dismiss for failure to state a claim attacks the facial sufficiency of the
pleadings, you would likely, as a matter of course, be granted leave to amend to correct any facial defects, assuming the
motion is granted, if that were the only issue. However, the issues of lack of subject matter and personal jurisdiction are
another thing altogether. Those are based on the claims as pled in the original Complaint, but that is of no particular
moment, since you have previously been given, and will again have, the opportunity to present all of your evidence in
opposition to the motion on those grounds. It is therefore unnecessary to amend the Complaint prior to the renewal of
that motion, and would only needlessly further delay the progress of the case. Should the Court decide to grant the
jurisdictional motion once it is renewed, the Court will determine whether and in what respects you should be allowed
leave to amend; should the Court deny the motion, it will likely be a moot point.

I will of course be happy to discuss with you a briefing and hearing schedule for the renewed motion to dismiss, so as to
accommodate your own calendar, as well.

Do you have any idea when we may expect to receive the completed transcript of the most recent deposition(s)?

Best,

Alan G. Dowling
Alan G. Dowling, A Professional Corporation
1043 Pacific St., No. 1
Santa Monica, CA 90405-1474
Tele: 818 679 6395
Fax: 424 238 5366
Email: agdowling@aol.com
Website: www.alandowling.com




         On May 8, 2019, at 11:15 AM, Lawrence J. Conlan <lconlan@cappellonoel.com> wrote:

                                                              1
Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 279 of 285 Page ID
                                    #:920
 Dear Alan,

 Here is a working draft of a joint stip regarding scheduling. As I said at Cardi’s deposition, we believe
 that sufficient evidence has been developed to establish personal jurisdiction over defendants in
 California, and to satisfy the amount in controversy requirement. I understood you to say at the time
 that you disagreed, but let me know if you’ve reconsidered your position.

 If not, I suggest we discuss a schedule for me to file an amended complaint and then if you still believe
 grounds exist to move to dismiss, a briefing schedule for such a motion. I am available anytime today to
 discuss. The deadline to file our report is today.

 Larry
 <17cv01885 CJC Brophy Jt Stip and Jt Request AGD revis 01 27 19.docx>




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                                    #:921




              EXHIBIT S
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                                         #:922

Lawrence J. Conlan

From:                              Lawrence J. Conlan
Sent:                              Thursday, February 14, 2019 1:25 PM
To:                                'Alan'
Cc:                                Mandy Duong
Subject:                           RE: Brophy v. Belcalis Almanzar aka Cardi B, et al: Case No.: 8:17-cv-01885-CJC(JPRx)


Dear Alan,

You may or may not know that your client Cardi B inactivated (and possibly deleted) her Instagram account recently. If
the account has been deleted we understand that all “photos, videos, comments, likes and followers” will be
permanently deleted. We also believe that since the litigation has been filed, many of the older posts that we cited in
opposing the motion to dismiss have been removed from her Instagram account. We also understand that the KSR
Group LLC website has been altered since the litigation was filed to remove the “client roster” and other information.

We are writing to remind you and your clients of their evidence preservation obligations. See Gatto v. United Air Lines,
Inc., No. 10-cv-1090-ES-SCM, 2013 U.S. Dist. LEXIS 41909 (D.N.J. Mar. 25, 2013) (where the court ordered that the jury
would be instructed on the “adverse inference of spoliation” because the plaintiff employee deleted his Facebook
account during the pendency of his lawsuit against United Air Lines).

We hope that all of your clients have taken appropriate steps to otherwise preserve their electronic media. If they have
not we will seek all available inferences and sanctions against them.

Thank you,
Larry




Lawrence J. Conlan | Cappello & Noël LLP
831 State Street | Santa Barbara, CA 93101
Tel: 805.564.2444 | Fax: 805.965.5950 | lconlan@cappellonoel.com



From: Alan <agdowling@aol.com>
Sent: Wednesday, February 13, 2019 1:33 PM
To: Lawrence J. Conlan <lconlan@cappellonoel.com>
Cc: Mandy Duong <mduong@cappellonoel.com>
Subject: Re: Brophy v. Belcalis Almanzar aka Cardi B, et al: Case No.: 8:17-cv-01885-CJC(JPRx)


Larry-

I have just been advised that they are actively working to get us deposition dates as soon as poss ible and that I should be
advised of those shortly. I have also been advised of various categories of documents and information you requested
that they say Cardi does not have at all, while they are actively gathering information and any documents responsive to
the other categories, where she does have information. I’ll continue to follow up.



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I’m not going to get into a tit for tat, or finger pointing, regarding the timing and delays of this particular
discovery. We’ve all been trying to get it done, and all been patient, but whatever’s happened up to now is water under
the bridge. The point is to get it done, and it appears we’re finally close to doing that.

I will be sending you objections, in writing, to the depo notices you just sent, for the record and just so there is no
assertion later that we waived any such objections.

BTW. I did not mean to imply that you deliberately picked a date that conflicted with my calendar. We merely failed to
communicate on that part of it.

Best,

Alan G. Dowling
Alan G. Dowling, A Professional Corporation
1043 Pacific St., No. 1
Santa Monica, CA 90405-1474
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Fax: 424 238 5366
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Website: www.alandowling.com




         On Feb 11, 2019, at 4:39 PM, Lawrence J. Conlan <lconlan@cappellonoel.com> wrote:

         Dear Alan,

         As you’ll recall, before we last stipulated to extend the discovery deadline again, you suggested I wait
         until after February 4, 2019 to notice her deposition in order to see if Ms. Almanzar would finally supply
         a date for her deposition, which we’ve been requesting from you for many months. Having heard
         nothing from you about her or your availability between February 4 and February 8, we selected a date
         and noticed her deposition per FRCP 26 and 30, in New York City, which is within the new discovery
         deadline.

         I was not aware, and don’t believe I was ever told, that there were dates in February on which you were
         not available prior to the new February 25 discovery deadline. It was only when I received your email
         below that I learned that the date we noticed may pose a problem.

         I note that Ms. Almanzar visited LA again this weekend to attend the Grammy Awards in LA at the
         Staples Center on February 10. I also note that she has been in LA or California close to a dozen times
         since the Court allowed jurisdictional discovery, and that all the while we have been requesting
         deposition dates for her, but none have ever been proposed, in LA or NY.

         We have been trying to work with you cooperatively for a long time get a date for Ms. Almanzar’s
         deposition, as well as the documents we long ago requested, without success. I have no confidence that
         without a deposition date pending and a renewed document request pending we will ever receive any
         new dates from Ms. Almanzar. For now, I ask that you please secure a date for her deposition in LA on a

                                                              2
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                                    #:924
 date when you and she are available. Once we have an agreement on that, we can serve an amended
 notice.

 Thanks and call me if you want to discuss.

 Larry


 Lawrence J. Conlan | Cappello & Noël LLP
 831 State Street | Santa Barbara, CA 93101
 Tel: 805.564.2444 | Fax: 805.965.5950 | lconlan@cappellonoel.com



 From: Alan <agdowling@aol.com>
 Sent: Friday, February 8, 2019 5:11 PM
 To: Mandy Duong <mduong@cappellonoel.com>
 Cc: Lawrence J. Conlan <lconlan@cappellonoel.com>
 Subject: Re: Brophy v. Belcalis Almanzar aka Cardi B, et al: Case No.: 8:17-cv-01885-CJC(JPRx)

 Ms. Duong and Mr. Conlan,

 I appreciate that it is your right to notice the depositions described below, and will of course not
 interfere with your right to proceed via notice instead of stipulation. In that regard. I also sincerely
 appreciate the patience you’ve shown as we all waited to see whether Ms. Almanzar wouild herself
 indicate available dates and a preferred location, hoping that she might find a convenient time in Los
 Angeles, as Shaft did. Unfortunately, we have not yet been able to obtain that information from her,
 and so you are proceeding via notice.

 However, the date you have unilaterally selected and noticed poses a problem. Had you extended to
 me, personally, the courtesy of inquiring as to my own availability on the date you have unilaterally
 selected, before serving a notice, I would have told you immediately that I am otherwise engaged on the
 date indicated, and the day before (necessary for travel from LA to New York), so February 21 will not
 work. These depositions will therefore have to be rescheduled to a date after February 21 in all events.

 I am personally available for the depositions to be conducted on Thurs February 28 or Friday March 1, or
 alternatively any day of the week of Monday March 11-15, or the following week of March 18-22. I
 presently have no information regarding Ms. Almanzar’s availability. Obviously, I am willing to submit
 whatever stipulation for extension we may need to submit to the Court to make that feasible, to
 circumvent the current jurisdictional discovery deadline.

 If you will be so kind as to confirm when, in those rate ranges, you are available and on which particular
 date you would prefer to proceed, I will advise Ms. Almanzar's transactional counsel accordingly. In any
 event, I will advise them immediately that you have served a notice, and advise them of my available
 date ranges, to see if there is a particular date within those ranges when she is willing to make herself
 available for deposition in New York, or whether she can somehow arrange to appear voluntarily in Los
 Angeles instead.

 Thanks, and I have every hope that we can cooperate to re-set and proceed with these depositions
 without having to resort to court proceedings.

 Best regards,

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Case 8:17-cv-01885-CJC-JPR Document 56-4 Filed 08/05/19 Page 284 of 285 Page ID
                                    #:925
 Alan G. Dowling
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 Email: agdowling@aol.com
 Website: www.alandowling.com




        On Feb 8, 2019, at 4:20 PM, Mandy Duong <mduong@cappellonoel.com> wrote:

        Dear Mr. Dowling,

        Please find attached the Notice of Deposition of Belcalis Almanzar and Person Most
        Knowledgeable of Washpoppin, Inc. scheduled for February 21, 2019. Should you have
        any questions, please feel free to contact our office.

        Thank you.

        Mandy Duong
        Cappello & Noël LLP
        831 State Street
        Santa Barbara, CA 93101
        Main Phone: 805-564-2444
        Fax: 805-965-5950
        **********************************************************************************************************
        ********************
        The information contained in this message may be legally privileged and confidential. It is intended only for the eyes and use of
        the individual or entity named above.
        If the reader of this message is not the intended recipient, you are hereby notified that any dissemination, distribution, or copying
        of this message is strictly prohibited.
        If you have received this message in error, please immediately notify the sender by e-mail mduong@cappellonoel.com Thank
        you, your cooperation is appreciated.
        **********************************************************************************************************
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        <19.02.08, Brophy, Notice of Deposition of Becalis Alamanzar.pdf><19.02.08, Brophy,
        Notice of Deposition of PMK of Washpoppin Inc.pdf>




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                                    #:926


   1                             CERTIFICATE OF SERVICE
   2         I, Lawrence J. Conlan, hereby certify that on August 5, 2019, I electronically
   3   filed the following document with the Clerk of the United States District Court for
   4   the Central District of California using the CM/ECF system, which shall send
   5   electronic notification to all counsel of record:
   6
   7      • SUPPLEMENTAL DECLARATION OF LAWRENCE J. CONLAN IN
            SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANTS’
   8        MOTION TO DISMISS [F.R.C.P. RULE 12(B)]
   9
 10
                                               /s/ Lawrence J. Conlan
 11                                            Lawrence J. Conlan

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                                               5              DECLARATION OF LAWRENCE J. CONLAN
